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    1                      UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
    2                         INDIANAPOLIS DIVISION
    3
         VON DUPRIN, LLC,            )
    4                                )         CAUSE NO.
                Plaintiff,           )         1:16-cv-1942-TWP-DML
    5                                )
                -vs-                 )
    6                                )         Indianapolis, Indiana
         MORAN ELECTRIC SERVICE, INC.,
                                     )         July 23, 2019
    7    MAJOR HOLDINGS, LLC,              ) 8:30 a.m.
         MAJOR TOOL AND MACHINE,           )
    8    INC. and ZIMMER PAPER             ) VOLUME 2
         PRODUCTS INCORPORATED,            )
    9                                      )
                  Defendants.              )
   10

   11

   12

   13                               BEFORE THE
                           HONORABLE TANYA WALTON PRATT
   14

   15                   OFFICIAL REPORTER'S TRANSCRIPT OF
   16                                BENCH TRIAL
   17

   18

   19

   20

   21   Court Reporter:       Cathy Easley Jones, RDR, FCRR
                              Official Court Reporter
   22                         46 East Ohio Street, Room 290
                              Indianapolis, IN 46204
   23

   24

   25                PROCEEDINGS TAKEN BY MACHINE SHORTHAND
                          COMPUTER-AIDED TRANSCRIPTION
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    1                          A P P E A R A N C E S
    2
         FOR VON DUPRIN, LLC:              Edward S. Griggs
    3                                      Alexandra Robinson French
                                           BARNES & THORNBURG
    4                                      11 South Meridian Street
                                           Indianapolis, IN 46204
    5

    6    FOR MORAN ELECTRIC                Glenn D. Bowman
         SERVICE, INC.:                    Marc A. Menkveld
    7                                      STOLL KEENON OGDEN, PLLC
                                           201 North Illinois Street
    8                                      Suite 1225
                                           Indianapolis, IN 46204
    9
                                           Bruce L. Kamplain
   10                                      NORRIS CHOPLIN & SCHROEDER LLP
                                           101 West Ohio Street
   11                                      Ninth Floor
                                           Indianapolis, IN 46204
   12

   13    FOR MAJOR HOLDINGS                Angela Pease Krahulik
         and MAJOR TOOL AND                Samuel B. Gardner
   14    MACHINE, INC.:                    ICE MILLER
                                           One American Square
   15                                      Suite 2900
                                           Indianapolis, IN 46282
   16

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    1       (In open court)
    2              THE COURT:    Good morning, everyone.       We are back on

    3   the record.    This is Von Duprin LLC versus Moran Electrical

    4   Service, Major Holdings LLC, Major Tool and Machine, Inc.

    5   Zimmer Paper was defaulted; and we are here, lawyers, for

    6   continuation, day two of our bench trial.

    7              The witness is present.       Why don't you stand, and

    8   I'll swear you in for the day.

    9       (Witness sworn.)
   10              THE COURT:    You may be seated.

   11              Mr. Griggs, when we adjourned for the evening, I

   12   believe you had not quite completed your direct examination of

   13   the witness; is that correct?

   14              MR. GRIGGS:    I believe I had completed it 20 minutes

   15   earlier than we had expected.

   16              THE COURT:    That's right.     So we're ready for

   17   cross-examination.

   18              Mr. Menkveld, you may examine the witness.

   19                 RYAN GROVES, PLAINTIFF'S WITNESS, SWORN

   20                             CROSS-EXAMINATION

   21   BY MR. MENKVELD:

   22   Q   Good morning, Mr. Groves.

   23   A   Good morning.

   24   Q   We'll start this morning by reacquainting you with the

   25   project area that we've been looking at in this lawsuit; and
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    1   what we've been using to do that is Exhibit 1001.

    2                MR. MENKVELD:   If you would please pull that up.

    3   BY MR. MENKVELD:

    4   Q     Mr. Groves, you obviously are familiar with this area,

    5   correct?

    6   A     Yes.

    7   Q     And you'll see -- you've identified these properties

    8   yesterday.       The Ertel property is toward the top, in this

    9   area, correct?

   10   A     Yes.

   11   Q     Then the Zimmer Paper parcel, which is how we've been

   12   referring to it, is this property; is that correct?           Or excuse

   13   me.   There we go.      This property?

   14   A     Yes, that's correct.

   15   Q     And then the Moran property is here, right?

   16   A     Correct.

   17   Q     And then the Von Duprin property is right there; is that

   18   correct?

   19   A     Correct.

   20   Q     And you've been working in this area, I believe you

   21   mentioned yesterday, since approximately 2004; is that right?

   22   A     2003 was when I first looked at the Ertel property.

   23   Q     And your work in this area has not been solely in your

   24   capacity as an employee with IDEM; is that right?

   25   A     That's correct.
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    1   Q   You worked for a company named EnviroForensics in 2006 and

    2   2007; is that right?

    3   A   That's correct, 2006.

    4   Q   2006?

    5   A   Um-hum.

    6   Q   Now, when you worked for EnviroForensics, you did some

    7   work on behalf of Major Tool, one of the defendants in this

    8   case; is that right?

    9   A   That's correct.

   10   Q   And you were contacted to perform a Phase I environmental

   11   investigation of the Ertel property; is that correct?

   12   A   That's correct.

   13   Q   And you were the primary person who performed that Phase I

   14   for Major Tool and Machine; is that correct?

   15   A   That's correct.

   16   Q   And a report was generated -- a Phase I report was

   17   generated at that time, right?

   18   A   That is correct.

   19               MR. MENKVELD:    Pull up Exhibit 1166, please.        Page

   20   54, the PDF.

   21   BY MR. MENKVELD:

   22   Q   Mr. Groves, you'll see a signature on this page, which I

   23   pointed to here.    Is that your signature?

   24   A   Yes, it is.

   25   Q   Now, this is a Phase I environmental report.          If you could
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                              GROVES - CROSS/MENKVELD              Vol. 2 - 272


    1   briefly explain to us what a Phase I environmental report is.

    2   A   A Phase I environmental report is basically a property

    3   historical search and report on environmental conditions or

    4   potential environmental conditions that are associated with a

    5   particular property, and a Phase I environmental site

    6   assessment report is typically done for -- under the

    7   Brownfields Program for property transfer prior to property

    8   transfer.

    9   Q   Now, would this report take into consideration neighboring

   10   properties?

   11   A   It might, yes.

   12   Q   What is the purpose of doing that in a Phase I?

   13   A   To let the person contracting the report know that there

   14   might be other contaminant issues that might be affecting

   15   their property.

   16   Q   Other contaminant issues in the vicinity of the property

   17   being studied, correct?

   18   A   Not a specific vicinity, yes but neighboring, adjacent

   19   usually.

   20   Q   Now, you left EnviroForensics to go back to IDEM, correct?

   21   A   That's correct.

   22   Q   That happened in 2007; is that right?

   23   A   That's right.

   24   Q   You became the project manager when you went back to IDEM

   25   of the properties that we saw in Exhibit 1001, correct?
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    1   A   For the State Cleanup Program, yes.

    2   Q   Now, yesterday, you mentioned that you began looking at

    3   the Moran property in 2009; is that right?

    4   A   That's correct.

    5   Q   Now, there was some testimony and questioning yesterday

    6   pertaining to IDEM sometimes having to compel potentially

    7   responsible parties to perform cleanup action.          Do you

    8   remember that line of questioning?

    9   A   Yes, I do.

   10   Q   Now, in 2009, IDEM did not require Moran to perform any

   11   environmental work; is that correct?

   12   A   That's correct.

   13   Q   In 2009, IDEM also did not require Major Tool to perform

   14   any work; is that correct?

   15   A   Major Tool was already performing work at the property

   16   under our Brownfields Program at that time.

   17   Q   Excuse me.    IDEM did not require Major Tool to perform

   18   work at the Moran property at that time; is that correct?

   19   A   No.

   20   Q   Now, as the project manager for the Moran site, you're

   21   aware that soil borings were advanced across the entire Moran

   22   property; is that correct?

   23   A   I'm aware, yes.

   24   Q   And you're also aware that soils were excavated from the

   25   Moran property; is that correct?
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                                  10670
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 1   A   Yes.

 2                MR. MENKVELD:   Please pull up Exhibit 1112.

 3   BY MR. MENKVELD:

 4   Q   Mr. Groves, have you seen this report before?

 5   A   Yes, I have.

 6   Q   This is a further site investigation report that was

 7   performed by Heartland for Major Tool and Machine on the

 8   former Moran Electric property; is that correct?

 9   A   That is correct.

10   Q   Now, you'll see on page 10 of the PDF, please --

11              You will see where soil borings were advanced across

12   the Moran property.     Do you see where I circled?

13   A   Yes.

14   Q   And you've reviewed the data that was obtained as part of

15   obtaining those soil borings; is that correct?

16   A   I have reviewed the data, yes.

17   Q   Now, on page 21 of this exhibit, we'll see the results.

18   We'll have to rotate it for you here.

19                MR. MENKVELD:   Let's scroll -- or zoom it out a

20   little bit so we can see the whole exhibit.

21   BY MR. MENKVELD:

22   Q   Now, Mr. Groves, if you will -- and we can blow up parts

23   as necessary.

24              Do you see any soil data within the 2- to 4-foot

25   interval showing the presence of contamination above
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                                  10671
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 1   industrial default closure levels?        Actually, I'll withdraw

 2   that question.

 3              If you look at the bottom of this page of the exhibit?

 4                MR. MENKVELD:   If you could scroll down, please.

 5   One more page.     Zoom into this portion here, please.

 6   BY MR. MENKVELD:

 7   Q   Is it your understanding in this report, Mr. Groves, that

 8   these data were expressed in parts per billion?

 9   A   That is correct.

10   Q   And these data are also expressed in terms of default

11   residential and default industrial closure levels, correct?

12   A   That is correct.

13   Q   Now, tell us the difference between default industrial

14   versus residential closure levels.

15   A   It's basically the difference in exposure formula,

16   exposure scenario.     So the residential would have a lower

17   screening level or closure level, meaning that there might be

18   a higher risk there, more direct contact.         The typical

19   scenario is in residential, the people are on the property

20   more.     They come in contact with the soil more often or

21   longer.    So then, therefore, the closure level is lower.

22   Q   And industrial levels, as the name suggests, is typically

23   used for industrial areas or industrial facilities?

24   A   Typical, yes.

25                MR. MENKVELD:   Now, if we could scroll back up to
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 1   the previous page, please.

 2   BY MR. MENKVELD:

 3   Q     These are the soil borings we looked at previously.          If

 4   you can look at the results for trichloroethylene, which we've

 5   referred to as TCE in this case, and let me know if you see

 6   any impacts at the 2- to 4-foot interval that exceed

 7   industrial levels.

 8                MR. MENKVELD:   And I have a paper copy, if I could

 9   approach?

10                THE COURT:   That would probably help.

11   A     Can you repeat your question?

12   BY MR. MENKVELD:

13   Q     Yes.   At the 2- to 4-foot interval, do you see any

14   concentrations of TCE above the industrial default closure

15   level?

16   A     There are detections in the 2 to 4 but not above those

17   levels.

18   Q     Now, Mr. Groves, this work was performed at the Moran

19   property without IDEM demanding that work to be performed;

20   isn't that correct?

21   A     It's my understanding that work was performed under our

22   Brownfields Program oversight but not State Cleanup Program

23   oversight.     So there was no demand for that work to be done,

24   no.

25   Q     Now, you're familiar with the terms "vadose zone" and
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 1   "smear zone"; is that right?

 2   A   Yes.

 3   Q   Correct me if I'm wrong, but vadose zone is where soils

 4   are not affected or influenced by groundwater?          Is that a fair

 5   statement?

 6   A   That's correct.

 7   Q   And the smear zone is the area where soils are affected by

 8   the rise and the fall of groundwater; is that correct?

 9   A   Potentially, yes.

10   Q   Now, a 2- to 4-foot interval would be in the vadose zone

11   not affected by groundwater; is that correct?

12   A   That would be vadose zone unsaturated soil, yes.

13   Q   On this site in particular, correct?

14   A   Yes.

15   Q   At the Moran property, you are not aware of any soil

16   impacts, contamination in soil that is in the vadose zone that

17   is above industrial default closure levels; is that correct?

18   A   Not from any of the reports that I've reviewed, no.

19   Q   Now, static water level in a monitoring well is a reliable

20   way to measure depth to groundwater; is that right?

21   A   Yes.

22   Q   And that's typically done by using a water level

23   indicator?

24   A   Yes.

25   Q   And if you'll explain to the Court how a water level
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 1   indicator is used by a consultant.

 2               MR. GRIGGS:     I just want to make an objection that I

 3   don't believe that these areas were part of the direct

 4   examination.    I was curious if Mr. Menkveld had crossed over

 5   into his direct exam.

 6               MR. MENKVELD:    No, this is cross-examination, Your

 7   Honor.

 8               MR. GRIGGS:     Then it's outside the scope of direct,

 9   and I object to this line of questions.

10               MR. MENKVELD:     Yesterday, Your Honor, there was a

11   lot of testimony going to IDEM having to compel people to do

12   work.    There was testimony as to the commissioner's order.

13   Your Honor asked if the commissioner's order is an agency

14   order, and there's certainly an implication that that had to

15   be done; and so these questions go exactly to that issue, Your

16   Honor.

17               MR. GRIGGS:     How to measure static water levels in

18   wells is not the same as the topic that he's just described.

19               MR. MENKVELD:     Foundation question.

20               THE COURT:    I'll overrule and give him some leeway.

21               You may answer the question.

22   A   Can you ask again, please.

23   BY MR. MENKVELD:

24   Q   Yeah.    If you could for context describe to the Court how

25   a water level indicator is used to measure depth to
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 1   groundwater.

 2   A   A water level indicator meter is -- basically, it has a

 3   probe on the end of it that has a current that flows through

 4   it, so -- and basically two probes to run that current

 5   through.    And then it's got a foot indicator so you can

 6   measure length of casing or whatever that you're trying to

 7   measure.

 8              So you lower that probe down into the water; and when

 9   you interface that static water, then the current connects;

10   and it sends a charge back through, and it beeps and sends you

11   that audible message that you've indicated that water level.

12   And then you can measure from the top of the casing where

13   you've surveyed, and you have a survey elevation.           You can

14   measure that depth then.

15                MR. MENKVELD:   Please turn to page 31, the PDF 31,

16   please.

17   BY MR. MENKVELD:

18   Q   Mr. Groves, please take a second to review this document.

19   What I want you to look at off to the left, it's the third

20   column from the left right here.        You'll see a column that

21   says, "Depth To Groundwater."       Just let me know if you can

22   read that okay.

23                THE COURT:   Can you make it bigger?

24                MR. MENKVELD:   Can you blow that up, please.        Then

25   if you could move it over to the right so we can read the text
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 1   to the left.    A little more, please.

 2   BY MR. MENKVELD:

 3   Q   Now, looking at this column, Depth To Groundwater, and

 4   then this column here showing the monitoring wells, would it

 5   be your understanding that the depth to groundwater here is

 6   reflected for the monitoring wells shown over here?

 7   A   That would be correct, yes.

 8   Q   Now, you don't have any reason for thinking that

 9   Heartland, who performed this report, depth-to-groundwater

10   analysis, is unreliable, do you?

11   A   No, not to my knowledge.

12                MR. MENKVELD:   Now, if we go to page 18 of this PDF,

13   please.    You have to rotate it.

14   BY MR. MENKVELD:

15   Q   You will see --

16                MR. MENKVELD:   And if we could blow up this portion

17   here, please.

18   BY MR. MENKVELD:

19   Q   You will see where monitoring wells 200 shallow and deep,

20   201 shallow and deep, and 202 shallow are located.           Can you

21   see those?

22   A   Yes.

23   Q   Am I correct when I say those monitoring wells are located

24   in the right-of-way just west of the Moran property?

25   A   They appear to be, yes.
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 1   Q   Again, these are monitoring wells 200, 201 and 202 shallow

 2   and deep.

 3             Now, if we go back to PDF 31.       And we saw the depth to

 4   groundwater previously.      Can you tell us what the depth to

 5   groundwater is for monitoring wells 200 -- withdraw the

 6   question.

 7             The depth to groundwater for monitoring wells 200

 8   shallow, 200 deep, 201 shallow, 201 deep, and 202 shallow are

 9   in the range of 9.5 feet to 10.5 feet; is that correct?

10   A   That is correct.

11   Q   Now, there are four boring locations --

12               MR. MENKVELD:    If we can go to the previous page --

13   excuse me -- page 21 of the PDF.        Let's scroll to the right,

14   please.

15   BY MR. MENKVELD:

16   Q   Mr. Groves, you may want to look at your paper copy for

17   this.

18             There are four boring locations on this figure that

19   show TCE above industrial default closure levels, right?

20   A   That's correct.

21   Q   And that is at a depth of 12 to 14 feet; is that correct?

22   A   That is correct.

23   Q   And if we -- you can look at your paper copy.           Can you

24   identify those boring locations, please, the numbers?

25   A   B2, B3, looks like B6, and B7.
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                           GROVES - CROSS/MENKVELD              Vol. 2 - 282


 1   Q      B2, B3, B6 and B7, correct?

 2   A      That's correct.

 3   Q      Given what we know about depth to groundwater, those

 4   samples could have been taken from the smear zone that's

 5   influenced by groundwater, correct?

 6   A      From what I know, that would be within the groundwater

 7   zone, yes.

 8   Q      Now, if you go to PDF page 19, is it your understanding,

 9   Mr. Groves, that the area that I'm circling is the excavation

10   area on the Moran property?

11   A      That's my understanding, yes.

12   Q      And the four borings that we just looked at showing TCE

13   concentrations above industrial levels are located entirely

14   within that excavation area; is that correct?

15   A      Appears correct, yes.

16   Q      Now, IDEM discussed this excavation with personnel from

17   Heartland; is that correct?

18   A      That's my understanding.    Their Brownfields Program did,

19   yes.

20   Q      And IDEM did not issue a Notice of Liability or any other

21   demand for that excavation to occur, correct?

22   A      No.

23   Q      But it was done anyway, wasn't it?

24   A      Yes.

25   Q      And you don't dispute that the excavation actually
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                           GROVES - CROSS/MENKVELD              Vol. 2 - 283


 1   occurred, as you sit here today?

 2   A   No.

 3   Q   Now, this report is dated June 6 of 2011.          After the

 4   excavation at Moran occurred, did IDEM issue any Notice of

 5   Liability to Moran or to Major Tool and Machine?

 6   A   We did, but not until a few years later, yes.

 7   Q   I'll be more specific.       In 2011, IDEM did not issue a

 8   Notice of Liability to Major Tool and Machine or to Moran; is

 9   that correct?

10   A   No, not at that time.

11   Q   In 2012?

12   A   No.

13   Q   IDEM did not issue a Notice of Liability or a demand or

14   Major Tool and Machine or to Moran; is that correct?

15   A   That's correct.

16   Q   Now, yesterday, there was some discussion about whether

17   IDEM likes to see global resolutions to contaminated areas

18   like the one we're dealing with here; is that right?

19   A   Yes.

20   Q   To achieve that resolution, PRPs can enter into a program

21   that is known as the Voluntary Remediation Program; is that

22   right?

23   A   That is correct.

24   Q   And that program is a place where people can go and work

25   with IDEM and volunteer to investigate and remediate their
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 1   properties with IDEM's oversight; is that right?

 2   A   That's correct.

 3   Q   You're aware that Moran and Major Tool jointly submitted

 4   an application to enter into the VRP program; is that right?

 5   A   Yes, I am.

 6   Q   That application was submitted to IDEM on April 7, 2018.

 7   Does that sound right?

 8   A   That sounds right, yes.

 9              MR. MENKVELD:     Let's pull up Exhibit 1194, please.

10   BY MR. MENKVELD:

11   Q   I was a little unfair asking you for a date from memory;

12   but does this confirm for you that the joint application was

13   submitted on April 7th of 2018?

14   A   That's the date on that letter, but that's not when it was

15   received by the agency.

16              MR. MENKVELD:     Now, let's go to PDF page 6.

17   BY MR. MENKVELD:

18   Q   You'll see here, Mr. Groves, don't you, that Natalie Weir

19   signed this application for Major Tool and Machine, correct?

20   A   That's correct.

21              MR. MENKVELD:     If you go to the next page, please,

22   PDF 7.

23   BY MR. MENKVELD:

24   Q   You'll see actually that Mr. Bowman signed this

25   application for Major Tool and Machine; is that right?
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                                  10681
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 1   A   For Moran Electric.

 2   Q   Excuse me, for Moran.       Thank you.

 3              Now, this application was submitted after soil

 4   excavation was performed on the Moran property, correct?

 5   A   That would be correct, yes.

 6   Q   Now, a little more than two months later, IDEM issued a

 7   commissioner's order to Moran and Major Tool; is that right?

 8   A   That would be correct, yes.

 9                MR. MENKVELD:    Let's pull up Exhibit 1032, please.

10   BY MR. MENKVELD:

11   Q   You've reviewed this document, Mr. Groves?

12   A   Yes.

13   Q   And go to -- scroll down one page.         Up one page, please.

14   There's a signature on the bottom of the cover letter of the

15   commissioner's order.        Is that your signature?

16   A   Yes, it is.

17   Q   After this commissioner's order was sent, IDEM then denied

18   Major Tool's and Moran's VRP application; is that right?

19   A   That's correct.

20                MR. MENKVELD:    Pull up Exhibit 1228, please, and go

21   to PDF page 12.

22   BY MR. MENKVELD:

23   Q   Mr. Groves, have you seen this letter denying Moran and

24   Major Tool's VRP application?

25   A   I have, yes.
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                                  10682
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 1   Q   And it's dated June 20 of 2018, correct?

 2   A   That's correct.

 3   Q   As grounds for denying Major Tool and Moran's VRP

 4   application, IDEM cited the issuance of the commissioner's

 5   order; is that correct?

 6   A   I believe so, and the completeness of the application, as

 7   I recall.

 8   Q   I'm sorry, the completeness of the application?

 9   A   Yes.

10               THE COURT:     You mean the application was incomplete?

11               THE WITNESS:     Yes.   There were parts of it -- I am

12   not in charge of that program, and I did not make that

13   decision; but that's what the program manager told me, that

14   that was part of their denial of application was completeness

15   of that.

16   BY MR. MENKVELD:

17   Q   So you can't sit here and say if those technical

18   corrections were performed, Moran and Major Tool would be

19   admitted to the VRP program, yes?

20   A   Because of the commissioner's order, they would not have

21   been, no.

22   Q   Now, the VRP application was submitted before the

23   commissioner's order was issued; isn't that right?

24   A   That's right.

25               MR. MENKVELD:    Now, let's look at Exhibit 1032,
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 23 of 248 PageID #:
                                  10683
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 1   please.    Go to page 5 of the PDF.      Zoom in on paragraph 4.

 2   BY MR. MENKVELD:

 3   Q   Now, Mr. Groves, in the commissioner's order, IDEM cited

 4   some data from a report performed by Allied Environmental.

 5   You're aware of that data, correct?

 6   A   Yes.

 7   Q   And that data was taken in 1996 at the Moran property; is

 8   that right?

 9   A   Yes.

10   Q   Now, I reviewed this commissioner's order; and I have seen

11   no other data pertaining to the Moran property; is that right?

12   A   I don't specifically recall whether we cited it or not.

13   Q   Well, if you want to take a look at it, Mr. Groves, you're

14   free to double-check.

15              Are you aware of any other data that was cited in this

16   commissioner's order besides the Allied data?

17   A   No, not to my knowledge.

18   Q   Now, again, there was data available for the Moran

19   property that Heartland took, correct?

20   A   Yes.

21   Q   There was a soil excavation that occurred on the Moran

22   property, correct?

23   A   Yes.

24   Q   And there was confirmation sampling after that soil

25   excavation occurred, correct?
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                                  10684
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 1   A   I believe, yes.

 2   Q   Including side wall samples?

 3   A   I believe so, yes.

 4   Q   Would you like to see a document to refresh your memory as

 5   to whether there were side wall and bottom samples taken?

 6   A   No, that's fine.

 7   Q   Are you confident that that did occur?

 8   A   Likely, yes.

 9   Q   Now, the data -- all that data taken at Moran was not

10   referenced in this commissioner's order, was it?

11   A   No.

12   Q   Now, what IDEM referenced here is the presence of TCE --

13   if you want to review that paragraph before you answer this

14   question -- TCE in the pits that were believed to hold

15   degreasers at one point or another; is that right?

16   A   Yes.

17   Q   Now, Mr. Groves, those pits were made of concrete; is that

18   correct?

19   A   That's my understanding, yes.

20   Q   Concrete pits are not soil, are they?

21   A   No.

22   Q   Concrete pits are not groundwater, right?

23   A   No.

24   Q   Concrete pits are containment features on the property; is

25   that right?
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                                  10685
                           GROVES - CROSS/MENKVELD              Vol. 2 - 289


 1   A   They're supposed to be, yes.

 2   Q   Now, the commissioner's order cited TCE found in a

 3   concrete pit; but it does not reference TCE found in soil or

 4   TCE found in groundwater; is that correct?

 5   A   No, it doesn't reference TCE found in groundwater.

 6   Q   Now, IDEM would want to see data to determine whether

 7   contamination from pits would be released to the environment.

 8   That would be the next logical step, wouldn't it be?

 9   A   We would; and while we didn't cite it in here, we already

10   had that data in our files.

11   Q   Well, if releases of TCE from pits 3 and 4 occurred,

12   wouldn't you expect to see soil or groundwater data showing

13   that?

14   A   If a release occurred there, yes.

15   Q   Now, as the project manager for the Moran site, you've

16   reviewed the Allied report referenced in the commissioner's

17   order, right?

18   A   Yes.

19              MR. MENKVELD:     Turn to Exhibit 1109, please.        Go to

20   PDF page 8.

21   BY MR. MENKVELD:

22   Q   Mr. Groves, if you need to take a second to read this

23   page, please do.     The question is:     Are there five pits

24   referenced on this page of the report?

25   A   I see reference to four but not five.
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                                  10686
                           GROVES - CROSS/MENKVELD              Vol. 2 - 290


 1   Q   Do you need to scroll down at all?

 2                MR. MENKVELD:     Let's go to PDF 16.    There's a little

 3   better figure here.     Let's scroll up.      If we can zoom in a

 4   little, Ashley; Ms. Hill.

 5   BY MR. MENKVELD:

 6   Q   You'll see a location here of pit 1, correct?

 7   A   Yes.

 8   Q   Pit 2.     You see that?

 9   A   Yes.

10   Q   Pit 3?

11   A   Yes.

12                MR. MENKVELD:   If you could scroll up, please.        The

13   other way.

14                A little more, please.

15   BY MR. MENKVELD:

16   Q   And you have pit 4 and pit 5.        Do you see those?

17   A   Yes.

18   Q   Now, you're aware that soil data taken from directly

19   beneath pit 1 showed no detections or even negligible

20   detections of TCE or other contaminants?         Are you aware of

21   that?

22   A   Yes.

23   Q   Now, that soil data is not referenced in the

24   commissioner's order, is it?

25   A   No.
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 1   Q    You're aware that soil data taken from directly beneath

 2   pit 2 showed no detections or negligible detections of TCE or

 3   other contaminants, correct?

 4   A    According to the report, yes, that's correct.

 5   Q    And that soil data also isn't referenced in the

 6   commissioner's order; is that right?

 7   A    Right.

 8   Q    Are you aware, Mr. Groves, that Allied reported

 9   recommending against drilling through pits 3 and 4?

10   A    I don't recall that in the report.

11   Q    Well, as the project manager for the Moran property, are

12   you aware that Allied reported that the remaining pits are in

13   good shape?

14   A    That's my understanding, yes.

15   Q    And that the pits that were drilled through were actually

16   3 feet thick?

17   A    That's referenced in the report, yes.

18                 THE COURT:     So which ones were 3 feet thick, 1 and

19   2?

20                 MR. MENKVELD:     One and 2 were drilled through, Your

21   Honor.

22                 THE COURT:     Let me ask the witness.

23                 One and 2 were drilled through, and they were

24   3 feet?

25                 THE WITNESS:     No, no.   I think he is referencing the
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                                  10688
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 1   pits more on the southern part of the property were 3 feet

 2   thick.

 3                THE COURT:     Three, 4 and 5?

 4                THE WITNESS:    Right and they were not drilled

 5   through is my understanding.

 6                THE COURT:     Okay.

 7                MR. MENKVELD:    Let's go to page 8 of this PDF,

 8   please.

 9   BY MR. MENKVELD:

10   Q   Mr. Groves, look at the second paragraph, the first

11   sentence, and just read that.

12   A   Paragraph that starts "As stated"?

13   Q   It starts with "Four 2-inch soil borings."

14   A   You want me to read that paragraph?

15   Q   I'll read it for you.

16              It says, "Four 2-inch soil borings were drilled

17   through approximately 3 feet of concrete into the bottom of

18   pits 1 and 2 of the motor shop."

19              Does that comport with your recollection?

20   A   Yes.

21   Q   And then pits 3 and 4 were not drilled through, correct?

22   A   Yes.

23   Q   And I believe you stated that Allied recommended against

24   drilling through those pits because they were in good shape

25   and showed no fissures through which a release can occur,
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 1   correct?

 2   A   According to the report, yes.

 3   Q   Now, in 1996, IDEM did not issue any sort of Notice of

 4   Liability or demand letter to Moran; is that right?

 5   A   That's right.

 6   Q   Now, if we go to Exhibit 1073, Mr. Groves you're aware

 7   Geosyntec is one of the consultants that's working in this

 8   area in general?

 9   A   Yes.

10   Q   Have you seen this report?

11   A   Yes.

12   Q   So you're aware Geosyntec in September of 2015 took soil

13   and groundwater samples directly from the spots where pits 3

14   and 4 were located, correct?

15   A   As far as we could discern, yes.        They collected them.

16   Q   And pits 3 and 4 are the pits that were referenced in the

17   commissioner's order; is that right?

18   A   I don't recall if they were specifically referenced.

19   Q   Now, Allied did not report -- the Allied report did not

20   show that TCE in soil or groundwater in the areas of pits 3

21   and 4 were detected, right?

22   A   They did not sample them, no.

23   Q   Now, let's take a look at page 47 of this exhibit, which

24   is figure 2.

25              MR. MENKVELD:     If you could scroll down, please.        A
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 1   little more, please.      Right there.

 2   BY MR. MENKVELD:

 3   Q   You can see, Mr. Groves, that pit 3 -- soil data for pit 3

 4   is reported as SBU110; is that correct?

 5   A   Can you zoom in, please?

 6              MR. MENKVELD:     You may have to blow that up.

 7   A   What was your question, again, please?

 8   BY MR. MENKVELD:

 9   Q   You can see that pit 3 -- the soil boring at pit 3 is

10   reported as SBU110; is that correct?

11   A   Yes.

12   Q   And then pit 4 is reported as SBU113; is that right?

13   A   That's correct.

14   Q   Now, please turn your attention to the soil analytical

15   data -- we'll just stay with pit 4 here.         My question to you,

16   Mr. Groves, is if you see detections in the soil right in the

17   area of pit 4 showing concentrations of TCE or PCE above any

18   IDEM screening level?

19   A   On this report?     In this report?

20   Q   In that table, SBU113.

21   A   The table that's on this figure that's in front of me?

22   Q   That's right.

23   A   There is none, but it's at depth.

24   Q   You'll have a chance to explain that; but just focus on my

25   question, Mr. Groves.
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 1              For TCE and PCE, do you see detections above any IDEM

 2   screening level, be it residential or industrial?

 3   A   No.

 4   Q   Now, for pit 3, same question.        Do you see concentrations

 5   of PCE or TCE above any IDEM screening level?

 6   A   No.

 7               MR. MENKVELD:    Please go to page 48 of the PDF.

 8   BY MR. MENKVELD:

 9   Q   This is figure 3 of the report, Mr. Groves.          You've

10   reviewed this before, correct?

11   A   Correct.

12   Q   Now, this figure shows groundwater analytical data for

13   pits 3 and 4.

14   A   That would be correct, yes.

15                MR. MENKVELD:   If you could scroll down, please,

16   Ms. Hill.    Right there.

17   BY MR. MENKVELD:

18   Q   Now, on these figures, sometimes we'll have pit 3 here;

19   and then we have a line that goes to the data table down here.

20   Do you see that?

21   A   Yes.

22   Q   So pit 3 is reported as VAP110, right?

23   A   That's correct.

24   Q   And then we have pit 4 here; and then we have the data

25   table here, which was reported as VAP113; is that right?
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 1   A   Yes, that looks correct.

 2   Q   Now, VAP means vertical aquifer profiling; is that

 3   correct?

 4   A   That is correct.

 5   Q   And VAP is a method to get distinct groundwater samples at

 6   different depths to determine groundwater contamination at

 7   different depths, correct?

 8   A   That's correct.

 9   Q   Now, please look at the VAP results for pit 3, which is

10   shown in VAP110.

11   A   Okay.

12   Q   Now, the readings for both PCE and TCE are expressed at

13   less than 5 parts per billion, correct?

14   A   That is correct.

15   Q   Now, when you see a number expressed as less than 5 parts

16   per billion, doesn't that mean that it's nondetect?

17   A   When it's reported as such in this report, it is thought

18   to be nondetect, yes.

19   Q   Nondetect means the equipment couldn't pick up any

20   detections of that contaminant at all; is that right?

21   A   The laboratory analytical equipment, yes.

22   Q   Now, look at the results for pit 4, which are expressed at

23   VAP113.

24   A   Okay.

25   Q   And you will see, Mr. Groves, one detection of TCE at 5.8
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 1   parts per billion, correct?

 2   A   Correct.

 3   Q   Does that exceed IDEM's industrial screening levels?

 4   A   No.

 5   Q   In the year 2015 after these data were taken, IDEM did not

 6   require Moran to perform additional work on the Moran

 7   property; is that correct?

 8   A   That's correct.

 9   Q   And in 2015, IDEM did not require Major Tool to perform

10   any additional work on the Moran property; is that correct?

11   A   That's correct.

12              MR. MENKVELD:     Go to figure 1001, please.

13   BY MR. MENKVELD:

14   Q   Mr. Groves, earlier we identified the Zimmer Paper parcel,

15   which is right here, correct?

16   A   Correct.

17   Q   Now, you're aware at the Zimmer Paper parcel, there was a

18   large UST removed at some point; is that right?

19   A   Yes.

20   Q   You're also aware that soil excavation occurred at the

21   Zimmer Paper parcel, correct?

22   A   Correct.

23   Q   You're further aware that Major Tool constructed a

24   building over the Zimmer Paper and the Ertel site, correct?

25   A   In part, yes.
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 1   Q   Now, let's first get into the UST that was removed from

 2   the Zimmer parcel.

 3              Now, you're aware, Mr. Groves, that the UST removed

 4   from the Zimmer parcel was reported to be 16,000 gallons; is

 5   that right?

 6   A   I don't recall specifically the size.

 7   Q   If you're able to look at your old testimony that you've

 8   given in related cases, would that refresh your recollection?

 9   A   Possibly, yes.

10   Q   Now, Mr. Groves, you've provided testimony in depositions

11   and hearings a number of times with respect to this particular

12   area, right?

13   A   Yes.

14   Q   And were you deposed on July 22nd, 2010, as part of the

15   lawsuit filed by the City of Indianapolis against Ertel

16   Manufacturing Corporation?

17   A   I believe so, yes.

18   Q   Now, what I'll just ask you to do here, Mr. Groves, is

19   just read actually the entire page 51.         Just let me know when

20   you're done, please.

21   A   Okay.

22   Q   Does that refresh your recollection as to the size of the

23   UST that was removed from the Zimmer parcel?

24   A   Yes.

25   Q   Was it 16,000 gallons?
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 1   A      Yes.

 2   Q      At the time this tank was removed, you were involved with

 3   the investigation and remediation of the Ertel property and

 4   the Zimmer parcel; is that correct?

 5   A      Yes.

 6   Q      Now, when that UST was removed, do you recall that there

 7   were approximately 3,200 gallons of residual product in the

 8   UST?

 9   A      That was what was reported, yes.

10   Q      And there was a release from that UST when it was removed

11   from the ground; isn't that correct?

12   A      That's our understanding, yes.

13   Q      Was it also your understanding, Mr. Groves, that when the

14   UST was removed, it was leaking solvent and sludge?

15   A      I don't know if I recall that or not when it was removed.

16   I will say I remember it having holes in the bottom of it, so

17   it probably likely was.       That would be evidence of the

18   release.

19   Q      And do you know who the owner of the Zimmer parcel was

20   when that release occurred?

21   A      My understanding Zimmer Paper packaging was.

22   Q      Are you sure about that or is that just your understanding

23   today?

24   A      That's my recollection.

25                 MR. MENKVELD:   Pull up Exhibit 1094, please.
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 1   BY MR. MENKVELD:

 2   Q      Mr. Groves, this is the closure report for the removal of

 3   that 16,000-gallon storage tank.        Do you see who it's prepared

 4   for?

 5   A      Major Tool and Machine.

 6   Q      Is it still your belief that Zimmer Paper owned that

 7   property at the time that release occurred?

 8   A      Like I said, that was my understanding; but I don't recall

 9   specifically.

10   Q      Now, Mr. Groves --

11                MR. MENKVELD:   Turn to page 15 of this PDF, please.

12   BY MR. MENKVELD:

13   Q      You've seen this figure before, right?

14   A      Yes, yesterday.

15   Q      And you identified this as the Zimmer parcel; is that

16   correct?

17   A      Correct.

18   Q      Now, there's a building up here on the Zimmer parcel.         Do

19   you recall that building being referred to as a "little blue

20   building" or "building K"?

21   A      Not so much "building K," but I've heard the "little blue

22   building" before.

23   Q      Now, was it IDEM's understanding that there was a separate

24   release of chlorinated solvents near the little blue building?

25   A      I don't recall.
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 1   Q   Let's go back to your deposition here, and I'm going to

 2   want you to read, Mr. Groves, page 55, line 11 through 56,

 3   line 3.    Again, 55, 11 through 56, 3.

 4   A   Okay.

 5   Q   Are you finished?

 6              Mr. Groves, after reading your deposition transcript,

 7   does that refresh your recollection as to whether IDEM

 8   believed there was a release from the little blue building or

 9   the little blue building was the source of a release?

10   A   Yes.

11   Q   Is that, in fact, the case?

12   A   Appears to be, yes.

13   Q   Now, soils were excavated from the Zimmer parcel, correct?

14   A   Correct.

15   Q   They were excavated from the area where the UST was

16   removed; is that right?

17   A   Correct.

18   Q   And there is no confirmation soil sample data for the

19   excavation just around the UST; is that right?

20   A   That's my understanding.

21   Q   But there is confirmation sampling data for the excavation

22   area; isn't that correct?

23   A   Correct.

24   Q   And after that excavation occurred, IDEM did not require

25   further excavation; is that right?
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 1   A   I believe they did go back and do some additional

 2   excavation in certain small areas.

 3               MR. MENKVELD:    Go to Exhibit 1102, please -- excuse

 4   me -- 1101.    PDF 83.    Scroll down.

 5   BY MR. MENKVELD:

 6   Q   Mr. Groves, you've seen these data before, haven't you?

 7   A   Yes.

 8   Q   At the bottom, you will see this is "Soil Excavation

 9   Confirmation Analytical Results"; and this is for VOCs in

10   soil, correct?

11   A   Correct.

12   Q   Now, when we say VOCs, contained within VOCs is TCE and

13   PCE, right?

14   A   That is correct.

15               MR. MENKVELD:    Actually, go to the next page,

16   please.    If you will zoom in here, Ms. Hill, to this area.

17   BY MR. MENKVELD:

18   Q   You'll see, Mr. Groves, bottom sample 1; is that right?

19   A   Correct.

20   Q   "BS-" stands for bottom sample, right?

21   A   That is correct.

22   Q   You'll see an excavation -- or excuse me -- a sample date

23   here, 912 of 2007, right?

24   A   That's correct.

25   Q   And then you'll see a second date here of 9-18-2007; is
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 1   that right?

 2   A   That's correct.

 3   Q   Now, when you say further excavation was done, was it done

 4   again on September 18th just to go deeper in that area?

 5   A   My -- I don't know exact dates when things occur; but that

 6   was my understanding is that when excavation occurred, they

 7   went deeper, closer to the water table, into the water table.

 8   Q   So there was an excavation event, right?

 9   A   Yes.

10   Q   And then in some areas, there was further excavation,

11   right?

12   A   That's my understanding, yes.

13   Q   But that was all within the same time period of

14   approximately within a month that happened?

15   A   Yes, it would have been.

16   Q   And after that period, there was no further soil

17   excavation done on the Zimmer parcel; is that right?

18   A   Can you zoom out for me, please?

19   Q   Yes.

20   A   I want to clarify that BS-1 is on the Ertel property, not

21   on the Zimmer property.

22   Q   Sure.     And that's fair.

23              Let's go to BS-10 here then.     Actually, this is a good

24   example here, Mr. Groves.      You'll see BS-10 on the Zimmer

25   parcel; is that right?      That's on the Zimmer parcel?
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                                  10700
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 1   A   Yes.

 2   Q   And then you'll see a sample date of September 24, 2007?

 3   A   Yes.

 4   Q   And then you see one the very next day, September 28,

 5   2007; is that right?

 6   A   Right.

 7   Q   And so is that illustrative of how this excavation event

 8   occurred?

 9   A   Yes.

10   Q   And then after this particular excavation event, there was

11   no other excavation done at the Zimmer or the Ertel sites; is

12   that right?

13   A   Not that I'm aware of, no.

14   Q   Now, if we look at confirmation sampling -- I'll withdraw

15   that question.

16              Confirmation sampling is sampling that's done after an

17   excavation, correct?

18   A   Correct.

19   Q   And what it shows us is data of concentrations of TCE or

20   PCE in this case that remains after excavation occurred?

21   A   That's fair, yes.

22   Q   And the only way to excavate or remove soils that were

23   left after excavation is to perform another excavation, right?

24   A   Yes.

25   Q   If it's feasible, right?
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 41 of 248 PageID #:
                                  10701
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 1   A   Right.

 2   Q   Now, the confirmation samples that we see in Exhibit 1101

 3   indicates the contamination that were left in the ground at

 4   those properties after excavation occurred; is that right?

 5   A   That would be accurate, yes.

 6   Q   Now, there was no No Further Action letter issued for the

 7   Zimmer parcel; is that correct?

 8   A   That is incorrect.

 9   Q   Okay.    Explain that to me, please.       This is new to me.

10   A   We issued a No Further Action letter for the Ertel parcel

11   and the Ertel property, not for Zimmer, not for the Zimmer

12   parcel.   It was not included.

13   Q   It's possible I misstated my question.

14             The question was there was no No Further Action letter

15   issued for the Zimmer parcel, correct?

16   A   That is correct.

17   Q   Now, a No Further Action letter, so the Court has some

18   context, is that a letter that IDEM issues for a particular

19   property saying at this time, no further environmental

20   response has to be done?

21   A   That's partly accurate.       We would basically say in the

22   review of the data that no risk exposure exists at that time.

23   So therefore, we're closing that; and no further remedial

24   action is necessary.

25   Q   Now, the Zimmer property was not placed into an IDEM
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 42 of 248 PageID #:
                                  10702
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 1   program in 2007 when the soil excavation was going on; is that

 2   right?

 3   A   That's correct, yes.

 4   Q   And it's your understanding that the Zimmer parcel and the

 5   Ertel site were actually being remediated together; is that

 6   correct?

 7   A   That's correct.

 8   Q   Part of the reason for that is because there is a

 9   redevelopment project happening on those two properties; is

10   that right?

11   A   That was correct, yes.

12   Q   And that redevelopment project was undertaken between

13   Major Tool and the City of Indianapolis; is that correct?

14   A   That's my understanding, yes.

15   Q   You're aware that Major Tool constructed a building over

16   the Ertel site and the Zimmer parcel; is that right?

17   A   That's right.

18   Q   Now, IDEM did not require any additional remediation of

19   the Ertel or the Zimmer parcel -- or the Ertel site or the

20   Zimmer parcel before Major Tool constructed its building on

21   those properties; is that right?

22   A   That's right.

23   Q   IDEM did not demand or request that any sort of

24   groundwater treatment be done before that building was

25   constructed; is that right?
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                                  10703
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 1   A   That's correct.

 2   Q   Mr. Groves, you testified yesterday as to groundwater

 3   flow?

 4   A   Yes.

 5   Q   Is it your understanding in this area in general --

 6                MR. MENKVELD:   If you could go to figure 1101,

 7   please.

 8   BY MR. MENKVELD:

 9   Q   The groundwater flow in this area is generally south to

10   southwest; is that correct?

11   A   It's generally west to southwest.

12   Q   Mr. Groves, I'm going to hand you your deposition.            Please

13   read page 170, lines 6 through 9, please.

14              At least at this time, Mr. Groves, this deposition was

15   taken, it was your belief that groundwater flow was south to

16   southwest; is that correct?

17   A   I did not say "south."       I said "southwest" in that

18   deposition.

19   Q   So then the groundwater flow is southwest then; is that

20   right?

21   A   Yes.

22   Q   Now, if you look at the Zimmer parcel, what direction from

23   the Zimmer parcel is the Moran parcel?

24   A   South to southwest.

25   Q   Now, the Major Tool building that is there today has a
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 44 of 248 PageID #:
                                  10704
                           GROVES - CROSS/MENKVELD              Vol. 2 - 308


 1   vapor mitigation system below it; is that correct?

 2   A   Yes.

 3   Q   And that system is passive today, meaning that it's not

 4   running; is that correct?

 5   A   That's correct.

 6   Q   And IDEM doesn't require that it runs today; is that

 7   right?

 8   A   We have confirmation data that they collected to show that

 9   it can be passive at this time.

10   Q   Now, Mr. Groves, we're going to turn to the Ertel site

11   here.

12              Now, yesterday, you were shown some pretty scary

13   pictures of the Ertel site before it was remediated.           Do you

14   remember those pictures?

15   A   Yes.

16   Q   There were barrels spread across the Ertel site, correct?

17   A   I wouldn't say "spread across," but there were barrels.

18   Q   And you saw pictures with sludge on the floor within the

19   Ertel site?

20   A   Yes.

21   Q   Now, to be clear, you have no personal knowledge or

22   evidence that Moran ever owned the Ertel site, right?

23   A   Correct.

24   Q   And you have no personal knowledge or evidence that Moran

25   had their operations at the Ertel site, right?
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                                  10705
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 1   A   Correct.

 2   Q   And to be clear, IDEM has never considered Moran a

 3   potentially responsible party for the Ertel site; is that

 4   right?

 5   A   That is right.

 6   Q   Now, Mr. Groves, you are well aware that Ertel, the

 7   company, Manufacturing, was actually sued by the City of

 8   Indianapolis and by IDEM, right?

 9   A   Yes.

10   Q   And there was a settlement --

11   A   Yes.

12   Q   -- that resulted from those lawsuits, right?

13   A   Correct.

14   Q   And you're also aware that there was an escrow account set

15   up that held approximately $860,000, right?

16   A   That's correct.

17   Q   When that escrow account was set up, that $860,000 was

18   earmarked --

19               COURT REPORTER:    I'm sorry.     Please repeat your

20   question.

21   BY MR. MENKVELD:

22   Q   You're further aware that the escrow account was set up

23   and allocated for performing further work at the Ertel

24   property, if necessary, right?

25   A   That was the initial intent, yes.
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                                  10706
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 1   Q   Now, in the summer of 2012, you were the project manager

 2   for the Ertel site; is that right?

 3   A   Yes.

 4   Q   And you actually developed a scope of work to perform

 5   additional investigation into groundwater contamination at the

 6   Ertel site; is that right?

 7   A   That would be accurate, yes.

 8   Q   That scope of work was not implemented, was it?

 9   A   That's correct.

10   Q   The city [sic] of Brownfields coordinator at the time was

11   Steven Meyer; is that right?

12   A   That's correct.

13   Q   And Steven Meyer resisted that work being done; isn't that

14   right?

15   A   I would say that's accurate, yes.

16              MR. MENKVELD:     Pull up Exhibit 1223, please.        If you

17   can zoom out so we can see the whole thing, please.

18   BY MR. MENKVELD:

19   Q   Mr. Groves, this was a letter that was sent to you, right?

20   A   Yes.

21   Q   And it was sent to you by Mr. Meyer; is that correct?

22   A   That's correct.

23   Q   Now, the date of this letter -- am I correct when I say

24   it's June 6, 2012?

25   A   Yes, that's correct.
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 1   Q   And you'll see that the subject of this letter is,

 2   "Request For No Further Action Status," right?

 3   A   Yes.

 4   Q   Is it your understanding that Mr. Meyer in June of 2012

 5   was requesting that IDEM issue a No Further Action letter for

 6   the Ertel property?

 7   A   Yes.

 8              MR. MENKVELD:     Turn to Exhibit 1123, please.

 9   BY MR. MENKVELD:

10   Q   Mr. Groves, have you seen this letter before?

11   A   Yes.

12   Q   Now, this is a letter from Heartland Environmental; is

13   that right?

14   A   That's correct.

15   Q   Directed to you?

16   A   Yes.

17   Q   And it's dated May 30 of 2012; is that right?

18   A   Yes.

19   Q   And this is a letter at approximately the same time from

20   Heartland requesting that IDEM issue a No Further Action

21   letter for the Ertel property; is that right?

22   A   That's correct.

23              MR. MENKVELD:     Scroll to the bottom, the signature

24   line of this letter.

25
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 1   BY MR. MENKVELD:

 2   Q   You'll see a signature on here, Mr. Groves.          Is that

 3   Mr. Nivas Vijay who signed this letter?

 4   A   Yes, it is.

 5   Q   And Mr. Vijay was acting as the Heartland's project

 6   manager for which properties at this time?

 7   A   My understanding was for the Ertel property.           He had also

 8   worked on the Moran property and at a time at QEPI and I think

 9   even a little bit with Heartland for the Zimmer parcel.

10   Q   A lot of experience with the area, right?

11   A   Yes.

12   Q   Now, Mr. Nivas Vijay was working on whose behalf in

13   writing this letter?

14   A   City of Indianapolis.

15   Q   Who else did Mr. Vijay work for?

16   A   My understanding, Major Tool and Machine as well.

17   Q   At that time?

18   A   Yes, contemporaneously.

19   Q   Now, you responded to Mr. Meyer, correct, the letter that

20   he sent?

21   A   Yes.

22   Q   And you informed him that at least in your opinion, a No

23   Further Action letter couldn't be issued at that time, right?

24   A   Yes.   That was my opinion, that we hadn't fully looked at

25   risk and exposure and evaluated that.
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                                  10709
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 1   Q   And you received an e-mail back from Mr. Meyer; is that

 2   right?

 3   A   Yes.

 4              MR. MENKVELD:     Pull up Exhibit 1124.

 5              Actually, if you could exit out of this document.

 6   BY MR. MENKVELD:

 7   Q   So Mr. Meyer sent you an e-mail after he sent -- after you

 8   sent your e-mail to him, right?

 9   A   Yes.

10   Q   And he did things like accuse you of being unfamiliar with

11   the site; is that right?

12   A   I don't recall specifically what he said in his e-mail.

13   Q   Do you recall him saying that he told IDEM that the scope

14   of work was entirely unnecessary?

15   A   Yes.

16   Q   And according to Mr. Meyer, IDEM agreed to issue a No

17   Further Action status for groundwater before groundwater

18   results were even returned.       Do you recall Mr. Meyer saying

19   that?

20   A   I don't recall specifically, no.

21   Q   Now, did IDEM agree that the closure assessment for the

22   Ertel site would be limited to the footprint of the Ertel site

23   itself?

24   A   I don't recall agreeing to that, no.

25   Q   Do you recall Mr. Meyer discussing a redevelopment partner
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                                  10710
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 1   having the option to purchase property?

 2   A   Yes.

 3   Q   And that that option would expire by a certain point?

 4   A   I recall being told that, yes.

 5   Q   And do you recall being told that to exercise that option,

 6   a No Further Action letter would have to be issued for the

 7   Ertel property?

 8   A   I don't recall if I was specifically told that or not.

 9   Q   Now, the redevelopment partner for this property is who?

10   A   What I know now is Major Tool and Machine.

11   Q   Now, after Mr. Meyer --

12              MR. MENKVELD:     Go to Exhibit 1124, please.

13   BY MR. MENKVELD:

14   Q   After Mr. Meyer sent the e-mail, there was another No

15   Further Action request letter on October 15 of 2012; is that

16   right?

17   A   Yes.

18   Q   And that's shown in Exhibit 1124, correct?

19   A   Correct.

20   Q   Again, it's directed to your attention; is that right?

21   A   Yes.

22   Q   Now, had any further groundwater testing been done from

23   the first request to the second request at the Ertel property?

24   A   I don't believe so.

25              MR. MENKVELD:     Now, pull up Exhibit 1099, please.
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                                  10711
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 1   BY MR. MENKVELD:

 2   Q   This is the No Further Action letter that was issued by

 3   IDEM for the Ertel site, correct?

 4   A   That's correct.

 5              MR. MENKVELD:     Go back to 1124 quickly.

 6   BY MR. MENKVELD:

 7   Q   So the date of 1124 is October 15 of 2012; and the No

 8   Further Action letter, 1099, was issued a little more than a

 9   month later on November 19th of 2012; is that correct?

10   A   That's correct.

11   Q   No part of the $860,000 set aside to remediate the Ertel

12   property was spent to actually perform that remediation; is

13   that correct?

14   A   Well, it was not meant necessarily for additional

15   remediation.

16   Q   You can explain that later, Mr. Groves.          My question to

17   you is no part of the $860,000 in the escrow account was used

18   for actual remediation of the Ertel property; is that right?

19   A   That's right.

20   Q   Now, you are well aware, Mr. Groves, that Moran Electric

21   has been challenging the issuance of this No Further Action

22   letter for years; is that right?

23   A   That's correct.

24   Q   And you're aware that as of today, the Marion County

25   Superior Court has ruled that IDEM should not have issued the
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                                  10712
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 1   No Further Action letter because the cleanup standards in an

 2   agreed order were not met; is that right?

 3              MS. LASHBROOK:     Objection.    He's asking for a legal

 4   conclusion, and the Court can read the decision of the Marion

 5   County court for itself.

 6              THE COURT:     All right.

 7              MR. MENKVELD:     I'm asking for a fact, whether he is

 8   aware that Marion County, as the project manager of this site,

 9   has said that the cleanup terms of the agreed order were not

10   met, Your Honor.     It's well within his knowledge.        It's not a

11   legal conclusion.

12              THE COURT:     I don't think it's asking for a legal

13   conclusion, so I will overrule your objection and allow the

14   witness to answer the question.

15              The question was:      "Are you aware that as of today,

16   the Marion County Superior Court has ruled that IDEM should

17   not have issued the No Further Action letter because the

18   cleanup standards in an agreed order were not met?"

19              THE WITNESS:     I'm aware of a court decision.        I

20   don't really know the specifics of the judge's ruling.

21              THE COURT:     Thank you.

22   BY MR. MENKVELD:

23   Q   Now, last line of questions, Mr. Groves.          And this goes to

24   the timing component of soil removals in this particular area.

25            Now, soil contamination was discovered on the Ertel
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                                  10713
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 1   and Zimmer parcels in approximately the 2006 to 2007 time

 2   frame; is that right?

 3   A   I would say more 2005 to '7, yes.

 4   Q   And by the end of 2007, soils were actually excavated from

 5   those two properties; is that right?

 6   A   Yes.

 7   Q   Now, soil contamination was found in the smear zone on the

 8   Moran property in 2010; is that right?

 9   A   Yes.

10   Q   And those soils were excavated by the end of 2011; is that

11   right?

12   A   Yes.

13   Q   Now, soil contamination was discovered on the Von Duprin

14   property in what year?

15   A   We began to understand soil releases and soil

16   contamination, I would say, in 2009 when that came to the

17   agency.

18   Q   And when were soils excavated from the Von Duprin

19   property?

20   A   Late last year, early this year was when the plan was

21   implemented.

22   Q   Does April 2019 sound correct?

23   A   Yes.

24   Q   So approximately ten years later?

25   A   Yes.
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                                  10714
                           GROVES - CROSS/KRAHULIK              Vol. 2 - 318


 1              MR. MENKVELD:     I'll pass the witness.

 2              THE COURT:     Who is going to cross on behalf of the

 3   Major defendants?

 4              Ms. Krahulik, you may.

 5                             CROSS-EXAMINATION

 6   BY MS. KRAHULIK:

 7   Q   Good morning.

 8   A   Good morning.

 9   Q   When IDEM considers closure of a site, any site, is it

10   concerned in particular with the levels of contaminants that

11   are emanating from that site?

12   A   Yes.   We would look at that and evaluate that against risk

13   and exposure that they might be presenting.

14   Q   And why is the concern more with contamination levels

15   leaving the site than it is with those remaining on-site?

16   A   Adjacent property owners may be residential.           There may be

17   vapor impacts.     The site itself typically, whether it be a dry

18   cleaner or manufacturing facility, is more of a commercial

19   industrial facility.      So the risk exposure on the site or

20   source of release is typically different than off-site

21   properties.

22   Q   And isn't it also true that it is easier to control

23   through vapor barriers or other means exposures that remain on

24   a site?

25   A   Well, I would say that the responsible party or the person
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                                  10715
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 1   implementing the remediation has better control in a source

 2   site.   So yes, you can control the risk much easier.

 3   Q   I'm going to ask you to look at Exhibit 1027.

 4                THE COURT:     I don't think anybody can read that.

 5                MS. KRAHULIK:     Can we zoom in on that, please, just

 6   the title of the document.

 7   BY MS. KRAHULIK:

 8   Q   Mr. Groves, can you tell the Court what this document is?

 9   A   It's entitled -- or the subject is "Supplemental Soil and

10   Groundwater Investigation At JTV Hill Park."

11   Q   And this was directed to you at IDEM?

12   A   Yes.

13                MS. KRAHULIK:     Can we go to figure No. 2 to this

14   document, please?

15                There we go.     And then zoom in a little bit there on

16   the table.    So scroll -- move the document down, please.

17   BY MS. KRAHULIK:

18   Q   What was the purpose of this memorandum that was submitted

19   to IDEM?

20   A   As I recall, the boring that's shown on this figure had

21   significant concentrations of PCE and TCE.          There were some --

22   when that data was first collected by a consultant previous to

23   Geosyntec, there were some issues with how it was collected.

24   So they went back and recollected data.

25   Q   And what did that data show at the northern boundary of
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                                  10716
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 1   JTV Hill Park?

 2   A      It still had significantly high PCE and TCE

 3   concentrations.

 4   Q      At all depths?

 5   A      Yes, according to the table, yes.

 6   Q      How do those levels of PCE and TCE at that property

 7   boundary compare with those, for example, at the Moran

 8   Electric property boundary?

 9   A      Comparing just the TCE, if you look at the numbers,

10   anywhere from a thousand to 5,000, those are of similar

11   concentration to what was at the western boundary of the Moran

12   property.

13                 As far as PCE concentrations, they are higher than

14   what we saw at the Moran property.

15   Q      And we talked about this yesterday, but TCE doesn't become

16   PCE.     PCE can degrade to TCE but not the other way around?

17   A      Correct.

18   Q      So if you have a high concentration of PCE, it indicates a

19   release of that constituent, if you have it at a shallow

20   level?

21   A      Yes.    They likely used that compound in their operations,

22   yes.

23   Q      And you said that the levels at the property boundary for

24   Moran were similar?

25   A      Yes.
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                                  10717
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 1   Q   I believe the highest concentrations we saw at the

 2   property boundary for Moran for TCE were in the, like, 1.8

 3   parts per million range.

 4   A   If you look at the commissioner's order and some of the

 5   data that's out there at one point, there are some of the

 6   wells that have over 6,000 PPB.

 7   Q   From 1996?

 8   A   From 1996?

 9   Q   Right.

10   A   Are we talking as a whole --

11   Q   The Allied report was cited in the commissioner's order

12   from 1996 pre-excavation.

13   A   Those were sludge samples that we cited from the pits

14   themselves, not groundwater.

15   Q   And where did IDEM look for groundwater data for Moran?

16   A   That was in some of the work that Heartland had put

17   together and then also the work that Geosyntec had collected

18   in the upgradient report.

19                MS. KRAHULIK:   Let's take a look at Exhibit 1030.

20   BY MS. KRAHULIK:

21   Q   This is a status or comfort letter request from Heartland

22   to Brownfields, and it has to do with the Moran property,

23   right?

24   A   That's correct.

25   Q   I think you said this earlier, but I just want to be clear
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                                  10718
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 1   for the Court.     Those activities were overseen by IDEM in

 2   connection with its Brownfields Program?

 3   A   That's correct.

 4              MS. KRAHULIK:     Will you pull up Exhibit 1137.

 5   BY MS. KRAHULIK:

 6   Q   Mr. Groves, do you recognize this letter?

 7   A   Vaguely, yes.

 8   Q   I think this is a letter that you wrote to counsel for

 9   Threaded Rod when they were requesting information on what

10   would be required for closure of the former Von Duprin

11   property; is that right?

12   A   Yes.

13   Q   And that this letter was sent in February of 2013?

14   A   That's the date, yes.

15              MS. KRAHULIK:     Will you scroll to the chart in this

16   letter, please.

17   BY MS. KRAHULIK:

18   Q   It looks like here you set out a comparison between the

19   Ertel site, which had received an NFA, and the former

20   Von Duprin property as to various activities and testing

21   results; is that right?

22   A   Yes.

23   Q   And you said, as to Ertel, there had been 37,000 tons of

24   contaminated soil removed.       There was a subslab VI system,

25   which was installed by Major Tool in the building it
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 1   constructed on that property, right?

 2   A   Yes.

 3   Q   That soil contamination had been vertically and

 4   horizontally delineated, right?

 5   A   Yes.

 6   Q   As had groundwater?

 7   A   Yes.

 8   Q   And that there had been quarterly groundwater monitoring,

 9   correct?

10   A   Yes.

11   Q   And the highest PCE and on-site groundwater at Ertel was

12   271 parts per billion and showing a declining trend?

13   A   That's correct.

14   Q   The highest TCE and on-site groundwater at the former

15   Ertel site was 267 parts per billion and declining?

16   A   That's correct.

17   Q   And then Ertel also had a restrictive covenant prohibiting

18   the excavation and use of groundwater, correct?

19   A   That is correct.

20   Q   However, at the Von Duprin property, 1929 Columbia Avenue,

21   there had been no removal of soil, no vapor barrier,

22   incomplete delineation of soil and groundwater.          Quarterly

23   monitoring had not begun.      The highest PCE in on-site

24   groundwater was 3,390 parts per billion.         The highest TCE was

25   2,190 parts per billion, and that was in 2013.
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                                  10720
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 1   A   That's correct.

 2   Q   And I believe higher concentrations have been seen on that

 3   site as to both PCE and TCE since that time?

 4   A   PCE at least, yes.

 5                MS. KRAHULIK:   Well, let's look back at Exhibit

 6   1027.   I know it's hard to -- give me one second here.

 7                Actually, let me look at Exhibit 1120.        Pull up the

 8   first page of that, please, Ms. Woods.

 9   BY MS. KRAHULIK:

10   Q   What is this document?

11   A   The subject -- it's a memorandum -- "Groundwater and Soil

12   Gas Investigations, 1929 Columbia Avenue, Indianapolis,

13   Indiana."

14   Q   And this is directed to you and some others at IDEM?

15   A   That is correct.

16   Q   And it's from Ryan Fimmen, David Bertrand, Rob Ferree of

17   Geosyntec?

18   A   Correct.

19   Q   There is a header on this document that says, "Privileged

20   and Confidential Settlement Communication."          Why would IDEM be

21   receiving a privileged and confidential settlement

22   communication from a consultant?

23   A   I don't know, other than my recollection is there might

24   have already been some legal actions between the parties.

25   Q   And IDEM would be part of the settlement communications?
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                                  10721
                           GROVES - CROSS/KRAHULIK              Vol. 2 - 325


 1   A   I don't know, Angela.

 2   Q   I would like to look at some of the results reported in

 3   this memo; and specifically, we can look at what is marked as

 4   figure 6.

 5              I believe this is the report of some groundwater

 6   analytical data; is that right?

 7   A   Yes.

 8   Q   I want you to specifically look at the sampling location

 9   labeled HPT06.

10   A   Can you zoom in for me, please?

11   Q   Yes.     That particular sampling location is at the southern

12   boundary of the Von Duprin property.

13   A   Can she scroll up, please?

14   Q   Sure.     Down?

15   A   Down, sorry.

16   Q   There.     Right?

17   A   Yes, it is.

18                MS. KRAHULIK:   And go back to the table, please.

19   BY MS. KRAHULIK:

20   Q   And what levels of TCE were detected in that particular

21   location?

22   A   Throughout the boring, looks like the highest

23   concentration was 7,320 parts per billion.          The lowest was

24   2,320 parts per billion.

25   Q   And at 17 feet, it's 5,450 parts per billion, right?
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                                  10722
                           GROVES - CROSS/KRAHULIK              Vol. 2 - 326


 1   A     That's correct.

 2   Q     So there have been higher concentrations detected related

 3   to the Von Duprin site since that letter you wrote to

 4   Mr. Temple, right?

 5   A     Yes.

 6                MS. KRAHULIK:   Can you please go to figure 8, which

 7   is two pages away.

 8   BY MS. KRAHULIK:

 9   Q     What does figure 8 show?

10   A     That is soil gas data that they collected on the

11   Von Duprin facility and in -- within JTV Hill Park.

12   Q     I would like you to take a particular look at TSGP12,

13   which is in a similar spot to that HPT06 we were just looking

14   at.    Wouldn't you agree?

15   A     Yes.

16   Q     What sort of soil gas results are shown at that location

17   smack in the middle of the Von Duprin property boundary?

18   A     In that, it reports at 13 feet concentration of

19   39,000 micrograms per cubic meter.

20   Q     For TCE?

21   A     Yes.

22   Q     And then what about for PCE?

23   A     PCE is 64,000 micrograms per cubic meter.

24   Q     Are those significant levels?

25   A     Yes.
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                                  10723
                           GROVES - CROSS/KRAHULIK              Vol. 2 - 327


 1   Q   Now, we talked about Von Duprin has submitted an RWP; and

 2   IDEM has approved that in part, right?

 3   A   Yes.

 4   Q   Does IDEM typically approve something -- a RWP partially?

 5   A   We have before, yes.

 6   Q   How many times?

 7   A   Not often, but probably 15 or 20 times from my

 8   understanding from the VRP program.

 9   Q   Wouldn't you agree with me, though, that the terms of a

10   VRA do require a full Remediation Work Plan?

11   A   Yes, that's why we partially approved it.

12   Q   And while the soil removal has been carried out -- about

13   200-some-odd tons of soil were removed, right?

14   A   That's my understanding.       I haven't seen the report.

15   Q   How does that compare in the volumes of soil that were

16   removed upgradient on Ertel, Moran and Zimmer?

17   A   I don't specifically recall the number on Moran; but as to

18   Ertel, it's much lower.

19   Q   Ertel is 37,000 tons, I believe?

20   A   Yes.

21   Q   And you haven't seen the reports or the evaluation of that

22   soil removal at Von Duprin yet, right?

23   A   No.

24   Q   I'm sorry I'm jumping around.        I'm trying to go back and

25   pick up things here and there.
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                                  10724
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 1              We talked a little bit earlier about the Marion County

 2   Superior Court asking IDEM to reconsider the Ertel NFA and

 3   determine whether it comported with the risk guidance that was

 4   in effect at the time the agreed order was entered, as well as

 5   the Remediation Closure Guide guidance, which IDEM had already

 6   determined the Ertel NFA comported with, right?

 7   A   Yes.

 8   Q   Has IDEM done that analysis at this point?

 9   A   You'll have to restate your question.         I'm not sure if I

10   understand --

11   Q   Has IDEM taken another look at the agreed order for Ertel

12   to make sure that it also complies with risk guidance?

13   A   I don't know that we've gone back and reevaluated it

14   further other than the legal actions that we've been involved

15   with.

16   Q   I would like to look at Exhibit 1124.         This is a letter

17   from Heartland directed to you from October 15 of 2012, right?

18   A   Correct.

19   Q   And it's entitled, "Exposure Pathway Risk Analysis and No

20   Further Action Request Letter, Former Ertel Manufacturing

21   Facility," right?

22   A   Correct.

23   Q   This, I believe, was written to you by a consultant for

24   the city asking for the issuance of that No Further Action

25   letter on the Ertel property; and I just want you to take a
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                                  10725
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 1   look at figure 1 to this letter.

 2              My understanding is that the footprint of the property

 3   for which Heartland is requesting an NFA is shown in kind of

 4   the peach color there; is that right?

 5   A   That's what they put on the figure, yes.

 6   Q   And they included in that the Zimmer Paper building and

 7   what we've called earlier today the "little blue building"?

 8   A   Yes.

 9   Q   And so when Heartland requested the No Further Action

10   letter, it did include Zimmer?

11   A   They did not specifically request that.          They put the

12   Ertel facility as the subject line on the building, but they

13   included those buildings in the figure.

14   Q   And so if the NFA had been issued consistent with their

15   request, it should have included the Zimmer Paper?

16   A   It would have included, but we did not choose to do that.

17   Q   I don't believe IDEM made a specific determination about

18   not issuing it to Zimmer.      I believe the City of Indianapolis

19   omitted it from the request.

20   A   We didn't have specific discussion over that.           It was

21   always about Ertel in our discussions; and if you look at the

22   NFA letter, it cites the property, the property parcel number;

23   and that's where the ERC was placed.

24   Q   And that paperwork was prepared by the city?

25   A   The restrictive covenant?
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                                  10726
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 1   Q   Yes.

 2   A   Yes, is my understanding.

 3   Q   Under the project agreement between the city and Major

 4   Tool and Machine, they were required to obtain closure on the

 5   Zimmer parcel?

 6   A   I don't know that, Angela.       I've never seen that

 7   agreement.

 8   Q   It's in evidence.

 9              Let me make sure I don't have any further questions.

10              You said yesterday that when IDEM is issuing special

11   notices of liability to parties, it notifies all responsible

12   parties who had a hand in contaminant usage or contaminant

13   releases.

14              As you sit here today, do you have any knowledge or

15   information that Major Tool and Machine used contaminants or

16   released contaminants at either Moran, Zimmer, or Ertel?

17   A   No, but they were included on the notice letter as a

18   property owner without -- in our mind without BFPP

19   protections.

20   Q   So are you -- you don't believe that Major Tool and

21   Machine had BFPP protection for which parcel?

22   A   For Moran and the Zimmer parcel.        We weren't aware that

23   they did anyway.

24   Q   Were you aware of Phase I studies being performed on those

25   properties by Major Tool and Machine?
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                                  10727
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 1   A   Not at the time of my notice letter, no.

 2   Q   Are you now aware of those?

 3   A   I've seen copies of them.       I don't know to what extent I

 4   reviewed them.    I think they're up for debate still in other

 5   litigation, so I don't necessarily have an opinion.           I'll

 6   leave that to my attorney.

 7   Q   If a party performs a Phase I before acquiring a property,

 8   that's typically one of the prerequisites for a BFPP status,

 9   right?

10   A   That is.     Under CERCLA law, it's a self-implementing

11   program.    So as long as the Phase I is done within six months

12   of the property transfer acquisition, as long as it meets all

13   appropriate inquiries, then it provides them some form of

14   liability protection.

15   Q   You also talked yesterday about how IDEM looks at things

16   like vapor intrusion; and you said, "If a party sees a risk,

17   we check it out; and if there's a problem, it's addressed"?

18   A   Yes, that's our intent.

19   Q   Has Major Tool and Machine performed investigations at

20   IDEM's request?

21   A   Major Tool and Machine recently, with some of the houses

22   on Alvord Street, I would say yes, that they've funded that at

23   least and hired Geosyntec is my understanding.

24              Previous to that, some work has been done on the Moran

25   property and in specific request to state cleanup, they've
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                                  10728
                           GROVES - CROSS/KRAHULIK              Vol. 2 - 332


 1   looked at Saint Rita and assessed vapor.

 2   Q   And there were no indoor air issues detected there?

 3   A   Not as far as the data has shown, no.

 4   Q   IDEM told Major Tool and Machine to go ahead and apply for

 5   the VRP and that it would be accepted into the VRP, despite

 6   the fact that there was a liability notice letter, and that

 7   you would be the project manager?

 8   A   I don't recall specifically having that conversation.

 9   Q   Then after that, IDEM denied the application?

10   A   Like I said, I don't remember having that conversation

11   with them.     An application was submitted.      We had previously

12   sent notice letters and demand letters and hadn't gotten the

13   appropriate response we were looking for previous to the VRP

14   application.

15   Q   You talked a little bit about this tank removal at Zimmer.

16   Should Major Tool and Machine have left the tank in the

17   ground?

18   A   No.

19   Q   So they removed it, and then they excavated all of the

20   soil around and under it?

21   A   Yes.

22   Q   Were you there at the time of the removal?

23   A   I was out at the site and had walked the site and looked

24   at the removal action.      A lot of that work was being reviewed

25   by our common tech support.       I don't know that I specifically
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                                  10729
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 1   was out there when the tank was coming out of the ground and

 2   looked specifically at the Zimmer parcel excavation.

 3   Q   And no one ever sampled the contents of that tank?

 4   A   That I don't know.      I would say some of it would have had

 5   to have been sampled for disposal, but I don't know

 6   specifically.

 7   Q   And you never saw the tank leak or release anything?

 8   A   I am aware that it had holes in the bottom of it, but I

 9   don't recall being out there seeing product flowing out of it.

10   Q   And you believe those holes would have existed

11   pre-excavation?

12   A   Yes.

13   Q   Did Major Tool and Machine to your knowledge ever use that

14   tank?

15   A   Not to my knowledge.

16   Q   Who operated on the Zimmer property that -- from your

17   history and knowledge of the site?

18   A   When we looked at the history to put together our Notice

19   of Liability letter, Zimmer Paper packaging had operated it

20   most recently prior to Major Tool and Machine ownership; and

21   then prior to that was Moran Electric Service.

22   Q   Do you know the period of time that Moran operated on that

23   property?

24   A   1960s, as I recall to early '80s, I believe.

25   Q   Kind of a final thing.       There was some talk yesterday that
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 1   no one ever does environmental work voluntarily or something

 2   to that nature; but Major Tool and Machine, Major Holdings did

 3   do a whole lot of work voluntarily in the redevelopment of

 4   Ertel and the excavation at Zimmer and Moran?

 5   A   I would agree that a lot of work has been done for their

 6   redevelopment, and that's not been at a specific request by

 7   IDEM at all times.

 8              MS. KRAHULIK:     That's all I have.      Thank you.

 9              THE COURT:     Okay.   Why don't we go ahead and take

10   our morning break; and then when we resume, Mr. Griggs, if you

11   have any redirect, you can do it at that time.          So we'll take

12   about ten minutes.

13       (A recess was taken.)

14              THE COURT:     You may be seated.     We're back on the

15   record.

16              Mr. Griggs, you may cross, redirect; and if there

17   was any direct, you may cross-examine on those questions.

18       (A recess was taken.)

19                           REDIRECT EXAMINATION

20   BY MR. GRIGGS:

21   Q   Mr. Groves, you were asked during the cross-examination

22   about a settlement involving the Ertel property.           Do you

23   recall that?

24   A   Yes.

25   Q   And there were some amounts.        $860,000, I think, was
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                                  10731
                          GROVES - REDIRECT/GRIGGS              Vol. 2 - 335


 1   mentioned?

 2   A   Yes.

 3   Q   Are you aware of whether or not in exchange for the

 4   settlement paid, that Ertel received a contribution

 5   protection?

 6   A   Yes, I am aware.

 7   Q   And did they, in fact, receive a contribution protection

 8   from the Marion Superior Court?

 9   A   That's my understanding, yes.

10                MR. GRIGGS:    Exhibit 1032, please.

11   BY MR. GRIGGS:

12   Q   This is one of the exhibits that Mr. Menkveld showed you?

13                THE COURT:    What's the number?

14                MR. GRIGGS:   1032.

15                Can we go down to page 5, please.       Let's blow up --

16   BY MR. GRIGGS:

17   Q   Paragraph 4 I think Mr. Menkveld asked you about.           I'm

18   going to ask you about paragraph 6 and then paragraph 10.

19              Can you read that?

20   A   Okay.

21   Q   Are those statements in paragraph 6 and paragraph 10 part

22   of the basis on which this decision was rendered as well as

23   paragraph 4 you were asked about earlier?

24   A   The decision -- what do you mean by "decision"?

25   Q   This document that we're looking at -- let's go back to
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 72 of 248 PageID #:
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 1   the first page, I guess, and the subject line.          Does that re

 2   line tell you what this is about, or do we need to go to the

 3   top of the next page?

 4   A   Go to the next page, please.

 5              MR. GRIGGS:     Okay.   Next page, please.      Just

 6   highlight that text.      It's Mr. Groves' signature there.

 7   BY MR. GRIGGS:

 8   Q   This is the commissioner's order, right?

 9   A   This is the transmittal letter for the commissioner's

10   order, yes.

11   Q   And so the part that we were looking at earlier, those

12   paragraphs are part of the commissioner's order?

13   A   Yes.

14   Q   And if we go back to page 5, I think you were asked about

15   paragraph 4 on your direct examination and the implication

16   being that these numbers were perhaps no longer valid because

17   they were old.    Do you recall that line of questioning?

18   A   Yes.

19   Q   And what I was asking you earlier in looking at paragraphs

20   6 and 10 is if those -- if that represents additional

21   information that IDEM had in addition to paragraph 4 on which

22   you based your decision?

23   A   Yes.   I think the idea was well, we didn't specifically

24   call out every piece of data that we had available to us that

25   we may have reviewed.      We felt based on that data and that
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                                  10733
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 1   groundwater contamination piece that was in paragraph 4, that

 2   we had evidence that there was a release at one point; and it

 3   was contributing to the groundwater plume.

 4   Q   That it was contributing or had contributed to the

 5   groundwater plume?

 6   A   I would say had and still was.

 7                MR. GRIGGS:     Let's look at Exhibit 1073.

 8   BY MR. GRIGGS:

 9   Q   Again, this was something you were asked to comment on

10   before.

11                MR. GRIGGS:     And figure 3, please.     This is 1073.    I

12   wanted -- that's right.        Figure No. 3.   It's going to be

13   fairly deep in the document past the text.           That's too far.    A

14   little earlier.     Earlier.     A bit earlier.   Not too much

15   earlier than that but a little bit.        That's table 3.     I need

16   figure 3, which is before this in the report.

17                He's really good if I give him the page number.

18                MS. KRAHULIK:     Try page 48.

19                MR. GRIGGS:     Page 48.   How about that, David.

20   Scroll down and make sure that's figure 3 at the bottom.

21   Okay.     And if we can zoom in on maybe the lower half, we're

22   looking for pits 3, 4 and 5.

23                I see pit 4.     I don't think I see pit 3.     I need a

24   bigger view.

25                Go on up.     We found him on the way to the court
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                                  10734
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 1   today.

 2   BY MR. GRIGGS:

 3   Q   Pit 3 is about at the top of that picture.          Can you see

 4   that, Mr. Groves?     You were asked about it, and VAP-110 is the

 5   box that's connected to that?

 6   A   Yes.

 7   Q   You were also asked about pit No. 4.         The box is VAP-113

 8   and how those didn't show detections of PCE or TCE?

 9   A   Yes.

10   Q   I would like you to look now at pit 5, which is connected

11   to the box labeled VAP-112, center bottom.

12   A   Okay.

13   Q   Do you see detections of TCE at that location?

14   A   Yes.

15   Q   At all the depths that are -- that were sampled?

16   A   Yes.

17   Q   Is there any chance in your mind that that chlorinated

18   solvent contamination came from the west side of Dr. Andrew J.

19   Brown, just hopped over there and snuck under pit No. 5?

20   A   No, not likely.

21   Q   You were asked about a Marion County Court decision

22   related to the Ertel NFA?

23   A   Yes.

24   Q   Are you aware of whether that Marion County Court decision

25   is currently under appeal?
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                                  10735
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 1   A   I believe it is.

 2   Q   Let's look at Exhibit 1124, please.         Again, this is a

 3   document that you were shown earlier.

 4                MR. GRIGGS:   I would like to look at paragraph 2.

 5   Right there in the middle of the page.         Great.

 6   BY MR. GRIGGS:

 7   Q   Can you read that?        The sentence I'm interested in is

 8   stuck there in the middle, starts with the word "Furthermore."

 9              "Furthermore, limited exposure pathways exist for

10   residual impacts remaining at the site."

11              Do you see that?

12   A   Yes.

13   Q   In terms of the exposure pathways at the site, were you

14   able to grant a No Further Action letter?

15   A   Yes.

16   Q   Does this apply to any exposure pathways that might exist

17   somewhere other than the site?

18   A   It says, "at the site," but we had -- I had my technical

19   support risk assessor and geologist review the data that we

20   had at hand and look at potential impacts to off-site

21   properties as well.

22              So primarily for vapor impacts, but we also looked at

23   groundwater and had Heartland evaluate drinking water risk

24   exposure as well.

25   Q   And were you looking at the conditions that existed at the
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 1   time that you were asked for the NFA in 2012?

 2   A   Yes.

 3   Q   And this was post the excavation of 37,000 tons of soil?

 4   A   Yes.

 5   Q   What, if any, analysis did you do in connection with

 6   issuing the NFA related to contaminants that might have

 7   migrated with groundwater off of the Ertel site years or

 8   decades before?

 9   A   We didn't have that data years and decades before the soil

10   excavation.    In 2005 when we started doing the site

11   characterization work, that was the first data that we had

12   available to us.

13                MR. GRIGGS:   I would like to look at Exhibit 1120.

14   BY MR. GRIGGS:

15   Q   Just there at the top of the first page, you were asked

16   about --

17                MR. GRIGGS:   The header section would be great, who

18   it's from, who it's to.

19                All the way to the top, Dave.      Start with the word

20   "privileged" and down to that line.        Perfect.

21   BY MR. GRIGGS:

22   Q   At this time, in June of 2015, to your knowledge, was IDEM

23   engaged in any litigation?

24   A   We were litigating the appeal of the Ertel NFA at that

25   point.     Other litigation, I can't remember the status and time
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 1   frame.

 2   Q   Was IDEM a party to the Threaded Rod litigation?

 3   A   No.

 4              MR. GRIGGS:     Figure 8.    Dave, did it stop working

 5   for you?   Figure 8, please.      Check 21, please.

 6   BY MR. GRIGGS:

 7   Q   This is figure 8 that we looked at during your direct.            Do

 8   you recall that?

 9   A   Yes.

10   Q   You asked to look at some samples along the southern

11   boundary or the northern edge of the ZTV [sic] Hill Park?

12   A   Yes.

13              MR. GRIGGS:     I would like to zoom in on the -- I

14   guess I can point to an area here.        Right in there.     All

15   right, I need the boxes along with the dots, unfortunately, so

16   a little higher up, too.      Higher.    The whole right side would

17   be perfect.    All right.    Let's try that.

18   BY MR. GRIGGS:

19   Q   Let's just look at what's marked as TSGP-6, this one.            Do

20   you see that data point?

21   A   Yes.

22   Q   And where is that located relative to the area -- the

23   properties that we're -- we've been discussing in this case?

24   A   That is -- looks to be on the -- in the easement on the

25   western side of Dr. Andrew J. Brown and the east side of the
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 1   Von Duprin building.       It would be west or southwest of the

 2   Moran-Zimmer parcels.

 3   Q   And what are the concentrations of TCE reported for that?

 4   A   Can you zoom in, please?

 5                MR. GRIGGS:   The yellow box.     Zoom that in, please.

 6   BY MR. GRIGGS:

 7   Q   The TSGP-6, can you read that now?

 8   A   The TCE is reported at 22,000 at 12 feet; 16,000 at

 9   5 feet.

10   Q   How about the PCE?

11   A   PCE is 18,000 at 12 feet; 8,400 at 5 feet.

12   Q   And if we just move right down that right-of-way to the

13   south, there's a reported TSGP-5.        Do you see that?

14   A   Yes.

15   Q   The sample depth of 3 feet, what's the TCE reading there?

16   A   15,000.

17   Q   And let's go one more, TSGP-7.        Do you see a TCE

18   concentration for that?

19   A   Yes.

20   Q   What's that?

21   A   1,200.

22   Q   Are those significant levels of TCE?

23   A   Those are above our screening levels, yes.

24   Q   What is the screening level for TCE?         Do you remember?

25   A   Is this soil or groundwater?
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 1   Q   Let's go to the lower right-hand corner.

 2   A   Soil gas.     For TCE, that would be, I believe, about 910

 3   would be the screening level.

 4   Q   Something just under a thousand?

 5   A   Yes.

 6   Q   We've got results as high as 22,000?

 7   A   Yes.

 8   Q   When you are reviewing site conditions that are reflected

 9   in reports and in sampling data in particular, I guess I'm

10   wondering are you able to look at individual data points and

11   draw conclusions from that or are you looking at the entire

12   data set and drawing a conclusion as a whole?

13   A   We try to do both.

14   Q   They work together?

15   A   We do, yes.     We try to evaluate them together.

16   Q   Are there risks in isolating in on a single data point if

17   you don't take the whole data set into account?

18   A   Yes.

19   Q   What would those risks be?

20   A   You draw an incomplete conclusion as to the risk primarily

21   and exposure.     You draw an incomplete conclusion as to the

22   delineation of the nature and extent of the impacts.           Those

23   would be the primary two risks.

24   Q   You had been asked about the recent soil removal or soil

25   excavation at the Von Duprin property?
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 1   A   Yes.

 2   Q   And I think you stated that you had not seen a report for

 3   that work?

 4   A   That's correct.

 5   Q   Have you seen any data related to that work?

 6   A   Yes.

 7   Q   And what can you tell us about the data you've seen?

 8   A   The confirmation data that was shared with me showed that

 9   it met our approved levels of completion.

10   Q   Does "confirmation data" have the same meaning as the term

11   that was used earlier of "side wall" and "bottom samples"?

12   A   Yes, that would be the same terminology.

13   Q   You're testing the limits of the excavation you made?

14   A   That would be the same intent, yes.

15   Q   And if you find that you have unimpacted soils, the

16   assumption is that you've excavated all the bad stuff?

17   A   Yes, that would be the conclusion.

18   Q   And what conclusions, if any, can be drawn from the fact

19   that Ertel had 37,000 tons excavated, Zimmer Paper had

20   7,650 tons excavated, Moran had 4,641 tons excavated, and

21   Von Duprin had 212 or 216?

22   A   Well, the most obvious is the amounts are lesser on Moran

23   and Von Duprin; but I will caution I don't know the breakout

24   of the 37,000 tons of Ertel contamination because it wasn't

25   all chlorinated solvent impacted soil or PCBs and metals and
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 1   some other things that required excavation.          So when you

 2   purely compare the numbers, they're smaller.

 3   Q   And you did mention in discussing the removal of the UST

 4   at the Zimmer Paper that you didn't have data for the material

 5   that was in the tank; is that correct?

 6   A   I'm not aware of specific data.

 7   Q   When a tank is removed, who is responsible for collecting

 8   that kind of data?

 9   A   It would be whoever the person conducting the removal

10   action would be responsible or the site owner or the

11   responsible party.

12   Q   So if that data doesn't exist, it's because someone didn't

13   choose to collect it?

14   A   I would say that, yes.

15              MR. GRIGGS:     I have nothing further.

16              THE COURT:     Anything on those questions, counsel?

17              MR. MENKVELD:     Brief recross, Your Honor.

18                            RECROSS-EXAMINATION

19   BY MR. MENKVELD:

20   Q   Mr. Groves, you were asked a couple questions about work

21   that Major Tool performed, excavation work on the Zimmer

22   parcel and the Moran property; is that correct?

23   A   Correct.

24   Q   Are you aware one way or another of whether Moran actually

25   paid Major Tool for some of that work being done?
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 1   A   I'm not specifically aware, no.

 2   Q   You were also asked a question about that 16,000-gallon

 3   UST that was removed from the Zimmer property?

 4   A   Yes.

 5   Q   And I may have misunderstood your answer, but you're not

 6   aware that Moran ever used that tank at any time; is that

 7   right?

 8   A   I am aware that Moran owned the property; but no, I'm not

 9   aware if or how they may have used the tank, no.

10   Q   In fact, isn't it the case that nobody really knows who

11   used that tank?

12   A   I would say that's the case, yes.

13   Q   Now, on Exhibit 1032 --

14              MR. MENKVELD:     If you would pull that up, please.

15   BY MR. MENKVELD:

16   Q   This again, Mr. Groves is the commissioner order.           You

17   were asked about paragraph 6 about releases of the -- the

18   first sentence says "PCE."       Now, you're not aware, are you, of

19   Moran using any PCE in its operations at all; is that right?

20   A   We had information -- if you look at paragraph 4, we

21   referenced waste manifests that listed F001 and F002 waste.             I

22   don't know exactly the mixture that was in that.           So there

23   could be PCE.     There may not be PCE.

24   Q   F001, 002 waste, that could be TCE, right?

25   A   Could be TCE.     That's generally a mixture -- a solvent
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 1   mixture.

 2   Q   Okay.    So those are reference numbers that are used to

 3   report uses of certain hazardous substances to EPA; is that

 4   right?

 5   A   Right, general waste codes.

 6   Q   And so by looking at those waste codes, you can't

 7   determine which item within that waste code was actually being

 8   used; is that right?

 9   A   That's right.     Usually in my knowledge, it's usually a

10   percentage of solvents.

11   Q   But as you're sitting here today, you have no knowledge

12   that Moran actually used PCE in its operation --

13   A   I don't have any direct information or evidence, no.

14               MR. MENKVELD:    Pass.

15               MS. KRAHULIK:    No further questions.

16               THE COURT:    No questions on those.

17               Thank you very much, sir.      You may be excused, and

18   you may also, counsel, be excused.

19               MS. LASHBROOK:     I'll be back tomorrow.

20       (Witness excused.)

21               THE COURT:    All right, plaintiff, who do you have

22   next.

23               MR. GRIGGS:     Our next witness will be Rob Ferree.

24               THE COURT:    If you would come on up to the witness

25   stand right over here.       If you would please remain standing
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 1   and raise your right hand.

 2       (Witness sworn.)
 3              THE COURT:     You may have a seat.

 4              You may address your witness, counsel.

 5               ROBERT FERREE, PLAINTIFF'S WITNESS, SWORN

 6                             DIRECT EXAMINATION

 7   BY MR. GRIGGS:

 8   Q   Good morning.

 9   A   Good morning.

10   Q   Please state your name for the record.

11   A   Robert Alan Ferree.

12   Q   Who is your current employer?

13   A   Geosyntec Consultants.

14   Q   What position or title do you hold there?

15   A   I am a senior principal; and I also manage the Ann Arbor,

16   Michigan office.     It's an office of about nine people.

17   Q   What responsibilities do you have in that position?

18   A   Making sure that our office is fully staffed, making sure

19   projects are met -- project goals met.         We have an annual plan

20   that we meet for revenue.      I supervise proposals, site remedy

21   outlines, a variety of technical and administrative roles.

22   Q   Are you involved in individual projects?

23   A   Yes, I am.

24   Q   Are you involved in the Von Duprin site project?

25   A   Yes, I am.     I am the program manager for the Von Duprin
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 1   site.

 2   Q   What does a program manager do?

 3   A   Good question.     In this role, I help develop strategy for

 4   the site investigation work.       I make sure we assemble the

 5   appropriate team to go and do the work.         I work with our

 6   client, work with IDEM, make sure the work's implemented, make

 7   sure work plans are prepared, work plans are followed, reports

 8   prepared, all of those technical roles.

 9   Q   You make sure the client gets billed?

10   A   Yes.

11   Q   That too?

12   A   Invoices are prepared, submitted, make sure we're paid.

13   Q   Do you hold any professional licenses?

14   A   Yes.   I am a nationally certified geologist with American

15   Institute of Professional Geologists.         I have a state

16   geology -- professional geologist with state of Kentucky, and

17   I'm a licensed professional geologist in Indiana.

18   Q   How long have you been working in the environmental

19   consulting field?

20   A   I have been working in the field since 1985.

21   Q   So over 30 years?

22   A   Over 30 years.

23   Q   What about your educational background?

24   A   I have both an undergraduate and a master's degree in

25   geology from the University of Cincinnati.
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 1   Q     What is your past experience with chlorinated solvent

 2   sites?

 3   A     Well, I actually started my early career on chlorinated

 4   solvent sites.    I started off as a field geologist; and as a

 5   field geologist, I started by installing soil borings,

 6   monitoring wells, a multitude of field investigative

 7   activities, sampling monitoring wells, everything one would

 8   do.

 9             And as my career progressed, as I moved along in my

10   career, I moved up into management and to program management

11   and at that point started working on remedial strategies,

12   working with clients to develop approaches that were cost

13   effective, taking those approaches through work plans, as I

14   said earlier, to state agencies, working with those state

15   agencies to get approvals and then implementing that work.

16   Q     How many chlorinated solvent sites have you worked at?

17   A     Over my career, it's been over 30.

18   Q     Are there unique considerations or characteristics that

19   you need to be aware of when you're working at a chlorinated

20   solvent site?

21   A     There are physical characteristics of chlorinated solvents

22   that are a little bit different than a gasoline site, for

23   instance, just a different suite of contaminants, different

24   analytical methods for those compounds.         You just have to be

25   aware of those particular compounds that you're interested in
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 1   investigating, how they behave, make sure that you're

 2   collecting the samples properly.

 3   Q   How many chlorinated solvents sites would you say you're

 4   working on right now?

 5   A   Currently, I'm working on seven.

 6   Q   And is the Von Duprin site, the plume area around it, one

 7   of those sites?

 8   A   Yes, it is.

 9   Q   But that just counts as one site of the seven?

10   A   Yes.

11   Q   And I take it that you are familiar with the plume area in

12   which the Von Duprin property is situated?

13   A   I am very familiar.

14                MR. GRIGGS:   Let's look at Exhibit 1002, please.

15   I'm going to want to look at page 140.

16   BY MR. GRIGGS:

17   Q   This is your Final Investigation Report.          Are you familiar

18   with that?

19   A   Yes, I am.

20   Q   I want to look at the left side of this picture, I guess

21   the top one there.

22              Can you identify for the Court -- we've been looking

23   at a different figure that has the property locations.            Are

24   you able to point to, say, the Von Duprin site?

25   A   Sure.    I can, but I don't know how --
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 1                THE COURT:    Let me get my big book out.      It's hard

 2   to see the screen.

 3   A   The Von Duprin property is at the southwest corner of the

 4   intersection of AJ Brown and 19th Street.

 5                MR. GRIGGS:    Don't help him.

 6                THE COURT:    Can he do it himself?

 7                MR. GRIGGS:    I think if he touches the screen, it

 8   will come up itself.

 9   A   Right there.     Takes a little practice I think.

10   BY MR. GRIGGS:

11   Q   So there's a street that runs north and south?

12   A   Right.

13   Q   What street is that?

14   A   That's AJ Brown.

15   Q   And there's a street about -- that runs east and west.              Do

16   you know street that is?

17   A   That's 19th.

18   Q   And so how is Von Duprin situated with respect to the

19   intersection of 19th Street and Dr. Andrew J. Brown?

20   A   So that would be at the northwest corner.

21   Q   Northwest corner.       And who -- what property sits on the

22   northeast corner of that intersection?

23   A   That would be the Moran property.

24   Q   And if we go north of Moran, still on the east side, what

25   property is that?
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 1   A      That is the Major Tool property, formerly known as the

 2   Ertel property.

 3   Q      Formerly Ertel.     And a little bit to the east off of

 4   Dr. Andrew J. Brown, what site is that that's tucked in there?

 5   A      That would be the Zimmer Paper property.

 6   Q      Is there a way to make that pink stuff all go away?

 7   A      Yeah, I'm sorry.     Bottom left.

 8                MR. GRIGGS:     Let's zoom in on that oblong shape.      I

 9   think that got it.        That's a little bigger.    I can see it a

10   little better.

11   BY MR. GRIGGS:

12   Q      Can you see on this screen that there are three different

13   colored lines?

14   A      Yes, I can.

15   Q      What does a line represent on this picture?

16   A      A line on this picture represents a contour interval based

17   upon data collected from the monitoring wells and soil borings

18   that are depicted with the dark black indications, the blue

19   indications, the triangular indications; and they indicate

20   lesser concentration of 10 at the outside ring, 100 being the,

21   to me, orange color; and then the darker color in the center,

22   brown or red, is 1,000 part per billion, of, in this case,

23   TCE.

24   Q      And the very colorful little bull's-eyes and triangles and

25   black-and-white hatched circles, what do those represent?
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 1   A   The black and white are monitoring wells.          The blue

 2   cross-hatched target symbols are soil borings.          The triangles

 3   are another symbol for monitoring wells.

 4   Q   So -- I don't want to oversimplify, but we're talking

 5   about data?

 6   A   Correct, yes.

 7   Q   Those are locations that data has been collected?

 8   A   Yes.

 9   Q   And the data was plotted how to get these lines?

10   A   Sure.     We use a program, Surfer; and it automatically

11   contours.

12   Q   The program draws the line?        You don't have to draw it

13   yourself?

14   A   No.

15   Q   And is this configuration where the largest shape or

16   contour, I think, as we're calling it, is the lowest

17   concentration; and then the higher concentrations are

18   concentrated into a smaller area?

19   A   Yes.

20   Q   That's what you would expect to see?

21   A   Yes.    It's showing an intensity, if you would like to

22   describe it that way, where it's going from higher to lower.

23   Q   And that high-intensity area extends beyond and off of the

24   Von Duprin property; is that correct?

25   A   Correct.     It extends down to the intersection of 17th
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 1   Street and Yandes and Alvord Streets generally, in that area.

 2   Q   In conducting work at this site, did you have a hands-on

 3   role?

 4   A   Yes, I did.     I helped to develop a strategy for

 5   investigating the groundwater at the site, as well as soil

 6   sampling and soil gas sampling approaches.

 7   Q   When did you first get involved in this site?

 8   A   I started in late July, early August of 2014.

 9   Q   So five years?

10   A   Just about.

11   Q   Have you worked with any governmental entities during that

12   five-year period?

13   A   Sure.    We've worked with IDEM, Indiana Department of

14   Environmental Management, staff from the very beginning.            They

15   were integral in asking us and our client to start to do the

16   work along Yandes Street, which I guess I can continue to

17   point, which is right there.       And they -- we've been engaged

18   with them ever since.

19            We would conduct sampling, report that result to the

20   project manager and other technical staff at IDEM.           We would

21   then -- they would identify data gaps, and we would then

22   proceed to develop a plan to fill those data gaps; and we

23   continued to go on in a stepward manner with them hand in

24   hand, open discussions, meetings, telephone conferences, a

25   variety of communications with them.
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 1   Q   And when Geosyntec became involved back in 2014, had there

 2   been work that had been performed before your involvement?

 3   A   Yes, there had been substantial work done before we

 4   started.

 5   Q   And did you make use of that work and the data that had

 6   been previously collected?

 7   A   Yes, we did.     We used that data to help inform some of our

 8   early decisions; help us understand the site geology; help us

 9   understand the potential exposures in the neighborhood; help

10   us to understand where contaminants were present; helped us

11   even understand what media was affected, soil, soil gas,

12   groundwater; really helped us get up and running very quickly

13   to understand the risk to the human health and environment in

14   this area.

15   Q   Were there -- let's ask it this way.

16              Were there technical reports that were available for

17   this area?

18   A   There were a lot of technical reports available to us and

19   provided to us as part of the legal actions that were ongoing.

20   We -- some of the more important ones we used were the Alt &

21   Witzig report.     There was a Mundell baseline report.        There

22   was another Mundell Phase I that was done; and then the

23   further site investigation reports -- there are two of them --

24   by August Mack Environmental; and all of those documents were

25   very, very useful for us to be able to get our foundation laid
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 1   in understanding history, previous work, geology setting.

 2   Q   And you mentioned that one of the early things that

 3   Geosyntec was involved in had something to do with Yandes.

 4   Tell us more about that.

 5   A   Sure.    When we entered into the project, one of the most

 6   important things that was ongoing was gaining access in order

 7   to sample indoor air at homes along Yandes Street that had

 8   been identified by IDEM as critical sampling efforts.

 9            So we were able to gain access to five homes along

10   Yandes, and then we collected indoor air samples; and then

11   upon receiving the results of the indoor air samples, indoor

12   air samples indicating that these homes needed to be

13   mitigated.

14            We worked with IDEM, explained to them what we were

15   going to do, proceeded to hire a contractor and installed

16   mitigation systems in these five homes.

17            After we installed the mitigation systems, we then

18   collected confirmatory samples that indicated that the

19   mitigation systems were effective and then reported that

20   information back to IDEM.      That was our first large effort

21   that we undertook.

22   Q   You mentioned that this particular task was -- I think you

23   used the word "critical."      Did you have any understanding of

24   why this was considered to be important or more important than

25   other things you could have done?
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 1   A   Well, at this particular point, there were people living

 2   in these homes; and the previous data had indicated that the

 3   indoor air concentrations exceeded the IDEM screening levels

 4   for indoor air, for TCE in particular.         Based upon that, we

 5   needed to do something to protect the people in these homes.

 6   It was Von Duprin's act to go forward and protect these folks.

 7   Q   These screening levels, are those publicly available?

 8   A   Yes, they are.     They're part of the remediation --

 9   Q   Is there a numerical value for a particular substance?

10   A   Yeah.    There's a series of tables that have compounds and

11   then the different media, soil, soil gas, groundwater and

12   their risk table that says what the concentrations are for

13   each of those thresholds for thousands of compounds.

14   Q   Who publishes that table?

15   A   IDEM does, the risk assessment department.

16   Q   So these are governmental established values that you

17   compare your sample results to that value in the table?

18   A   Yes.

19   Q   And what if you're under the value in the table?

20   A   At that point, you've achieved delineation or showing that

21   that particular residence or soil sample, whatever media it

22   is, doesn't exceed that threshold; and you document that it

23   does not, and then it allows you to focus your work on areas

24   where you have exceedances.

25   Q   And by collecting enough data points, you're able to find
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                                  10755
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 1   the limits of where the data says that you have issues and

 2   where you no longer have issues; is that correct?

 3   A   Sure, yeah.     As we use these computer programs to do the

 4   contouring, then we compare the contours to the cleanup

 5   criteria; and then that defines the extent.

 6   Q   And that extent is defined by the data?

 7   A   Yes.

 8   Q   And what if you don't have enough data to accomplish that?

 9   Then what?

10   A   So that is what I would call a data gap.          At that point,

11   then we would develop additional sampling downgradient or

12   upgradient or side gradient to be able to put additional

13   borings in, collect additional samples and fill those holes or

14   data gaps in order -- and then if you again compare the data

15   to the criteria, if you exceed, you know you have to continue

16   to do work.     If you are less than the criteria, then you know

17   you've completed that area.

18              As you can see from the one map that's on the screen,

19   there's a multitude of borings.        We did this in an adaptive

20   approach.     We collect data, get the result, step out until we

21   are able to have the entire plume defined to meet the

22   standard.     In this case, it was for drinking water is what we

23   were asked to delineate to by IDEM.

24   Q   And when you became involved, were there still data gaps,

25   as you call them, that needed to be filled, despite the work
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 1   that had been done previously?

 2   A   Yes.   And they acknowledged that in the reports, that

 3   extent of contamination had not been defined downgradient of

 4   Yandes Street at that particular time.

 5   Q   And did Geosyntec, in fact, continue that investigation

 6   until it reached a point that it had -- it believed it had

 7   filled those data gaps?

 8   A   Yes.   That was the process that we utilized to delineate

 9   further downgradients not on our figure here; but like I said,

10   installed soil borings, collected groundwater samples, just

11   kept stepping downgradient to the length of the plume,

12   collecting groundwater from surface down to the base of the

13   water table or the water-bearing unit, and just continued

14   stepping out until we had completed that delineation.

15   Q   Did Geosyntec also conduct sampling in the -- what's

16   called the upgradient area?

17   A   Yes.   As part of the complete investigation of the site,

18   you know, there was information that led us to believe that

19   there were other sources upgradient.        So we looked up that

20   way; and again, that was based on information that was in

21   those previous reports.      And we needed to understand and

22   refine those areas of impact.       So we went upgradient and

23   looked on adjacent upgradient properties.

24   Q   This Final Investigation Report -- we can go back to the

25   first page.
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 1            What role does the Final Investigation Report play in

 2   the work that Geosyntec has done?

 3   A   Sure.    So when we started, the program was in the

 4   voluntary program.     And then we moved into a Voluntary

 5   Remediation Agreement.       And as part of that agreement, we had

 6   to delineate the extent of contamination and then prepare a

 7   document that summarized all of the work that had been

 8   conducted to date; and that included all the work that we had

 9   done up to -- all that site investigation work installing the

10   permanent monitoring well network and collecting samples from

11   that monitoring well network.       This huge document had all that

12   description of all that work that was conducted.

13                MR. GRIGGS:    Can we take a quick look at 1003?

14   BY MR. GRIGGS:

15   Q   This says, "Appendix A, Long-Term Monitoring Network Well

16   Construction Logs."        In fact, the Final Investigation Report

17   with its appendices was so big, we broke it into two exhibits;

18   is that right?

19   A   Correct.

20   Q   But they're all part of a single document?

21   A   Right.     This exhibit is all of the well logs, soil boring

22   logs, laboratory reports, field testing, all the stuff that we

23   used to evaluate the data.

24   Q   Would it be fair to characterize what's in the appendices

25   as kind of the detailed backup of what's in the report?
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 1   A   Sure.    The report tries to have a high-level summary of

 2   the information; and then if you need to look at the

 3   specifics, where a sample is collected, what day it was

 4   collected, what media was it collected in, you would go to

 5   these appendices and look at the details.         The boring log --

 6   well, in this case, it's a well construction log -- would say

 7   where the well screen was placed --

 8                MR. GRIGGS:   Let's go one more page, Dave, on this;

 9   and that way he's talking about something that we're actually

10   seeing.

11   BY MR. GRIGGS:

12   Q   What is that that we're looking at right there?

13   A   This is a well construction diagram.         So it shows the

14   construction of a well, which is PVC pipe.

15   Q   Does it say which well?

16                MR. GRIGGS:   Zoom in top left.

17   BY MR. GRIGGS:

18   Q   I just want to give the Court a feel for what level of

19   detail is available in these reports.

20   A   Sure.    So this is 108 deep, and then "R" is replacement

21   because it is replacing a well that was destroyed in this

22   case.     So it has an R to differentiate it from the original

23   1018.

24   Q   That's a lot of information to get from an R.

25   A   Well, it's very important.       The label of a well tells us
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 1   where it is, a lot of very, you know, descriptive information.

 2            So in this case, you can see the driller -- the

 3   drilling company -- excuse me -- the driller himself, our

 4   geologist, and what unit was the well installed.           So we know

 5   this is a deep well in the lower sand unit.          A lot of

 6   information here.

 7            You have to know measuring points for when we collect

 8   groundwater depth to water measurements, and the top of the

 9   well pipe has an elevation; and that's indicated in the box

10   over on the right.

11            There's a lot more information further on the

12   right-hand side that says the length of the well screen, the

13   thickness of the well sand pack that you place around the well

14   screen, the thickness of the bentonite seal.          Everything you

15   need to know about how that well was built is present on that

16   well log.

17   Q   And that was information that was known and recorded

18   contemporaneous with the work being done?

19   A   Correct.    All of this information was written down by the

20   field geologist as that well was constructed.

21   Q   And these field geologists, you are one of those, right?

22   A   These, yes.

23   Q   You guys have little notebooks that you have special names

24   for, right?    What do you call them?

25   A   Field notebooks.
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  1   Q     Field notebooks.     And everything gets written down?       Is

  2   that the policy?

  3   A     Yes.   If it's not written down, it didn't happen.

  4   Q     So in addition to what's here on a well construction log,

  5   there's even further backup information because we keep those

  6   little field books, right?

  7   A     Correct, yeah.     The field notebook -- I hate to use the

  8   word but a diary of what happened that day.         When did I get

  9   on-site?     When did I do my health and safety briefing?        Which

 10   driller is on-site?       Who did I talk to that day?     Do we have

 11   visitors on-site that day, be they IDEM or in this case the

 12   owner, Major Tool on the property?        So perhaps we had

 13   oversight by another contractor; and if I ran into any

 14   problems, it's just the entire day, weeks, months, the

 15   entirety of the entire project.       You could go through all of

 16   our field notebooks.

 17   Q     So if monitoring well 108 deep replacement had been

 18   sampled on a particular day, how close to the time that sample

 19   was taken could you tell me from that field log?

 20   A     I could tell you precisely when it was collected.

 21   Q     To the minute?

 22   A     To the minute.

 23   Q     This represents one monitoring well, what we were looking

 24   at.    How many monitoring wells in total are involved in the

 25   plume area?    Do you have an idea -- a rough idea?
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  1   A   As part of the long-term monitoring network, there are 50

  2   wells.

  3   Q   Fifty?

  4   A   But all told, all the wells from the upgradient property

  5   to the Von Duprin property to downgradient, there's 75 or 80

  6   wells that we use; but then there are other sites of

  7   investigation that have other wells.        In this area between AJ

  8   Brown and College Avenue, there could be currently 150 wells

  9   in that general vicinity because there's a lot of other sites

 10   present there.    So it's a very well-investigated area.

 11   Q   And the ones which we're concerned about for this case, I

 12   think you said that the monitoring well network had 50 or so?

 13   A   Yes.

 14   Q   But there may be more, 75 total?        Why are some wells in

 15   the monitoring well network and some are not?

 16   A   Some of the wells are duplicative.         They overlap.    Some of

 17   the wells are outside of the contour and have been shown to

 18   have, let's say, nondetect or below criteria for ten or more

 19   years.

 20              So we made the decision, working with IDEM, that let's

 21   concentrate on the -- what we call the perimeter of

 22   compliance.    Let's look where that footprint -- put wells

 23   around the outside of that footprint of that contour interval

 24   and monitor those as well as wells that go down the center or

 25   the spine of the plume so we can see if anything is moving or
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  1   retracting over time and not have to collect samples that are

  2   going to indicate nondetect again and again and again.

  3   Q   Because there's a cost to collecting that sample, right?

  4   A   Yes, absolutely.

  5   Q   And is it financially more advantageous to be able to use

  6   a smaller number of wells than a larger number of wells?

  7   A   It is, yes.

  8   Q   There's also a cost in installing these wells, right?

  9   A   Oh, yeah.    The wells can be very, very expensive to

 10   install.

 11   Q   I don't want you to give away any trade secrets of

 12   Geosyntec, but you installed some wells after you got on the

 13   project.   Do you remember how many wells that were installed?

 14   A   We installed ten as part of the long-term monitoring

 15   network.

 16   Q   Those were in addition to what was already present?

 17   A   In addition to what was already present, yes.

 18   Q   Just in terms of giving the Court an idea of what things

 19   cost in this area, what did it cost to install ten wells?

 20   A   It cost about $115,000 just for that task of hiring the

 21   driller and supervising.

 22   Q   But you didn't collect any data.        That's just to drill the

 23   well, right?

 24   A   Correct.    That was without any laboratory analyses.

 25   Q   Sometimes I think I'm in the wrong business.
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  1             So it's not an inexpensive area; and there are ongoing

  2   costs, right?     This monitoring well network has to be

  3   periodically sampled?

  4   A   Correct.

  5   Q   Or will be in the future periodically sampled?

  6   A   In the future, yes.

  7   Q   Does that actually -- does the installation of these wells

  8   and the monitoring of these wells and the network -- does it

  9   actually change the conditions in the groundwater, say?

 10   A   No.   The purpose of a monitoring well is to go back and

 11   repeat a sampling event to be able to go back and document or

 12   continue to show that the footprint of that plume, the

 13   contours are similar.

 14   Q   How big is a groundwater sample?        What's the volume that

 15   you collect to send to the lab?

 16   A   Well, for a volatile sample is -- it's a little vial,

 17   40 milliliters.

 18               THE COURT:     Can you hold it higher?

 19               THE WITNESS:    About that big around.

 20   BY MR. GRIGGS:

 21   Q   Forty milliliters?

 22   A   Forty milliliters.      You collect three of those.

 23   Q   Collect three of those because the lab needs three

 24   different vials?

 25   A   Oh, sure.     The lab may drop one.     It may break on the way
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  1   to the laboratory when it's being shipped via courier or

  2   Federal Express or some other overnight.         So you want to have

  3   more than that one sample.

  4   Q   I guess what I'm trying to get at, for the benefit of the

  5   Court, is collecting those three little vials is not really

  6   changing the amount of contamination in the groundwater.              It's

  7   not an effective way to treat the groundwater?

  8   A   No, no.    The way you collect the sample is called low flow

  9   sampling, and that's so you don't pull a lot of water in.             You

 10   collect with a pump running at a low flow, 100,

 11   150 milliliters per minute, so very, very slow.           So you're

 12   just sipping, basically, on a straw, to simplify it, and fill

 13   your bottles after -- you make sure that you're getting

 14   groundwater that's coming into the well.         Sorry.    I'm using my

 15   hands.

 16              And we use instruments to measure dissolved oxygen,

 17   specific conductants, pH, so that we know the water when we

 18   started.

 19              After a while, you will see changes; and then

 20   eventually, it will start to even out, and it will be

 21   statistically within 10 percent; and we'll know at that point

 22   we're drawing water into the well, and then we'll use that

 23   data then to say that's when we collect our samples.

 24              When you asked me about how do I know, we time that

 25   every 10 minutes; and we record all that information, whether
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  1   it's by hand or sometimes we'll rent equipment that digitally

  2   records all of that information.

  3            And then when it stabilizes, we collect the sample.

  4   We write the date.     We write where we are and what analyses

  5   are being collected on a chain of custody, and then that

  6   document can tell me exactly when that sample was collected.

  7   Q   So when you have an existing monitoring well, we shouldn't

  8   be picturing -- it is a hole in the ground, right?

  9   A   It's a hole in the ground; but if you've been to a gas

 10   station, you've seen a monitoring well.         It's a flat surface

 11   with a circular color, usually has a triangle on it, bolts on

 12   it; and it says "monitoring well."        Beneath that is the pipe.

 13   Q   And when you want to get a sample from that, what do you

 14   have to do?

 15   A   First thing -- well, let's just take the long-term

 16   monitoring network.     So just think if we did this throughout.

 17            We first went to every single well in those 51 wells,

 18   and we measured the depth to water.        That way we knew that on

 19   one day, we had collected water levels from the entire well

 20   network so we knew that day groundwater flow was this way.

 21            We measure elevation, as I said earlier, on that

 22   monitoring well form.     So we know the height of the

 23   groundwater.    We know the bottom of the well.        So we know how

 24   much water is in the well screen; and then we, as I said, put

 25   our equipment down, our pumps, collect our sample at that
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  1   point.

  2   Q   So there's not a tap at the top.        You just turn on, hold

  3   your bottle under it; and you're done in 15 seconds?

  4   A   You have to use a pump to extract the groundwater.

  5   Q   Do you keep these wells locked?

  6   A   Yeah, they have -- if they are flush mount, flush mount

  7   being flush to the ground, there's an expandable cap that's

  8   inside that when you close it, it expands; and then a lock is

  9   placed on that.    They're all keyed the same so that any of the

 10   folks that work on the project have that key.          They can open

 11   up the well and get into it.       If they're above grade, they

 12   have a casing on the outside, again, with a lock and a cap

 13   inside the casing and they're secured.

 14   Q   But if you don't have a key and tried to get in there, it

 15   would be obvious it was tampered with?

 16   A   Correct, it would.

 17   Q   And you wouldn't use the results from a well that had

 18   obviously been tampered with?

 19   A   No.   At that point, we would talk to the state.          We would

 20   talk with our client, and we would probably redevelop that

 21   well, probably extract more groundwater out of that well, and

 22   show it returned to similar conditions to the last time we

 23   sampled it.

 24   Q   One more question along this line.         When you go out to

 25   sample the network, I assume you're not sampling one well but
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  1   multiple wells in a given day; is that true?

  2   A      Sure.    We would have a team of staff working in pairs, and

  3   they would sample the -- the wells are nested.          Some are

  4   shallow.       You look at the water table.    Some are deeper, down

  5   deeper in the aquifer.      One could sample the shallow well.

  6   One could sample the deep well or somebody could work on two

  7   and be in eyesight of the other team member working on another

  8   one.     But we try to work in twos and do as much as we can.

  9   Q      For planning purposes, how much time do you allow for the

 10   sampling of each monitoring well?        How long does it take?

 11   A      From the time you set up until the time you're done,

 12   probably about two hours on a good day and if everything works

 13   right.

 14   Q      Is that a single person or do you need multiple people to

 15   accomplish that in two hours?

 16   A      One person at one well.

 17   Q      So two hours per well total?

 18   A      Yes.

 19   Q      If you wanted to sample 20 wells today, you would need to

 20   have 40 hours of manpower to get that done?

 21   A      Yes.

 22   Q      These wells that already existed, you've mentioned that

 23   Geosyntec installed ten.       Are you still using some of the

 24   wells that were already there?

 25   A      Yes.
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  1   Q   And is there any significant difference in your mind

  2   between the wells that already existed and the ones that you

  3   installed in terms of their usefulness?

  4   A   No.     They're all very useful.

  5   Q   Could you have delineated the plume area with just your

  6   ten wells?

  7   A   No.

  8   Q   But those ten wells were still needed to do the final

  9   delineation that's reflected in the report?

 10   A   Sure, but the process we use to get to the point of

 11   installing the wells was the adaptive investigation that I

 12   described where we did vertical profiling, found where the

 13   contamination was; and then rather than set wells every time,

 14   we used the process to sample the aquifer, fill in the data

 15   gaps that were missing.      And at the end, talking with IDEM,

 16   showing the delineation, then we selected where those wells

 17   were to be placed.     So they were at the end to document the

 18   delineation was complete.

 19   Q   If before you started work for -- before Geosyntec started

 20   work, I think Threaded Rod had a contractor out doing work in

 21   the area, when you're finished with a monitoring well,

 22   project's over, don't need it anymore, is there a process

 23   whereby you close the well?

 24   A   Sure.     After we would get a No Further Action where the

 25   state tells us we're complete or in some other fashion, you
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  1   abandon that well.

  2   Q   That doesn't sound good.       You abandon it.     What's that

  3   mean?

  4   A   You remove the well -- well, let's put it this way.            You

  5   pump grout into the bottom of the well, and you fill the well

  6   casing with cement; and then you remove the top 3 feet of the

  7   well itself, and you cut that and physically remove that.

  8              Then you're left with a stick of concrete, basically;

  9   and then you backfill the service.        If it's grass, it'll just

 10   be grass.     If it's out in the roadway, you remove that and

 11   replace the asphalt, replace the concrete, whatever the

 12   surface is.    So there's no longer a way to sample from that

 13   well or for it to be a future conduit for infiltration.

 14   There's no need for them after that.        It's just a liability at

 15   that point.

 16   Q   You're physically and intentionally making that well

 17   unusable?

 18   A   Yes.

 19   Q   Is that a regulatory requirement?        Does the state require

 20   that wells be abandoned?

 21   A   Yes.

 22   Q   You just can't leave it the way it is?

 23   A   No.

 24   Q   And there is, again, a cost involved in that abandonment

 25   process?
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  1   A   Yes.    You have to retain a driller.       You have to have

  2   someone oversee and document that that was done, take

  3   photographs.

  4   Q   If the existing wells that were present when Geosyntec

  5   began working had not been available, didn't exist, had been

  6   abandoned, were somehow otherwise vandalized, would you have

  7   needed to install more than ten wells?

  8   A   Oh, yes, absolutely.

  9   Q   And does it cost more to install ten wells or to install

 10   50 wells?

 11   A   There is some economy of scale when you go to a larger

 12   network, but you still have to have a driller drill a hole.

 13   You still have to have a geologist log the hole, describe the

 14   soil samples, watch the construction of the well.           So they all

 15   cost.   There's a cost.     They don't generally get cheaper.

 16   I've heard my client tell me that all the time, that they

 17   never seem to get cheaper.

 18   Q   So in your mind, was there a real cost savings in being

 19   able to use the existing well network?

 20   A   Oh, absolutely.

 21   Q   And by avoiding installing those wells yourself, above the

 22   ten you did need to install, that was a cost you didn't have

 23   to pass on to your client, Von Duprin?

 24   A   Correct.    We probably saved $150,000 or more being able to

 25   use those -- there were ten sets of shallow and deep wells
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  1   that we utilized.

  2   Q   Once you had these wells in place, did you, in fact,

  3   collect data from them?

  4   A   Yes.    That's the sampling we conducted at the end that was

  5   in the Final Investigation Report out of the long-term

  6   monitoring well network.

  7   Q   In talking about the well construction diagram that was up

  8   on the screen, you were describing well construction; and I

  9   guess what I want to be sure I understand is the description

 10   you gave about how a monitoring well is made or constructed,

 11   is that unique to Geosyntec?

 12   A   No.     No.   That's every -- I wouldn't say every consultant

 13   but most consultants build wells the same way.          IDEM has a

 14   standard that says, "This is how you're going to build the

 15   well"; and that's how you do it.

 16   Q   So it's not unique -- every consultant does well

 17   construction, or is supposed to, the way that you do it?

 18   A   Yes.

 19   Q   You mentioned vertical aquifer profiling.          I'm not sure

 20   we've encountered that term, at least not with somebody who

 21   can explain what it is.

 22              Can you in layman's terms, please, try and describe

 23   what vertical aquifer profiling is?

 24   A   Sure.     So there are several types of drill rigs.        I won't

 25   go into all the drill rigs; but for vertical aquifer
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  1   profiling, we use a geoprobe rig or a direct push drill rig.

  2   If you think about a log splitter -- you've seen one of those

  3   basically up on the end; and it pounds a rod into the ground.

  4              At the end of that rod is a screened interval, so

  5   perforated like a monitoring well screen.         It's a tool that

  6   you can press down.     We know where the water table is, 18 to

  7   23 feet generally.     A driller measures down, push it to that

  8   depth.     You pull the outer rod back, and an inner screen is

  9   exposed.    The groundwater is able to enter into that screen,

 10   and then we can put tubing down into that pipe and then use a

 11   pump to extract groundwater from that.

 12              And then we collect that sample, as I described

 13   earlier.    We pull that rod set out of the ground.         We move

 14   over a couple feet, and we take another clean set; and we

 15   would advance down -- in our case, we went every 5 feet.              So

 16   we went every 5 feet and exposed the tool.         Some of the tools

 17   had 3-foot screens.     Some had 4-foot screens, depended on the

 18   manufacturer that we were using; and then we proceeded again

 19   to collect that sample.

 20              Pulled that out, drill a new hole to the next 5-foot

 21   depth; and we repeated that until we hit the basal clay at the

 22   site.    It's a very large regional clay.       It's very hard.       When

 23   you hit it, you know you've hit the bottom.         Then we would

 24   take our last sample right on top of that, basically.

 25              And we repeated that, each of those steps.        That was
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  1   the approach we used to be able to then collect five or seven,

  2   perhaps eight or nine, depended on how thick the aquifer was;

  3   and we had those discrete samples that allowed us to look at a

  4   vertical profile at those 5-foot depths from the top of the

  5   water table to the bottom.

  6   Q   So in terms of -- you're checking depths, right?           That's

  7   the vertical you're talking about?

  8   A   Yes.

  9   Q   On the diagram we were looking at earlier that had all

 10   those little monitoring wells and all the little boring

 11   locations, would the vertical -- looking for the term here --

 12   vertical aquifer profiling, it would just represent one of

 13   those points?

 14   A   Correct.

 15   Q   But you're really drilling into the page, so to speak, as

 16   we were looking at the picture, and collecting multiple

 17   samples at different depths?

 18   A   Correct.    It would be impossible to have a map that you

 19   could show that intensity and make sense.         And also the scale

 20   of a map, if you look at that circle, it could be 30 feet

 21   wide.   We have precision as to where the boring was collected

 22   because we measured them and surveyed them in; but yeah, the

 23   drawing doesn't show how we walked around that location to

 24   advance those borings.

 25   Q   That all sounds very fancy.       I guess what might be
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  1   interesting to the Court is why would it be important to be

  2   able to take discrete samples at discrete depths?

  3   A      Sure.    Our purpose is to start at the top of the water

  4   table and then to know that as we advance deeper into the

  5   aquifer, we have clean equipment; and we're not carrying any

  6   contamination down with us as we proceed down.

  7                 And that way each sample is independent, collected on

  8   its own with its own set of tools.        And it's not closed,

  9   pressed down again, reopened, collected a sample, pressed

 10   down, reopened.       You could have contamination draw down with

 11   you.     If you encountered a substantially impacted portion of

 12   the aquifer and you use that same tool and push down again, it

 13   might yet have some lingering contamination from shallower;

 14   and then you would drag that down with you.         So we didn't want

 15   to do that.       We wanted to make sure that we had clean

 16   samples -- not clean samples but samples collected from

 17   decontaminated equipment.

 18   Q      What you're describing there is what's sometimes referred

 19   to as cross-contamination?

 20   A      Yes.

 21   Q      What you're saying is you took steps to avoid that

 22   happening?

 23   A      Yes, we did.

 24   Q      Can you get samples from the vertical aquifer profile --

 25   you're getting what we consider a grab sample, right?
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  1   A   Right.     It's a one-time.

  2   Q   You can't go back three months later and collect that

  3   sample again?

  4   A   Not without drilling --

  5   Q   You would start over?

  6   A   Start all over.

  7   Q   That's contrasted with a monitoring well, which is

  8   designed to allow you to get a sample and come back later and

  9   get another sample, correct?

 10   A   Correct.

 11   Q   And that's -- is the sample you take the second time in

 12   the same general location as the one the first time?

 13   A   Yes.

 14   Q   The hole hasn't moved, right?

 15   A   Correct.

 16   Q   But what is it about -- what is it in the subsurface that

 17   defines where you're collecting your sample from?

 18   A   Using the low flow sampling protocol, you measure the

 19   amount of water that's standing in the well; and you put the

 20   intake of your pump at that midpoint.

 21   Q   Why is there water in the well if the well is a pipe?

 22   A   There's a well screen.

 23   Q   A screen?

 24   A   At the bottom of the well that's in most cases 10 feet

 25   long, and that allows the water to enter into the pipe.
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  1   Q   And the sample you're collecting is from that screened

  2   area?

  3   A   Correct.

  4   Q   So if you install the screen between 20 and 30 feet in a

  5   well, every sample you get from that well is going to be from

  6   the 20 to 30-foot zone?

  7   A   Correct.

  8   Q   And if you made a well next to it that had a screen at 50

  9   to 60 feet, the samples from that well would be from that 50

 10   to 60 area?

 11   A   Correct.

 12   Q   And I'm trying to make sure that we get in the concept of

 13   a nested well.    As opposed to the VAP that you've described

 14   very well, what is a nested well or nested well set?

 15   A   Sure.     So what we did here was to put a well at the top of

 16   the water table to have the shallow impacts.          And then we

 17   drilled down, sampled the -- described the geology.           I have to

 18   use my words properly.      And then when we hit the base of the

 19   aquifer generally around 60 feet, 60 to 70 feet, we then set

 20   the next well at the base of the water-bearing unit at the

 21   bottom -- at the top of that clay unit; put a 10-foot screen

 22   in there.     So then at that location, you had a shallow well

 23   and a deep well; and you could compare concentrations across

 24   those two well sets.

 25   Q   Are they actually two different holes?
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  1   A   Yes.

  2   Q   And if we -- I think I saw somewhere the first well tends

  3   to be an "MW" with a number?

  4   A   Yes.

  5   Q   Right?

  6              And if we're talking about a deeper well, you put a D

  7   at the end of it?

  8   A   Yes, either the shallow well will just be the number, or

  9   it may have an S; and the deep well will always have a D to

 10   define it as deep.

 11   Q   So if the S is not there, you assume it is shallow.            Only

 12   if the D is there we know it's deep?

 13   A   Correct.

 14   Q   Did I see somewhere in the data set that there are

 15   actually some with a DD?

 16   A   Yes.     Some of the earlier wells, for instance, the six --

 17   or in the nine-well set has a nine.        A 9D and a 9DD.     In that

 18   case, the DD is the deepest; and in this case, the D is about

 19   a midpoint between the top of the water table and the top of

 20   the basal clay.

 21   Q   But that set of three wells, the number with the D and

 22   maybe a number with a DD, is a nested well set?

 23   A   Correct.

 24   Q   Has Geosyntec carried on since it got involved in the site

 25   in 2014 with the investigative work that had already begun?
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  1   A   Yes.   We -- as I said earlier, we knew that there was the

  2   vapor intrusion risks.      So we proceeded to work with the

  3   state, identify the data gaps that needed to be done, answered

  4   the question that IDEM may have asked us, preferential

  5   pathways, upgradient sources, downgradient residential

  6   impacts, extent of the groundwater contamination.           So we

  7   worked, as that one figure indicated, a very large area to

  8   define the extent of contamination.

  9   Q   How much of the investigation work that Geosyntec had done

 10   went into that Final Investigation Report?

 11   A   All of our work was utilized.

 12   Q   So up to the point that that report was complete, you were

 13   describing everything that you had done?

 14   A   Correct.

 15   Q   And has there been additional work or effort since the

 16   Final Investigation Report?

 17   A   Yes, there has.

 18   Q   But in terms of a single-source shopping, if we went to

 19   Exhibit 1002 and its attached parts 1003, that kind of tells

 20   us everything that you knew up to that point in time?

 21   A   Right, up till that report was submitted.

 22   Q   Did you submit that Final Investigation Report to IDEM for

 23   review?

 24   A   Yes, we did.

 25   Q   And did they, in fact, carry out a review of that?
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  1   A   Oh, yes, they did.

  2   Q   And did they have comments for you?

  3   A   A few, none of them substantial.        But in the letter, they

  4   sent us a letter that said, "Here are your findings."

  5   Summarized the findings.      "Here's a couple of issues, concerns

  6   we have but not consequential where we had to revise the

  7   document"; and then they accepted the document as complete in

  8   defining the extent of contamination.

  9   Q   And what does it mean that the document's been accepted?

 10   A   At that point, it's put into the public record as evidence

 11   that the scope of work that we said we were going to do we

 12   completed and it's available.

 13   Q   But it's not the end.      You've still got things to do?

 14   A   Sure.

 15   Q   It's a milestone?

 16   A   Right.    As part of the Voluntary Remediation Agreement, we

 17   needed to get the delineation of the groundwater completed;

 18   and then we had to prepare a work plan to continue the work to

 19   remediate the source.

 20                MR. GRIGGS:   Let's take a quick look at 1020,

 21   please, page 5.

 22   BY MR. GRIGGS:

 23   Q   Let's look at the cover here for a second, "Vertical

 24   Aquifer Profiling Groundwater Investigation and Soil Boring

 25   Work Plan."    Are you familiar with this?
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  1   A   Yes.

  2   Q   It's got your company's name on it?

  3   A   Yes.

  4   Q   Let's look at page 5.      At the bottom of that page, there

  5   is a heading that says, "Vertical Aquifer Profiling."           If we

  6   blow that up, maybe you can see that a little better.

  7              Is this a description in writing along the lines of

  8   what you've just testified to?       Are you explaining what

  9   vertical aquifer profiling is?

 10   A   Yes.    This is the documentation of how it should be done.

 11   In this case, it's a work plan.

 12   Q   So this was part of the work plan where you were telling

 13   everybody, "This is how we're going to do the vertical aquifer

 14   profiling"?

 15   A   At JTV Hill Park, yes.

 16   Q   Let's look also at 1027.       This is a technical memoranda.

 17   Looks like it's from Rob Ferree and Ryan Fimmen.          Do you see

 18   that?

 19   A   Yes.

 20   Q   And it was to Ryan Groves and several other people.            Can

 21   you see the date on that?      Is it clear enough for you?

 22   A   March 21st, 2017.

 23   Q   Let's look down at page 6.       Can you tell us what this

 24   technical memoranda -- and it was for the JTV Hill Park

 25   property as well.     What is it that's being conveyed here?         Are
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  1   you again describing the work that you did?

  2   A   Sure.   The particular page that you have up on the

  3   right-hand side where his cursor is is describing the results

  4   of soil samples that we collected, and we depict those in

  5   tables and figures, as you can see; and then the lab reports

  6   are seen.   And then there's a description of where we

  7   collected the samples and then the screening criteria --

  8   sorry.   It's hard to read -- that we're using.         Then below

  9   that then, we describe the compounds individually,

 10   tetrachlorethylene, trichloroethylene, and then the results of

 11   the samples.

 12               MR. GRIGGS:    Go down to page 10.     I think that's a

 13   similar thing for -- this is -- can we blow up that text a

 14   little bit.    I can't --

 15               Let me forget that for a minute.

 16   BY MR. GRIGGS:

 17   Q   What was the idea behind this memorandum?          Why did you

 18   submit it to IDEM?       What did it accomplish?

 19   A   We were going to a very particular spot in JTV Hill Park.

 20   It was the previous boring called B332 that had some anomalous

 21   readings or data -- I should use that word -- and didn't agree

 22   with what we had found in our investigation so far.           So we

 23   were curious --

 24               THE COURT:     Do you have an objection, counsel?

 25               MR. BOWMAN:     I have an objection.
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  1              THE COURT:    What is your objection?

  2              MR. BOWMAN:    This is precisely the kind of entry

  3   that I have some concern about.        The objection is a fact

  4   witness providing expert opinion -- I'm sorry -- a fact

  5   witness opining and providing expert opinion.

  6              Can I elaborate on that?

  7              THE COURT:    Sure.

  8              MR. BOWMAN:    This gentleman is doing a very good job

  9   and will this afternoon continue to talk about his data

 10   collection processes.     It is extremely important, and we'll

 11   get into that.

 12              Interpretation of that data is for expert analysis

 13   when you're interpreting it, and I am aware of this particular

 14   document and was waiting.        There is a result in an area that

 15   the witness has already testified seemed anomalous, and so

 16   they went in and got a different data point.

 17              I'm okay that the record is, "We got this data

 18   point, and there's this data point."        How to explain that, to

 19   me, is expert testimony.      That's probably longer than we need

 20   to be, but I'm hoping -- data is data.         Explaining the data is

 21   for experts.     Thank you.

 22              MR. GRIGGS:    I didn't have him comment on the

 23   conclusion because I was sharing that concern, but I think him

 24   saying that they did this work because they had encountered

 25   what they deemed to be an anomaly was important to get in the
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  1   record.   I've asked all I want to ask about that.

  2               MR. BOWMAN:    Thank you.

  3               MR. GRIGGS:    I am about to start into a very lengthy

  4   discussion of Exhibit 102 [sic].        I don't know if this is

  5   where you want to take lunch or I can go another hour and we

  6   can --

  7               THE COURT:    No, you know everybody needs to eat.        We

  8   don't want to go another hour.       It's a little bit after 12,

  9   12:07.    So yes, this is a good time to take our lunch break.

 10   We'll be in recess, and we'll start up about five after one.

 11               MR. GRIGGS:    Thank you, Your Honor.

 12               THE COURT:    Enjoy your lunch, everyone.

 13       (A lunch recess was taken.)

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  1                    A F T E R N O O N      S E S S I O N

  2       (In open court)
  3               THE COURT:    Good afternoon.    We are back on the

  4   record.    The witness is back on the stand.       You may be seated.

  5   You are still under oath.

  6               Counsel, you may continue with your examination of

  7   the witness.

  8               MR. GRIGGS:   Thank you, Your Honor.

  9   BY MR. GRIGGS:

 10   Q   Mr. Ferree when we left off, we were about to talk about

 11   Exhibit 1002.    This is the Final Investigation Report.         Can

 12   you just briefly describe what the purpose of the FIR is?

 13   A   Yes.   Sure.   The purpose of the Final Investigation Report

 14   is to summarize all of the work that was conducted as part of

 15   the Voluntary Remediation Agreement, starting with the

 16   background, the site history, the geology, area of affected

 17   parties, extent of contamination in soil, soil gas,

 18   groundwater, records as you showed earlier all of the

 19   appendices, the soil boring logs, combine that all into a

 20   final document that summarized concisely that the extent of

 21   contamination of the plume area had been defined.

 22   Q   And in preparing this report, did you utilize data from

 23   all sources or just the data that Geosyntec had collected?

 24   A   No.    We utilized data that was available, information from

 25   the August Mack, for the site investigation reports, from Alt
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  1   & Witzig documents, from the Mundell documents, from other

  2   publicly available documents that we could see for other sites

  3   that were downgradient of the property -- the Von Duprin

  4   property as well as the upgradient information.

  5   Q   We looked at a diagram earlier from this report that had a

  6   lot of sampling locations indicated on it.         Do you have an

  7   idea of how many grab samples were collected as part of the

  8   plume area investigation?

  9   A   Part of our investigation, we advanced approximately 98

 10   soil borings and all of those vertical aquifer profiling

 11   samples, so not the groundwater samples, about 343, including

 12   duplicate samples.

 13   Q   So do you add those two together?        One is -- or is -- or

 14   does one include the other?

 15   A   Ninety-eight locations, 343 discrete samples.

 16   Q   To the south of the Von Duprin property, there is a public

 17   park; is that correct?

 18   A   Yes.     It's the JTV Hill Park.

 19   Q   During the course of Geosyntec's investigation of the

 20   plume area, did you identify any risk associated with the JTV

 21   Hill Park?

 22   A   Previous sampling by August Mack had indicated that there

 23   was vapor intrusion present in that building.          The data

 24   indicated that concentrations of indoor air exceeded the IDEM

 25   indoor air screening level.       So we knew that there was the
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  1   need for further investigation and eventual mitigation of that

  2   building.

  3   Q   What particular contaminant was it that exceeded the

  4   screening levels?

  5   A   Trichloroethylene, TCE.

  6   Q   And what did Geosyntec and Von Duprin do to address that

  7   exposure risk?

  8   A   Sure.    So the first thing we did was recollected samples

  9   to confirm that there was an exceedance.         We did confirm that.

 10            And then we tried to understand how was that

 11   happening.    So the first thing you can do, a simple way for

 12   mitigation is to change the air handling equipment in the

 13   building, so the air conditioning and heating.          In this case,

 14   it was the air conditioning time of year, the cooling season.

 15   And we increased the flow rate of the air conditioning, and

 16   that basically causes the building to put more air in than

 17   what it can take out.     So you pressurize the building; and,

 18   therefore, vapor intrusion isn't as likely to occur.

 19            We collected samples again, and we still found that

 20   the indoor air exceeded the residential screening levels.

 21   Perplexed us.    So then we did a thorough building inspection

 22   to look for areas, perhaps cracks in the floors or something

 23   that was allowing the vapors to enter the building; and what

 24   we found in the center of the basketball court were volleyball

 25   stanchions where you place the volleyball nets into the floor.
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  1   It's a basketball floor.      You can play basketball.       And those

  2   pipes that held the volleyball nets actually went through the

  3   concrete floor of the building to the bare soil and was

  4   allowing vapors to come up into the building.          We took a photo

  5   ionization detector, and we were seeing volatile organic

  6   compound detections on that meter.

  7            So that led us to believe that that was an area

  8   perhaps where vapors were entering the building.          So we sealed

  9   that, using an industrial floor sealer caulk; and then we

 10   sampled again.    And again, we found that that hadn't solved

 11   the problem.

 12            So it became apparent at that point we were going to

 13   have to put a mitigation system in in order to prohibit vapors

 14   from entering into the building.

 15   Q   And what is a vapor mitigation system?         What are we really

 16   talking about here?

 17   A   Sure.   A vapor mitigation system is a series of pipes that

 18   go below the floor of a building in this case, or a home; and

 19   you reduce the pressure.      So you draw a vacuum.      Think of a

 20   fan, a vacuum, like a fan in your bathroom or your kitchen,

 21   moves a lot of air out, removes in this case the vapors from

 22   beneath the floor and puts them out from beneath the floor up

 23   into the atmosphere where they're diluted.

 24            But it causes a vacuum beneath the floor that's at a

 25   lower pressure than the indoor air space.         Therefore, the
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  1   vapors will not come into the building.         They will be captured

  2   by that vacuum.    It's basically a big fan, very simple.

  3   Q   How big a fan was it at JTV Hill?

  4   A   Oh, it probably -- I forget the model number right now.

  5   It was capable -- step back for a minute.         We had to install

  6   four fans there because the building was very large.           It had

  7   a -- part of the building was the office space where their

  8   activities were held; and then we had the gymnasium, which is

  9   a very large, almost -- one-and-a-half-story building, a lot

 10   of air space.

 11            So we put one fan with three suction points, one fan

 12   connected to a network of piping, two pipes that went through

 13   the floor, three different areas in the office area.           And then

 14   we had originally planned to put three fans on the east and

 15   west and north wall and put the piping through the foundation.

 16   I'll use my hands, the floor of the -- the flat area of the

 17   foundation, and they have a foundation wall.          We were going to

 18   drill through that wall and put an extraction point that would

 19   be able to reach underneath the entirety of the floor.

 20            We did that; but when we turned the fans on, we could

 21   not measure a vacuum underneath the floor of the basketball

 22   court.   We did measure vacuum underneath the building, the

 23   office portion.    So we knew we were able to draw a vacuum in

 24   that part.

 25            What we found with working with the City of
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  1   Indianapolis, who operates that facility, they removed some

  2   side boards -- moldings I guess is the best way to describe

  3   them, and the floor had separated from the foundation; and

  4   there was a very large crack, almost an inch or more, present.

  5   And that was allowing -- the vacuum was broken by that.

  6            So then we tried to seal those, tried the fans again.

  7   That didn't work.     So at that point, we adapted our

  8   installation; and we put a system above the concrete floor but

  9   beneath the actual playing surface of the basketball court as

 10   elevated above the concrete floor, and then we depressurized

 11   the space below the basketball court on the east and west

 12   sides.   The north side we were able to get limited vacuum, so

 13   we left that fan running, and then we had the one fan with the

 14   three suction points on the south side in the office location.

 15   Q   I hope this story ends with a happy ending.          How did that

 16   turn out?

 17   A   After we took that lengthy installation time, we were able

 18   to get concentrations below the indoor air -- residential

 19   indoor air screening levels.

 20   Q   And has that system that you installed been operational

 21   ever since?

 22   A   It has been.    We've had a couple minor -- we've had some

 23   broken pipes we've had to go back and mend; but we go back

 24   annually, make sure the system is running.         It has an alarm on

 25   it so if it turns off, each of the fans will sound an alarm.
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  1   They all have manometer pipes on them with red fluid so

  2   somebody can make an inspection and see that they're running.

  3                 We have trained the city not to turn off the light

  4   switches like they used to and turn off our fans.           Now, they

  5   know what they're doing; and we go back every year, and we

  6   check that they're operational and we also collect annual

  7   samples.

  8   Q      Is the alarm a local alarm or is this an alarm that

  9   reaches out to somebody away from the site?

 10   A      No, it's an alarm in the building; and the building has

 11   been well-informed.       They have a booklet, who to call, what to

 12   do when that alarm goes off, which fortunately, it hasn't gone

 13   off.

 14   Q      Do you have any idea what the work that was done at JTV

 15   Hill Park to address this vapor intrusion -- what it cost?

 16   A      It cost approximately $120,000.

 17   Q      Did you also find that some private residences had the

 18   potential or were actually suffering vapor intrusion?

 19   A      Yes.    Those were the first homes that we investigated.

 20   Q      And where were those homes located?

 21   A      On Yandes Road, from north to south.      They're spread out

 22   from the north side to the south side.         There are five houses.

 23   Q      Is Yandes the north-south street that borders JTV Hill

 24   Park to the west?

 25   A      Yes.
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  1   Q   You've mentioned five private residences initially?

  2   A   Yes.

  3   Q   Can you describe what the process is when you're concerned

  4   about vapor intrusion in a residence?        What do you do?

  5   A   Sure.     So the first thing that you need to do is gain

  6   access, ask the homeowners' permission to do the work.           The

  7   first step is to collect a sample and determine whether or not

  8   you exceed the screening level, as you asked me earlier.            If

  9   the home did not exceed the screening level, then we sent them

 10   the data and told them that their home did not require any

 11   other work.

 12              If the sample came back exceeding the screening level,

 13   then we worked with them to sign a mitigation agreement, which

 14   was the agreement to physically install a fan and collect

 15   further samples after we install the mitigation system to make

 16   sure that it was operational.       And then also, that would allow

 17   us to come back in the future and collect confirmatory samples

 18   from that home to document that the mitigation system has been

 19   effective.

 20   Q   Okay.     I want to put a finger there on the private

 21   residential.

 22                MR. GRIGGS:   Can we bring up 1029?

 23   BY MR. GRIGGS:

 24   Q   Is this the cover page for the vapor intrusion mitigation

 25   work plan for the JTV Hill center building?
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  1   A   Yes, it is.

  2   Q   And is this the plan that you submitted to IDEM saying,

  3   "This is how we propose to address vapor intrusion mitigation

  4   at JTV Hill Park"?

  5   A   Yes.    Then we had met with IDEM prior, placed a conceptual

  6   approach out to them, and then prepared the work plan that

  7   outlined what our approach was.

  8                MR. GRIGGS:   1089, please.

  9   BY MR. GRIGGS:

 10   Q   Did IDEM review that plan and, in fact, approve that plan?

 11   A   Yes.     Michael Anderson at IDEM looked at the work plan and

 12   gave it his approval.

 13                MR. GRIGGS:   Go to the next page here.

 14   A   I guess Ryan actually approved it, but Michael Anderson

 15   was key in reviewing it.

 16   BY MR. GRIGGS:

 17   Q   It sounds like you're familiar with what we're looking at

 18   here.     Is this an e-mail approving the work plan that we just

 19   looked at, 1029?

 20   A   Correct.     Ryan would either write us a letter, or he would

 21   send us an e-mail with authorization.

 22                MR. GRIGGS:   And just to close the loop, 1026,

 23   please.

 24   BY MR. GRIGGS:

 25   Q   We may have looked at this earlier.         I won't get into the
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  1   conclusion, but is this the technical memorandum that you

  2   submitted to IDEM after you did the work describing what had

  3   been done and the results?

  4   A   Yes, it is.

  5   Q   And these five private residences, you mentioned that you

  6   had verified at JTV Hill Park the results that had indicated

  7   there might be a concern.      Why bother to do a verification

  8   when you've already got results that say you might have a

  9   problem?

 10   A   Just because I'm sitting here, I would much rather rely on

 11   my own data and -- not that that data was good, bad or

 12   otherwise; but it was data that we collected.          We knew how it

 13   was collected, had confidence in the collection.

 14   Q   Since we're going to talk about private residences, are

 15   there other sources of chlorinated solvents that can be

 16   detected within a home that don't come from a -- a pollution

 17   source?

 18   A   Absolutely.

 19   Q   So there are household products that contain some

 20   chlorinated solvents that can be detected?

 21   A   Sure.   If I'm a repairman, automotive repair person, if I

 22   make models in my home, if I store Christmas tree ornaments in

 23   my home, household cleaning products.        All things have minute

 24   quantities of chlorinated solvents or they're degradation

 25   products.
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                                   10794
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  1   Q   And when you do a test in a private home, how do you know

  2   that you're not detecting those kinds of ubiquitous common

  3   household things versus actually detecting what you're looking

  4   for, and that is, is there pollution coming into the home from

  5   outside?

  6   A   The first thing we would do is speak with the homeowner.

  7   Again, after we've gained the access, always say hello.              Then

  8   we -- we don't inspect.      We would do a site inspection with

  9   them of their home and ask them.       "Do you smoke?"      That's

 10   another common contaminant for indoor air pollution.           "Have

 11   you received new carpeting lately?        Have you painted your

 12   home?    What are your hobbies?"     And there's a very thorough

 13   checklist that we use -- that the company has developed that

 14   we use, and we go through that with the homeowner before we

 15   start.     And that way, we understand.

 16              And if we find substantial amounts of hobby materials

 17   or, you know, automotive cleaners, we will ask the homeowner

 18   if we can remove them from the home.        Perhaps they have an

 19   exterior garage or somewhere to place it outside of the home,

 20   outside of the occupied breathing area so that we know we're

 21   not having, again, cross-contamination from noncontaminant

 22   groundwater or soil contamination issues, pollution.

 23   Q   So based on the household inventory survey, you try and

 24   get rid of -- at least for a short time.         You're not asking

 25   them to permanently change, but in order for you to conduct
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                                   10795
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 399


  1   the 24-hour test --

  2   A   Correct.     The indoor air samples are 24 hours.

  3   Q   So at these private residences, were you indeed successful

  4   in getting access to those properties?

  5   A   Not to all of the properties on Yandes Street.           There were

  6   some homeowners that didn't want to talk to us.          There were a

  7   couple that were rental homes, and we couldn't find the

  8   landlord; but we were able to gain access to five.

  9                MR. GRIGGS:   I want to pull up 1002, the Final

 10   Investigation Report again.       I believe it's page 128.

 11                What I hope is going to come on the screen is a

 12   picture that will help you to describe what you're talking

 13   about.     If we can zoom in on that area of colored rectangles

 14   kind of in the lower left area.       Yes, something like that.       If

 15   we can make that bigger.

 16   BY MR. GRIGGS:

 17   Q   All right.     Almost in the dead middle of the picture,

 18   there is a black-roofed building.        Do you know what building

 19   that is?

 20   A   That is the JTV Hill Park building.

 21   Q   That's the building you've just described that you

 22   installed a mitigation system at?

 23   A   Yes.

 24   Q   And what are these colored rectangles down the left side

 25   of Yandes?
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                                   10796
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 400


  1   A   The colors -- now, I have to admit --

  2   Q   What are they?     Before you talk about the colors, what are

  3   those rectangles?

  4   A   Those are properties.      With -- all of those have

  5   property -- have homes built on them.

  6   Q   Okay.    And were you interested in all of those homes that

  7   are shown there?

  8   A   We were interested -- the contour line that you see, the

  9   yellow line, is the groundwater contour for vapor intrusion

 10   screening level that above that concentration, there's a

 11   likelihood of indoor air impacts.

 12              So we utilized that, and IDEM also utilizes a 100-foot

 13   setback.    So we knew that the homes downgradient or here of

 14   the plume could likely be impacted, and we needed to assess

 15   those properties to continue to validate the groundwater

 16   presence of that contamination above criteria and whether or

 17   not those homes had any potential risk for vapor intrusion.

 18   Q   Okay.    I think there's a lot there that you've thrown

 19   together.    This contour line that we're looking at, do you

 20   know what concentration that line represents?

 21   A   Yes.

 22   Q   What is that?

 23   A   Nineteen parts per billion.

 24   Q   What does 19 parts per billion have to do with anything?

 25   A   That's a site-specific number that we calculated with IDEM
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  1   that indicates that the likelihood of vapor intrusion is more

  2   likely in the areas within that plume, within that contour,

  3   inside the contour than outside the contour.          So this is the

  4   footprint of the likely exposure from groundwater.

  5   Q      And when you mentioned a hundred-foot setback, are you

  6   saying that a hundred feet outside this contour line, IDEM

  7   wants those structures to be checked too for a safety margin?

  8   A      That is correct.

  9                 THE COURT:     So are you telling me the plume is this

 10   big?

 11                 THE WITNESS:    I'm sorry, ma'am?

 12                 THE COURT:     Is the entire area -- is the plume the

 13   entire yellow in the area?

 14                 THE WITNESS:     Yes, ma'am.

 15                 THE COURT:     It's a huge plume.   Okay.

 16   BY MR. GRIGGS:

 17   Q      The 19 is a value that was calculated based on this

 18   specific site?

 19   A      Correct.

 20   Q      And you had to get acknowledgment or approval of that 19

 21   from IDEM?

 22   A      Yes.   That was part of the documents that we submitted in

 23   the meetings that we had with Ryan and his technical team; and

 24   we proposed that number, showed the calculations, and they

 25   approved it.
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                                   10798
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 402


  1   Q   And if the number had been different, particularly if the

  2   number had been smaller and your contour line was, say, 5,

  3   what would have been -- well, how would that have affected

  4   this picture?

  5   A   Sure.     The contour would have been larger, larger

  6   footprint.

  7   Q   Got it.     And so which of the five residences are we --

  8   were you able to get access to there among the several on

  9   Yandes?

 10   A   So the ones -- to me -- I was about to say earlier.            I

 11   have color-blind issues.      So I see different colors.

 12   Q   What color do you see?

 13   A   I see green.

 14   Q   I see green too, but I may be color blind.          I don't know.

 15   A   There are two to the south of the southern portion of the

 16   plume.     And then there's one about in the center and then two

 17   to the north.

 18                MR. GRIGGS:   Can we blow up just the rectangle a

 19   little bit so he can read the numbers on them?          I want to make

 20   sure we're talking about the right ones in case we are color

 21   blind.

 22   BY MR. GRIGGS:

 23   Q   Can you see the numbers now?

 24   A   Yes.

 25   Q   Which numbers are the five that we are talking about?
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  1   A   Sure.    1714, 1724, 1742, 1816 and 1820.

  2   Q   Were you not able to contact the other people or did the

  3   other people say, "No"?

  4   A   One -- some people were able to sample.         The golden color,

  5   1704, 1710, 1720, 1730, those homes we were able to sample

  6   where others had sampled, and they did not have vapor

  7   intrusion issues.     So they were less than IDEM vapor intrusion

  8   screening level.

  9   Q   But they were checked?

 10   A   But they were checked.

 11              The homes with the vertical line, 1736, and 1738, we

 12   were unable to gain access at the time that we completed the

 13   Final Investigation Report.

 14   Q   Have you continued to try and get access since then?

 15   A   Yes.

 16   Q   Have you been successful?

 17   A   We have been successful.       1738 we were able to contact.

 18   It was a new landlord -- excuse me -- new owner of the

 19   building, went from a rented property, was renovated; and then

 20   a duplex home was constructed there.

 21              We were able to get access and sample that, and that

 22   home did not exceed -- indoor air from that home did not

 23   exceed indoor air.

 24              And just recently as part of recent work, we've been

 25   able to gain access to 1736; and that home also, indoor air
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                                   10800
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 404


  1   samples and crawl space -- that home is built on a crawl

  2   space -- were also below the residential screening levels.

  3   Q   So the fact that a structure is within the footprint only

  4   means it's suspect?     It doesn't guarantee that they're going

  5   to have a problem?

  6   A   Correct.     What we have found is the construction of the

  7   home may lead to vapor intrusion.        For instance, as I said,

  8   1736 is a crawl space home.       Its foundation only goes down

  9   about 3 feet.    It does have bare soil.       Then the home is built

 10   above that.     Crawl spaces allow air to move through a lot

 11   easier, so we don't see vapors accumulating in homes with

 12   crawl spaces.

 13            Homes with basements may or may not allow vapors to

 14   enter.   The homes at 1714, '24, 1742, 1815 and 1820 had sumps

 15   in their basement to collect water from the drainage ways

 16   around their house.     I'm sure everybody has a sump, and they

 17   have sump pumps; and the lids on those sump pumps were loose.

 18            And once we -- as part of the mitigation of these

 19   homes, we also sealed those sumps with a lid with sealant and

 20   screwed them down; and once we removed that infiltration route

 21   into the home, we found our mitigation to be very successful.

 22   So a mix of construction and adaptations to the home

 23   foundations later can lead to vapor intrusion.

 24   Q   And you already mentioned some efforts that Geosyntec made

 25   in contacting the homeowners and trying to get their
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                                   10801
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 405


  1   cooperation.    Did IDEM also have a role to play in that?

  2   A   Oh, absolutely.     1736 -- I'll refer to the owner,

  3   Ms. Germany -- would not answer our phone calls.          We asked

  4   IDEM to become involved.      They actually wrote some letters.

  5   Ryan himself -- Ryan Groves, excuse me -- went to the home and

  6   tried to knock on the door to contact the owner.          Wasn't

  7   successful either.

  8   Q   And is that the one that wasn't successful at the time but

  9   you've now had success?

 10   A   Correct.

 11   Q   And turned out there wasn't an issue?

 12   A   Correct.

 13              MR. GRIGGS:    I want to see table 11 of this.          I

 14   wrote down page 79, but I think I was wrong; but if we can

 15   start at 79.    Can you show me the heading of that so I can see

 16   what it says.

 17              Just to make sure, let me see the page before this,

 18   make sure we're at the start of No. 11.         That's the page I

 19   think we want to start on.      Maybe not.

 20   BY MR. GRIGGS:

 21   Q   Are you familiar with table 11 in the Final Investigation

 22   Report?

 23   A   Yes.

 24   Q   You tell me what part of this we should blow up so we can

 25   have you describe what we're looking at.         Start on the left
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  1   half?

  2              First of all, tell us what we're looking at; and we'll

  3   go from that.

  4   A   It's a complicated table.       The parcel ID number is the

  5   farthest left-hand column.      The physical street address is the

  6   next column.    The owner name is the next column; and then the

  7   next three columns are our attempts to contact that particular

  8   owner, the date of which our contact or action was, and then

  9   what we did and then what happened.

 10   Q   Okay.    The title of this report I think says, "Residential

 11   VI Investigation Outreach Efforts"; is that right?

 12   A   Correct.

 13   Q   Is this, in fact, a record of all the steps that were

 14   taken for each of the properties, residential -- and I think

 15   JTV Hill's on here as well -- to be in contact with the owner

 16   or resident of the structure about the vapor intrusion

 17   problem?

 18   A   Yes, it is.

 19   Q   So if we look at the first -- let's see.          Is there a

 20   particular property that might be most helpful in

 21   understanding the kinds of things that you were doing?

 22   A   I think it might -- if you wanted to see one that went

 23   through mitigation, one on the next page would be better.

 24                MR. GRIGGS:   One page down.

 25
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                                   10803
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  1   BY MR. GRIGGS:

  2   Q   What property address?

  3   A   1714.     That's the southernmost; 1714 Yandes.       Or maybe

  4   it's the next --

  5   Q   I think it will be one more page.

  6   A   Yes.    I don't know my table as well as you do.

  7   Q   It looks like 1704 is at the very bottom.

  8   A   We're getting close.

  9              There we go.

 10   Q   If I had known which one you were going to pick, I would

 11   have been better prepared.

 12   A   There we go.

 13   Q   Tell us what this -- tell us what we see here.           You don't

 14   have to read it word for word, but just give a description of

 15   what this is about.

 16   A   Sure.    So this is the home of Jennifer Mann at 1714

 17   Yandes.     This is a particular house where there was previous

 18   sampling that occurred.       So we knew that on June 10th of 2014,

 19   Arcadis had collected samples here.

 20                MR. GRIGGS:   Let's blow up the right-hand columns,

 21   can you make those bigger.

 22   BY MR. GRIGGS:

 23   Q   Did that help at all, Rob?       Can you read that?

 24   A   I can read that.       Can you read that?

 25   Q   I'll get my glasses if I can't.        Go ahead.
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                                   10804
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  1   A      So then after that, you can see that we were able to gain

  2   access to her home in August.        And then we had a sampling

  3   event.     And the -- contemporaneous with mitigation system

  4   install.       So that occurred on August 12th.

  5              And then you can see below that, we sampled a

  6   one-week, one-month when we submitted letters to the owner;

  7   and we also copied IDEM and then six-month, again, the letter

  8   and then the annual sampling that we had conducted at that

  9   home while the continued investigation was occurring in the

 10   plume area.       That documented all the activities for that

 11   property up till the submittal of the report.

 12   Q      And the rest of this table 11 has similar actions and

 13   descriptions for the other properties that you have looked

 14   into for vapor intrusion?

 15   A      Correct.

 16                  MR. GRIGGS:   Since we've talked about 1714 Yandes,

 17   Exhibit 1035.

 18   BY MR. GRIGGS:

 19   Q      You mentioned or the table 11, I think, said something

 20   about a mitigation agreement.        Is this the document that that

 21   refers to?

 22   A      Yeah.   This is our standard mitigation agreement that we

 23   use.

 24   Q      There's the owner's name and information.

 25                  MR. GRIGGS:   How about the bottom half of that page,
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                                   10805
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  1   Dave.

  2   BY MR. GRIGGS:

  3   Q   That's who you are and how to get ahold of you, and then

  4   there's some legal terms about what you're going to do and

  5   what responsibilities you're taking on for the homeowner?

  6   A   Correct.     As I said, it allows us access to their home to

  7   install the system itself, access to come back to collect

  8   confirmatory samples and then to come back annually for a

  9   period of five years.     This has a five-year life to it.

 10   Q   How much do you charge the homeowner for the initial

 11   24-hour test?

 12   A   Nothing.

 13   Q   It's not free to do that test, is it?

 14   A   No, but our client paid to install the system, do all the

 15   sampling.   The homeowner had no cost to them.

 16   Q   And so you're providing a service to the homeowner.

 17   They're not paying for it?

 18   A   Correct.

 19   Q   And because it's related to the pollution coming off of

 20   the groundwater plume, Von Duprin is the one who actually paid

 21   for this?

 22   A   Yes, they did.

 23   Q   And that's part of the costs that you have billed

 24   Von Duprin for, right?

 25   A   Yes.
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                                   10806
                           FERREE - DIRECT/GRIGGS               Vol. 2 - 410


  1                  MR. GRIGGS:   1036.

  2   BY MR. GRIGGS:

  3   Q      This is again related to 1714 Yandes.        What is this

  4   document?

  5                  MR. GRIGGS:   Make that big, Dave.    Perfect.

  6   A      This is a system summary, and we provided this to the

  7   homeowner and also to IDEM; and it just documents everything

  8   that we did at the property, how it was prepared consistent

  9   with IDEM's approval.        And then the bullets, as they continue

 10   on, identify when we had the access agreement, when it was

 11   installed, what contributes -- the mitigation system in this

 12   case.     There's also air filters in the home; and then there's

 13   again your point, no cost to the owner.

 14                 But then there's just bullets of everything that we

 15   did.     There's a table attached to this that has the

 16   confirmation -- the initial sampling after mitigation and then

 17   confirmation sampling.        So this was the record for the

 18   homeowner.

 19   Q      And this was a report, a communication to the homeowner

 20   that they got regardless of what you found, right?

 21   A      Yes.

 22   Q      Pro or con, they were going to get a report that told them

 23   what happened in their house?

 24   A      Sure.    Yes.

 25   Q      You said this was a report to IDEM or that IDEM was aware
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                                   10807
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  1   of this; but this really went to the homeowner, right?

  2   A   Correct.

  3   Q   If we go down to the bottom, I think that's true.           And

  4   1051 I think is -- this says, "Summary of Residential Vapor

  5   Intrusion Assessment Sampling and Results."         And does this

  6   cover actually several residential properties that you're

  7   giving a summary to Michael Anderson about and Ryan Groves?

  8   A   Those are the five houses.

  9   Q   So this covers those five that we saw in green?

 10   A   Correct.

 11   Q   Including 1714 Alvord?

 12   A   Correct -- no, Yandes.

 13   Q   Excuse me.    You're correct, 1714 Yandes.

 14              If we took the time, are there mitigation agreements,

 15   summaries to homeowners, and some kind of report to IDEM for

 16   each of the residential properties that you have been involved

 17   in related to this project?

 18   A   Yes.

 19   Q   And since all of those are part of the joint stipulated

 20   exhibits, I'm not going to go through those with you; but this

 21   is typical of what you would see, that there's a mitigation

 22   agreement, there's something to the homeowner communicating

 23   what happened, and there's a report to IDEM?

 24   A   Correct.

 25   Q   After these five, were you done?
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                                   10808
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  1   A      No.

  2   Q      When did the next residential issues pop up?

  3   A      The next residential issues happened after we had

  4   completed the Final Investigation Report and about December

  5   time frame.       The area's in a very vibrant neighborhood I would

  6   guess is the best way to describe it, and there's a lot of

  7   redevelopment occurring.        So there's homes being built.

  8                 And we noticed that there were for-sale signs on

  9   Alvord Street; and, in fact, perhaps a foundation had been

 10   dug.

 11                 And at that point, we realized that there was likely

 12   development occurring.        We went to the website of the very

 13   large sign that was present there, called the developer, asked

 14   him what his plans -- their plans.        There were two developers.

 15   Then we quickly contacted IDEM and let them know that there

 16   were other homes being planned for the neighborhood, and we

 17   put together a sampling investigation plan to investigate each

 18   of the vacant properties before a house was built.

 19   Q      The footprint that we looked at that has that

 20   isoconcentration, I think you said it was 19 parts per

 21   billion?

 22   A      Yes.

 23   Q      That didn't move, right?

 24   A      Correct.

 25   Q      That stayed in place, but people kept building homes in
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                                   10809
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  1   the area that were within either the contour or the

  2   hundred-foot buffer outside the contour?

  3   A   That's correct.

  4   Q   And that is what required you to do additional

  5   investigation of additional residences?

  6   A   Correct.

  7   Q   And you mentioned a couple developers.         I don't know that

  8   the names of them -- I seem to remember that there may have

  9   been a -- another builder.      Habitat for Humanity, did they

 10   build in this area, too?

 11   A   They have as well.      There were two developers, David

 12   Weekly Homes and The Re-Development Corporation.          They built

 13   homes on Alvord Street; and then Habitat for Humanity, that

 14   group, constructed three homes north of 19th Street on Yandes.

 15   Q   And when you became aware that either lots were for sale

 16   or that foundations were under construction in this area, you

 17   mentioned that you tried to contact -- I think you said there

 18   was a big sign.    You reached out to somebody.

 19             Did you warn these developers that there were -- there

 20   was contamination in the area, and you needed to be involved

 21   in some way?

 22   A   We did.    We reached out to them, and they then gave us

 23   access to investigate the groundwater and soil gas situation.

 24   Q   They didn't agree to not build the house there?

 25   A   No.
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                                   10810
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  1   Q   Were you able then to address any issues that might exist

  2   at those locations?

  3   A   Yeah.     We collected a groundwater grab sample and two soil

  4   gas samples from each of the properties to be developed, and

  5   then we reported all that information to the home builder and

  6   also to IDEM; and we informed the builder that more than

  7   likely, homes in this area may require mitigation in the

  8   future.     They said, "Thank you."

  9   Q   How many residential structures in total would you say

 10   that you've had some -- have had some connection with the

 11   plume area?     What are you up to?

 12   A   Thirty-eight or 40 homes.

 13   Q   And are you still doing work on some residential

 14   structures right now?

 15   A   Yes.

 16   Q   In fact, did you do something last week?

 17   A   Yes.     Last Monday at 1737 Alvord -- the numbers are very

 18   similar -- we were able the week before to collect indoor air

 19   samples, and the indoor air samples indicated that they

 20   exceeded the residential screening criteria.          So last Monday,

 21   we installed a mitigation system of a fan in the basement.

 22              In this case, the developer had actually put piping --

 23   PVC riser pipe through the floor and up through the home,

 24   through the attic and into the roof; and we were able to put a

 25   fan up in the attic.     And then we also put two -- temporarily
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  1   put two air filters into the home; and again, this was all

  2   done after discussions with IDEM.

  3              We will remove those air filters after ten days, wait

  4   two days; and then we'll collect our confirmation samples to

  5   check for the effectiveness of that system.         So that'll be

  6   roughly the end of July, early August.         Homeowner's on

  7   vacation.    So we have to coordinate with the family when they

  8   return to collect those samples again.

  9   Q   Okay.    Thank you.

 10              You indicated these activities related to vapor

 11   intrusion and residential structures, that the cost was billed

 12   to Von Duprin, correct?

 13   A   Yes.

 14   Q   Were you asked by Von Duprin to try and identify which

 15   costs among all of your costs were specific to the residential

 16   vapor intrusion?

 17   A   Yes, I was.

 18   Q   Were you also told that you had to cut that off because of

 19   our discovery cutoff at March 31 of 2018?

 20   A   Yes.

 21   Q   And were you able to go back and look at the invoices that

 22   you had sent to Von Duprin and isolate the costs related to

 23   residential vapor intrusion?

 24   A   Yes, I was.

 25   Q   And what was that cost total for all the residences
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  1   together up to that time?

  2   A   Approximately $465,000.

  3   Q   How does -- just to kind of put a bigger framework here,

  4   what does -- what does Geosyntec include in the costs that

  5   they charge to a client like Von Duprin?

  6   A   Well, we get paid by the hour.        So we have a fee schedule

  7   that's based on an hourly rate; and each of our employees

  8   tracks their time, bills their time to the client for project

  9   work either in the office or out in the field doing active

 10   sampling work.

 11              We retain subcontractors, drillers, laboratories,

 12   other vendors, the radon mitigation firms; and we bill the

 13   client that but with a small handling charge.

 14              And then we also have expenses, rental equipment,

 15   rental cars, gloves, all the things that you need to collect

 16   samples with; and we also charge our clients for that.

 17              And then on top of that, we have a small fee that's a

 18   percentage of labor.     It's 3 percent of our labor that covers

 19   telephones and fax machines back when people charged for

 20   faxes, covers shipping so we don't have to bill our client for

 21   every FedEx package that we deliver to the regulator or to

 22   them.

 23   Q   Were all those types of costs included in this project?

 24   A   Yes.

 25   Q   And you mentioned hourly rates.        Are there different rates
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  1   charged by different people within Geosyntec?

  2   A   Yes.

  3   Q   And is that rate commensurate with their job

  4   responsibilities, so to speak?

  5   A   Correct.

  6   Q   You mentioned that there was a rate schedule.           Is that

  7   provided to the client?

  8   A   Yes.

  9   Q   They know how much a staff engineer costs and how much --

 10   I don't know -- senior principal I think is what you said your

 11   title was?     They know what you cost per hour?

 12   A   Yes, they do.

 13   Q   Are those -- is that schedule of rates the standard price

 14   you charge to any client?

 15   A   We have set rates that change every year; but for our

 16   client Von Duprin, they asked us to consider rate reductions

 17   as part of our negotiations of our contract with them.

 18   Q   And did they -- did you come to agreement for a rate

 19   reduction?

 20   A   Yes, we did.

 21   Q   Do you remember what that was?        Was it a specific number?

 22   A   It was about 8 percent.

 23   Q   And you mentioned some markups.        I think you said a markup

 24   for expenses.     What is Geosyntec's typical markup for expense

 25   items?
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                                   10814
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  1   A   Typically, it's 15 percent.

  2   Q   And did you charge Von Duprin that amount or --

  3   A   No.     We negotiated down to 5 percent.

  4   Q   What about on the subcontractors?        You mentioned

  5   laboratories and drilling companies.        What's the normal markup

  6   for that?

  7   A   Typically 15 percent as well, but we were 5 1/2 -- excuse

  8   me -- 6 1/2 percent.

  9   Q   And is that, you know, reflective of the relationship you

 10   have with Von Duprin, that you would agree to those discounts

 11   for this project?

 12   A   Yes, and it carried on to other work that we might gain

 13   from them as a client.      They're a valued client.

 14                MR. GRIGGS:   Let's look at 1017, please.

 15   BY MR. GRIGGS:

 16   Q   Does that look familiar?       There's 2,000 -- over 2,000

 17   pages in this exhibit.      What are we looking at there?

 18   A   This is a standard invoice cover sheet that summarizes for

 19   this particular month, which I can't quite tell you which

 20   month it is.

 21                MR. GRIGGS:   Make it a little bigger here.

 22   A   So this is the month of August 2016; and it has our

 23   professional services, which is the hours charged by the staff

 24   for that month, the 3 percent communication fee on that; and

 25   then it lumps reimbursable expenses, which would be the
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  1   subcontractors and expenses into a line and then gives a total

  2   for that month.

  3   Q      There's a project name here.       Can you see what that says?

  4   A      Yeah.     It's the "2016 Residential VI," vapor intrusion,

  5   "Mitigation."

  6   Q      And among those costs that you reported earlier, the total

  7   residential vapor intrusion mitigation cost, would this be one

  8   of the invoices that would make up that number that you gave

  9   us?

 10   A      Yes.

 11   Q      And if we scroll down past the cover page to the next

 12   page, I just want to get a feel for what we have in these

 13   invoices.       Is this the summary?

 14                   MR. GRIGGS:    Can you flip that table on its side and

 15   then make it a little bigger?

 16   BY MR. GRIGGS:

 17   Q      What are we looking at here?       It says, "Project Tracking

 18   Sheet."        What is that?

 19   A      Sure.     So it shows the project number at the top, and we

 20   have different phases of work.          So the project number has a

 21   "D."     So we just know that's sequentially what was happening.

 22   It's got the name.

 23                 And then there are phases or people would also say

 24   tasks.        There's indoor air sampling and carbon replacement,

 25   1738 Yandes air sampling, property owner letters, electrical
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  1   reimbursements and project management; and it gives a budget,

  2   how much we've spent, how much remains, and then have we

  3   completed the task or not and how much of the budget has been

  4   spent, sort of an easy way for the client to look at how we're

  5   doing both from a budget and scope completion snapshot.

  6   Q   And so while the invoice reflects the costs that were

  7   incurred during a specific calendar month, the project or --

  8   may have taken much longer than just one month?

  9   A   Correct.

 10   Q   And it may be billed in increments over many months?

 11   A   Correct.

 12   Q   In order to put Humpty Dumpty together so that we could

 13   isolate the costs for JTV Hill that you've already spoken of,

 14   the cost for residential structures, did you have to go

 15   through these invoices page by page to do that?

 16   A   I went through every invoice that we issued from August of

 17   2014 until March of 2018; and I had to look at each and every

 18   line and determine, based on looking at the proposal, what

 19   each of these tasks entailed and developed a percentage of

 20   on-site, off-site, was it a residential, what bucket did it go

 21   into; and I totaled them all up on one big, giant spreadsheet.

 22   Q   Somebody had to do it.

 23            So if we look through the rest of this exhibit, would

 24   we see typically the same thing, a monthly -- a calendar

 25   month's worth of work reported for a specific project?
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  1   A   Correct.

  2   Q   And is it possible if multiple projects were ongoing at

  3   once that there would be more than one invoice in a given

  4   month?

  5   A   Yes.     We've had multiple purchase orders for multiple

  6   different aspects of this project running concurrently and the

  7   client could receive three or four invoices.

  8   Q   All related to work in the plume area but for different

  9   pieces of it; is that right?

 10   A   That is correct.

 11   Q   And I noticed that a lot of these invoices are the 15th of

 12   the month.     Why is that?

 13   A   We have an off-cycle billing with Allegion, both to make

 14   it easier for us to produce the invoice as well as for Russ

 15   Eiler to receive the invoice and process it outside a normal

 16   end-of-the-month calendar cycle.

 17   Q   So if the invoice covers a calendar month, do you have a

 18   certain number of days then to send that to them after the end

 19   of the month?

 20   A   Oh, sure.    It has to be to Russ by the 15th if we want to

 21   get paid.

 22   Q   And that's why the 15th shows up on a lot of the invoices?

 23   A   That is correct.

 24   Q   Did you create or review a summary of all these invoices?

 25   A   Yes.
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                                   10818
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  1              MR. GRIGGS:    Let's pull up 107.

  2   BY MR. GRIGGS:

  3   Q   Does that look familiar from a first glance there?

  4   A   Yes.

  5              MR. GRIGGS:    And if we can just see the heading so

  6   he can kind of orient himself.

  7   BY MR. GRIGGS:

  8   Q   Can you see the kind of information that is included in

  9   each of these columns?

 10   A   Yes.

 11   Q   And is this, in fact, a summary of the Geosyntec invoices

 12   that are in Exhibit 1017 that we just looked at?

 13   A   Yes, they are.

 14   Q   And if we go to the bottom, the last page -- I think there

 15   are three pages -- there are some totals.

 16              MR. GRIGGS:    Go down to the very end.

 17   BY MR. GRIGGS:

 18   Q   Can you see that well enough?        In the column that has the

 19   heading "Current Invoice Total" -- I think it's the second

 20   number from the bottom.      There's a pretty big number there.

 21   What does that number represent?

 22   A   That's the -- all -- complete invoice total from the

 23   beginning of the project to the end in March of 2018.           It's

 24   $3,165,960.88.

 25   Q   And that's everything, right, up to that time?
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  1   A      Correct.

  2   Q      And part of the efforts that Geosyntec made related to

  3   what is called "Legal Support Amount," which is the third

  4   column here -- do you see that?

  5   A      Yes.

  6   Q      And that was considered not to be related to the technical

  7   investigation and remediation, and did that get subtracted

  8   out?

  9   A      Yes, it did.

 10   Q      So if you subtract that column out, do you get the number

 11   at the very bottom, 2.477?

 12   A      Yes.

 13   Q      But that still has some things in it that Von Duprin

 14   didn't feel belonged; is that right?

 15   A      Correct.

 16   Q      Some things that were specific to work at the Threaded Rod

 17   site?

 18   A      Correct, to the Von Duprin property.

 19   Q      You talked about the buckets.     Was one of the things you

 20   were asked to do was to identify things that were specific to

 21   site soil investigation, site soil excavation eventually,

 22   those kind of things, and set those aside?

 23   A      Sure.   Everything that we did on the Von Duprin property

 24   was what we considered on site, and we separated that out.

 25   Q      Were there ever any costs that kind of spanned -- that may
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                                   10820
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  1   have been -- sorry -- on the Von Duprin property but were

  2   really related to the plume area investigation?          What did you

  3   do about, like, monitoring wells that happened to be on

  4   Threaded Rod?

  5   A    If they were used in the long-term monitoring network, I

  6   split those costs in half on site and off-site because that

  7   went into the overall report.

  8   Q    So you were making that -- that fine of a distinction

  9   between the costs that you were putting in bucket A or bucket

 10   B?

 11   A    Sure.    If we had a drilling program that was on the

 12   property in streets, right-of-ways, east or west or south,

 13   downgradient, I was able to by percentages, number of borings,

 14   how many were on the property, divide by, get a percent; and I

 15   applied that percentage and separated that into on site and

 16   off site.

 17   Q    You've already mentioned the amount that you found that

 18   was spent at JTV Hill.      You also mentioned the amount that was

 19   spent on the private residences up to this point.           I think

 20   that there was also a bucket for -- oh, you did some bench and

 21   pilot testing leading towards or evaluating potential

 22   groundwater remedies; is that right?

 23   A    Yes, we did.

 24   Q    And is all that work completed?

 25   A    Yes.    It has been completed.
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                                   10821
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  1   Q      Were you able to isolate the amount of money associated

  2   just with the bench and pilot test?

  3   A      Yes.

  4   Q      How much was that?

  5   A      Approximately $365,000.

  6   Q      And -- so there's three buckets.     Let's -- of the 2.477

  7   that covered everything, less legal support, how much did you

  8   find was related to off-site work versus the on-site work?

  9   A      Approximately $1.7 million.

 10   Q      And the difference, whatever that is, $777,000, would be

 11   for the on-site portion?

 12   A      Correct.

 13   Q      And of the 1.7, we've talked about JTV Hill Park.        We've

 14   talked about the pilot test and bench test for groundwater

 15   remedy.       We talked about private residences, and the other

 16   thing is investigation costs.        How much are those, other than

 17   just saying the difference?       Do you remember what the number

 18   was?

 19   A      It'll come to me.

 20                 600,000 --

 21   Q      It's 1.7 minus the other numbers, and you'll get to it?

 22   A      Correct.

 23   Q      Where are we at currently in the cleanup?       You said you

 24   were still doing some work at certain structures for VI.            I

 25   believe that there's been some soil excavation done that is
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  1   not part of the claim in this suit, but it occurred.           Where

  2   are we at in terms of the process?        What comes next?

  3   A      We wrote a Remediation Work Plan for the Von Duprin

  4   property, and that was the soil excavation that you referred

  5   to.     We have completed that work, and we are preparing the

  6   report that summarizes the activities on the property.           The

  7   next aspect is to write the groundwater work plan for the

  8   plume area.

  9   Q      And that will have to be reviewed and approved by IDEM?

 10   A      Correct.

 11   Q      And that will also be subjected to public comment?

 12   A      Public comment and approval.

 13   Q      The specific status related to the residential work that

 14   you said is still ongoing, are there properties that you've

 15   now completed the sampling and you're waiting for systems, or

 16   are all the systems you know that need to be in, are they in?

 17   A      No.   We're still trying to gain access to several homes on

 18   Alvord Street.      There are three homes remaining on Alvord

 19   Street, three -- excuse me -- two on Yandes.          Then we have

 20   access to a home on 17th Street, but it's not completely built

 21   yet.     When that one's complete -- we have access to that.

 22                We're communicating with these homeowners.      When we --

 23   for instance, when we went to 1737 last week, we went and

 24   knocked on the doors again, delivered letters again, tried to

 25   communicate.      We have been able to reach several of them, but
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  1   they haven't signed an access agreement.         So we've contacted

  2   them, but we don't have an agreement to go in and sample their

  3   homes.   That's our next step.

  4   Q   Throughout this project, both in the State Cleanup Program

  5   and the Voluntary Remediation Program, has IDEM provided

  6   oversight for the work you've done?

  7   A   Absolutely.

  8   Q   And did you seek and obtain approval from IDEM for the

  9   different types of work that you did?

 10   A   Sure.   As we discussed earlier, the first work we did was

 11   the vapor intrusion.     That provided us with some information

 12   about the homes.    Then logical questions were:        Where was the

 13   contamination present?      That's when we started the

 14   downgradient investigations.

 15            And every time we had a data package come together

 16   that we had outlined with IDEM, we went and met with them,

 17   "them" being Ryan Groves and his technical team; and we would

 18   have an open discussion about what we had found.          They would

 19   make recommendations to us.

 20            We would go back, meet with our client, prepare a work

 21   plan, submit that back to IDEM, again have discussions,

 22   eventually have that approved, do the work; and we repeated

 23   that multiple times, much to Russ's dismay that we had to keep

 24   going back out, until we had satisfied their overall goal,

 25   which was a delineation of the plume.
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  1   Q     And do you expect that that situation, that relationship

  2   between yourself and Von Duprin and the state agency, will

  3   continue for the remaining work?

  4   A     Absolutely.   That has been our instruction from our

  5   client, to engage IDEM frequently, to communicate with them

  6   openly.

  7              When we were actively working, I would talk with Ryan

  8   weekly, or a team member -- which would be Ryan Groves, excuse

  9   me.   I would speak with Ryan Groves.          When we were doing data

 10   evaluation, we would check in.        He would ask us how we're

 11   doing on the schedule.        He probably has my cell phone blocked

 12   on his cell phone.        Very frequent communication.

 13                MR. GRIGGS:     Thank you.

 14                THE WITNESS:     Thank you.

 15                THE COURT:     Are you ready or do you want to take a

 16   break.

 17                MR. BOWMAN:     I'm ready, and I have more than 15

 18   minutes.

 19                THE COURT:     We can take a break now.     That's fine.

 20   Everybody probably needs a little coffee.           All right.   We'll

 21   take about 15 minutes, and then we will reconvene.

 22                COURTROOM DEPUTY:     All rise.

 23         (A recess was taken.)

 24                THE COURT:     You may be seated.     You may return to

 25   the witness stand.        We're all refreshed after our break.
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  1                   Come on up.   Mr. Bowman, you can do your

  2   cross-examination of the witness.

  3                   MR. BOWMAN:   It has been a long day.

  4                                 CROSS-EXAMINATION

  5   BY MR. BOWMAN:

  6   Q      So I'll say initial question, Mr. Ferree, my

  7   understanding -- Glenn Bowman, Stoll Keenon Ogden for Moran.

  8                 My understanding is you're in supervision, plus

  9   occasionally, you go into the field to take samples?

 10   A      Yes.

 11   Q      Would you agree with me that for a person of -- in your

 12   circumstances, it's much more likely for you to go in the

 13   field and take a sample on a beautiful day like this than if

 14   it's February and 10 degrees?

 15   A      Sure, but if you have to go out in February, you do.

 16   Q      I want to start with Exhibit 1002 and page 128.        This is

 17   the Final Investigation Report that Mr. Griggs was showing

 18   you.     This is an interesting plume map, and I wanted to focus

 19   on it.

 20                 As I understand, this is a representation of the plume

 21   with 19 PPB as the boundary as it appears as of the date of

 22   this representation; is that right?

 23   A      Yes.

 24   Q      Okay.    So it doesn't take historical data.     That's a

 25   representation of today of what the numbers are?
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                                   10826
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  1   A   Then.

  2   Q   At that time.     2017?

  3   A   Right.

  4   Q   So what you've done here, which is very, very helpful --

  5   it shows the properties as well as the older buildings, now

  6   gone; and I want to point some of those out so that it's

  7   clear.

  8              I have pointed right there -- let's move it over.         Let

  9   me clear it.

 10              This is the former Ertel -- main Ertel building,

 11   correct?

 12   A   Yes.

 13   Q   So today, over the southern part of Ertel, there's still

 14   19 PPB in shallow groundwater, right?        This is shallow.

 15   A   Yes.

 16   Q   This is the little blue building.        You see that there?

 17   We've called that building K, the little blue building?            Do

 18   you know what I'm talking about, that little structure?            Do

 19   you know anything about that?

 20   A   I don't know that building, Glenn.         Mr. Bowman, excuse me.

 21                THE COURT:     Are these ones in gray no longer

 22   standing?    Is that what that means?

 23                THE WITNESS:     Yes, they've been demolished.

 24   BY MR. BOWMAN:

 25   Q   Yes, let's go back.        This is a good figure, Your Honor.
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  1   Thank you.

  2              That's the former Ertel building, now demolished; but

  3   Major Tool's on top of part of it?

  4   A   Yes.

  5   Q   But the good representation of it is as we consider Ertel

  6   and Ertel contamination -- and again, this is 19 PPB today;

  7   but right now, 19 PPB is still on the southern property

  8   boundary of Ertel?

  9   A   Yes.

 10   Q   We still have 19 with -- that's the former Zimmer Paper

 11   building, correct?

 12   A   Yes, it is.

 13   Q   Where we've talked about -- there's an underground storage

 14   tank I think there may have been some discussion?

 15   A   May have been, yes.

 16   Q   It's been a blurred two days.        I didn't remember

 17   whether -- you're aware there's a UST there?

 18   A   I believe there was one there.

 19   Q   So that's Zimmer.     Today based on the data you're still

 20   getting, you have 19 PPB even northeast of the Zimmer Paper

 21   parcel, correct?

 22   A   Yes.

 23   Q   And our groundwater flow, which I'll look at -- well, I'll

 24   leave that for -- I've got a map to show you.

 25              This right there is -- this right there -- you see
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  1   that -- that is the northern Moran building, correct?

  2   A   Correct.

  3   Q   So today, the 19 PPB runs through what was the northern

  4   building for Moran?

  5   A   Correct.

  6   Q   Then this -- this is the southern -- this is the southern

  7   Moran building, correct?

  8   A   Yes.

  9   Q   And then, of course, this area here is the former

 10   Von Duprin?

 11   A   Yes.

 12   Q   And I think even this northern area is still Von Duprin,

 13   correct, was a part of the Von Duprin operations, the northern

 14   area there?

 15   A   Yes.

 16               MR. BOWMAN:   Okay.    I'm going to keep Ms. Hill on

 17   her toes.

 18   BY MR. BOWMAN:

 19   Q   As part of the Final Investigation Report, you have what

 20   are called groundwater flow maps, correct?

 21   A   Yes.

 22               MR. BOWMAN:   I'll keep her on her toes.        I need

 23   Exhibit 1120 and page 31.

 24   BY MR. BOWMAN:

 25   Q   Does this look familiar to you?        This is the Geosyntec
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  1   Technical Memorandum Groundwater and Soil Gas Investigation,

  2   June 18th of 2005, correct?

  3   A   I think so.     It came up pretty quickly.

  4                MR. BOWMAN:    Give us the first page.

  5   A   I'm sorry.

  6              Okay.   Thank you.

  7   BY MR. BOWMAN:

  8   Q   So then page 31.        There was earlier testimony regarding

  9   how groundwater flow is determined.        I believe it was another

 10   witness; but it's based upon measuring depth to groundwater

 11   within monitoring wells, correct?

 12   A   Correct.

 13   Q   You just take that data and put it into a system that

 14   shows you groundwater flow based on that data?

 15   A   Yes.

 16   Q   And for this particular report, the groundwater flow shows

 17   that it's from northeast to southwest; but there is at times

 18   and in areas -- in areas just south of Von Duprin -- that's

 19   Von Duprin that goes directly south on that particular

 20   monitoring, correct?

 21   A   At that particular time, yes.

 22   Q   Yeah, okay.

 23   A   Glenn, is this the --

 24                THE WITNESS:     Can I ask him a question?

 25                THE COURT:     No, you're not allowed.    Sorry.
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                                   10830
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  1               MR. BOWMAN:     I know his question.

  2               Go to the first page.

  3   BY MR. BOWMAN:

  4   Q   Was the monitoring done around June 18 of 2015, the

  5   gauging?

  6   A   No.    I was going to ask you a different question, a

  7   clarifying question.

  8               THE COURT:     What do you want to ask him?      I'll let

  9   you know if you can ask.

 10               THE WITNESS:     I didn't know if that was the shallow

 11   portion of the aquifer or the deep portion of the aquifer

 12   because there's different measurements for different events.

 13               THE COURT:     Do you want to clear that up,

 14   Mr. Bowman?

 15               MR. BOWMAN:     Yeah.   Go to the bottom.    Keep going

 16   down.

 17   BY MR. BOWMAN:

 18   Q   That's the deep.

 19   A   Thank you.    Thank you.

 20   Q   I think as part of the Final Investigation Report, we also

 21   had a groundwater flow determined, correct?

 22   A   Yes, correct.

 23               MR. BOWMAN:     So -- sorry, that's back to 1002.       Go

 24   to the first page to help Mr. Ferree.        That's the Final

 25   Investigation Report.       So then we need 117.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 171 of 248 PageID #:
                                   10831
                            FERREE - CROSS/BOWMAN               Vol. 2 - 435


  1   BY MR. BOWMAN:

  2   Q   So this is another what we call the technical term --

  3              MR. BOWMAN:    Scroll to the bottom so that Mr. Ferree

  4   can see it --

  5   BY MR. BOWMAN:

  6   Q   May 2017 potentiometric map for shallow aquifer.           Again,

  7   that is groundwater.     That's another big word for groundwater

  8   flow?

  9   A   Correct.

 10              MR. BOWMAN:    If you will zoom, Ms. Hill, up to the

 11   top right that's over Ertel, monitoring well 203S.

 12   BY MR. BOWMAN:

 13   Q   That's actually on the former Zimmer Paper parcel,

 14   correct?

 15   A   Correct.

 16   Q   And 105S is in the western part of Ertel?

 17   A   Yes.

 18   Q   And I'm not exactly sure -- monitoring well 200S is to the

 19   west of Moran, but the point is right at what we've been

 20   calling the -- I think we call it the 20th Street corridor.

 21   The line between Ertel and Moran, right, it's actually -- on

 22   this day, groundwater flow was directly from Ertel to Moran

 23   subsurface, correct?

 24   A   It appears that way, yes.

 25   Q   Well, that's what the data says.
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                                   10832
                            FERREE - CROSS/BOWMAN               Vol. 2 - 436


  1   A   Yes.

  2   Q   Okay.    Let's stay on -- we're on 1002.       Geosyntec started

  3   determining the full nature and extent of contamination in

  4   2014?

  5   A   Started in July of 2014.

  6   Q   As part of that work, the effort is to get soil samples,

  7   in part, within shallow soils, correct?

  8   A   Correct.

  9   Q   And again, I should have been listening -- I was

 10   listening, but we've talked about vadose zone with other

 11   people.     I don't know if we talked with you about it; but the

 12   vadose zone, V-A-D-O-S-E, is the area above groundwater in

 13   which -- subsurface but above groundwater where if I get a

 14   soil sample, it's likely not under the influence of

 15   groundwater, correct?

 16   A   Correct.

 17   Q   So as you collected your samples, you and your team were

 18   on notice or concerned about am I taking a sample within the

 19   vadose zone, or underneath that there is a -- what's the term

 20   you use?

 21   A   Saturated.

 22   Q   Saturated or smear zone?       What do you like to use?

 23   A   Below the water table would be saturated.          The area

 24   directly above the water table where the water table can

 25   fluctuate seasonally is called the smear zone.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 173 of 248 PageID #:
                                   10833
                            FERREE - CROSS/BOWMAN               Vol. 2 - 437


  1   Q     Smear zone.

  2             So then let's look at page 14 of this report.         You see

  3   the fourth full paragraph, second sentence.         Right here.

  4   "Static water levels" -- this is your report -- "measured at

  5   the property range from approximately 11 to 16 feet" --

  6               MR. BOWMAN:   "BGS" is below ground surface, Your

  7   Honor.

  8   BY MR. BOWMAN:

  9   Q     As you gathered your data and looked at flow maps and all

 10   of that, you're saying, quote-unquote, static water levels are

 11   between 11 to 16 feet, correct?

 12   A     Correct.

 13   Q     What is that telling me regarding what your thoughts are

 14   on the depth of the vadose zone or the smear zone?

 15   A     It could range from anywhere, depending on where you were,

 16   starting 11 feet to 16 feet.

 17   Q     So 11 to 16 feet would be smear zone?

 18   A     It could be.   This is a general.     So at the property,

 19   which at this time we were using the property being the

 20   entirety of the plume, there's a wide range of water levels

 21   across the entirety, as you can see from that map you showed

 22   me.

 23   Q     Well, that was one of the questions that I had.         This

 24   representation you said was 11 to 16 feet below ground surface

 25   for, in your opinion, the entirety of the investigation site,
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 174 of 248 PageID #:
                                   10834
                            FERREE - CROSS/BOWMAN               Vol. 2 - 438


  1   which would include Ertel, Zimmer Paper, Moran and Von Duprin,

  2   correct?

  3   A   And further to the west.

  4   Q   And we have time for this, but we'll go through it

  5   quickly; but I think it will be helpful to get this in.

  6                MR. BOWMAN:   Go to the citations to exhibits for

  7   depth of groundwater.      And for your benefit, I would like to

  8   pull up Exhibit 1112, 1112.

  9   BY MR. BOWMAN:

 10   Q   Thirty-one -- look at it first.        This -- have you seen

 11   this -- I should let you see these reports, shouldn't I,

 12   Mr. Ferree?

 13              This is a Further Site Investigation Report, Heartland

 14   Environmental, June 2011 to Natalie Weir relating to Major

 15   Tool and the former Moran property, correct?

 16   A   Yes.

 17   Q   And while I'm not going to hold you to pulling out data

 18   and saying it's in here, but part of your efforts were to pull

 19   out some of this historical data and make sure that it ended

 20   up in your analysis, right?

 21   A   Correct.

 22   Q   So let's look at page 31 of this PDF.         And turn it to the

 23   right.     And way over on the left -- and we'll zoom into it --

 24   there are monitoring wells 200 to 203D that were on the Moran

 25   property -- and we'll go to a figure later if you want to look
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 175 of 248 PageID #:
                                   10835
                            FERREE - CROSS/BOWMAN               Vol. 2 - 439


  1   at it; but depth to groundwater at Moran was anywhere -- it's

  2   as shallow as 9.9 to as deep as 13.45, right, from that?

  3   A   Yes.

  4   Q   Now, I would argue that that's consistent -- largely

  5   consistent with what you found.       Would you agree?

  6   A   Yes.

  7   Q   There are times within -- seasonally, it can be shallow or

  8   it can be deep; but if we kind of put the smear zone at 10 to

  9   14, 11 to 14, somewhere in there for this site is probably

 10   good size?

 11   A   Probably; but again, that area that I'm talking about, 11

 12   to 16, I don't believe we have 5-foot variation normally

 13   across the site.

 14   Q   I think what's more important to me is the top number,

 15   just like your blood pressure.       I don't know which one we're

 16   supposed to care about.      But 10 feet?    The start might be

 17   10 feet, 11 feet?

 18   A   I would think that's a little high.         I would tend to be

 19   the 15, 16 feet when we were investigating.

 20   Q   Well, we've got water at 9 feet on Moran.

 21   A   In 2011.

 22   Q   Right.     And your own report says 11 feet in the site

 23   property.    Are you moving back from that today?

 24   A   No, but I can see your point.

 25   Q   Well, let's pull up 1107.       This is the Mundell baseline
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                                   10836
                            FERREE - CROSS/BOWMAN               Vol. 2 - 440


  1   report you talked about.      You referenced it.      You're glad you

  2   have it.     Page 19, second full paragraph.

  3              Depth to groundwater for Mr. Mundell is 11.82 to

  4   15.42.     That's what he found, correct?

  5   A   Correct.

  6   Q   Any reason to dispute his data?

  7   A   No.

  8   Q   Let's keep the Mundell report up.

  9              So you have reviewed the Mundell report; and you used

 10   the data in your investigation to determine nature and extent,

 11   correct?

 12   A   Correct.

 13   Q   On page 13 of 57, in the third full paragraph --

 14                MR. BOWMAN:   Scroll up, Ms. Hill.     The third full

 15   paragraph.

 16   BY MR. BOWMAN:

 17   Q   The boring locations --

 18                MR. BOWMAN:   Scroll down, sorry.

 19   BY MR. BOWMAN:

 20   Q   "The boring locations were chosen based on potential for

 21   soil and groundwater impacts based on a review of the

 22   available historical documents which generated selected areas

 23   of potential interest most likely to have impacts based on

 24   historical operations."

 25              Do you see that?
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                                   10837
                            FERREE - CROSS/BOWMAN               Vol. 2 - 441


  1   A   Yes.

  2   Q   Then point 6, he referenced -- Mr. Mundell or the Mundell

  3   individuals reference current and former plating areas.              Do

  4   you see that?

  5   A   Yes.

  6   Q   As part of your investigation, did you attempt to

  7   determine where within the Von Duprin facility painting or

  8   plating may have occurred?

  9   A   We utilized these documents that indicated where those

 10   activities occurred.

 11   Q   And did you take the boring locations that Mr. Mundell had

 12   and match it up and feel comfortable that he had taken some

 13   borings within that area of the former -- I apologize.           I

 14   missed one.     No. 3 is the former parts washer area.        Do you

 15   see No. 3?

 16   A   Yes.

 17   Q   Did you find in the location what you considered to be the

 18   former parts washer area?

 19   A   We tried to verify to the best of our ability that his

 20   borings were in the right -- those parts of the buildings.

 21   Q   And where is or was the former parts washing location

 22   within Von Duprin?     Was it the southern part of the building?

 23   A   I would have to look at a map, Glenn -- excuse me --

 24   Mr. Bowman.

 25   Q   Okay.     Here we go.   So let's look at page 39 of 57.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 178 of 248 PageID #:
                                   10838
                            FERREE - CROSS/BOWMAN               Vol. 2 - 442


  1            We have already discovered, Mr. Ferree, that this is

  2   one of the worst reports that we have available.          I have a

  3   paper copy of this that I printed this morning in color.

  4              MR. BOWMAN:    Can I hand this to him?

  5              THE COURT:    You may.

  6              And he means worse in terms of legibility.

  7              MR. BOWMAN:    What did I say?

  8              THE COURT:    One of the worst reports we've had.         One

  9   of the worst reports we've had.        In legibility only.

 10              MR. BOWMAN:    Thank you, Your Honor.       Keep me on my

 11   toes.

 12   BY MR. BOWMAN:

 13   Q   We can start with this.        There was a soil boring 26, which

 14   if we blow up, you'll see is there if you look to your left.

 15   And I have --

 16              MR. BOWMAN:    Can I approach again?

 17              THE COURT:    Yes.

 18   BY MR. BOWMAN:

 19   Q   I marked it for you.        It's the best I can do.     I'll also

 20   tell you I have this data that you tabulated if we need to get

 21   it; but I believe what we've got is at 2 to 4 feet in the

 22   Von Duprin property at this time, which is 2008, there was PCE

 23   at 13.00 parts per million, correct?

 24   A   Correct.

 25   Q   And there was TCE at 2 to 4 feet on the former Von Duprin
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 179 of 248 PageID #:
                                   10839
                            FERREE - CROSS/BOWMAN               Vol. 2 - 443


  1   of -- it's 14.8, and I'll confirm that.         Does that look like

  2   an 8 to you?    I can confirm it for you.

  3   A   Those seem familiar to me.

  4   Q   Yeah, and that seems familiar.        So 14.8 PPM is actually --

  5   and let's go to the legend at the bottom to confirm.           I

  6   believe it says that "concentrations reported in MG per KG."

  7   Do you see that?

  8   A   Um-hum.    Yes.

  9   Q   So that's parts per million?

 10   A   Parts per million.

 11   Q   And I want to change these into parts per billion because

 12   that's what we tended to use in these reports.          So that's

 13   14,800 parts per billion of TCE and 13,000 parts per billion

 14   of PCE, correct?

 15   A   Correct.

 16              MR. BOWMAN:    Tanesa, can I have the document camera?

 17   I'm going to do the best I can to write this.

 18   BY MR. BOWMAN:

 19   Q   So we have 14,800 PPB of TCE on Von Duprin at 2 to 4 feet.

 20   So this is vadose zone, right?

 21   A   Correct.

 22   Q   Agree with me?

 23            And we have 13,000 PPB of PCE 2 to 4 feet at

 24   Von Duprin sampled in the vadose zone, correct?

 25   A   Correct.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 180 of 248 PageID #:
                                   10840
                            FERREE - CROSS/BOWMAN               Vol. 2 - 444


  1   Q   We also know that this report is dated -- is it 2008?

  2   A   December 29th, 2008.

  3                MR. BOWMAN:   Okay.   Thank you.    We'll go back to the

  4   other system.     Thank you.

  5   BY MR. BOWMAN:

  6   Q   At the time of this sampling, IDEM had a program called

  7   the Risk Integrated Site Closure Program, correct?

  8   A   Correct.

  9   Q   And it was called RISC?

 10   A   Correct.

 11   Q   And within the RISC, they would set industrial and

 12   residential default cleanup levels by media?

 13   A   Correct.

 14   Q   And so these numbers for PCE and TCE and soil are above

 15   the numbers set by IDEM in RISC for industrial default cleanup

 16   levels, correct?

 17   A   Correct.

 18                MR. BOWMAN:   Let's go to Exhibit 1115.

 19   BY MR. BOWMAN:

 20   Q   This is an August Mack report that I know you referenced

 21   in your further -- I won't call it "further" -- your Final

 22   Investigation Report of 2017.       I think you've already talked

 23   about it already, and you've talked about the August Mack

 24   wells.     So do you remember seeing this report?

 25   A   Yes.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 181 of 248 PageID #:
                                   10841
                            FERREE - CROSS/BOWMAN               Vol. 2 - 445


  1   Q   If you look at the second page of the PDF, very early on

  2   in the letter --

  3               MR. BOWMAN:   Just scroll down a little bit,

  4   Ms. Hill.

  5   BY MR. BOWMAN:

  6   Q   -- they say their purpose is to "evaluate soil conditions

  7   within historic and current operational areas to identify

  8   potential on-site sources," correct?

  9   A   Correct.

 10   Q   And they were also evaluating overall groundwater

 11   conditions.    So that was a goal that they had, correct?

 12   A   Correct.

 13   Q   And you understood that from viewing the report?

 14   A   Yes.

 15   Q   So if we'll look at figure 10, which is 28 of 107, August

 16   Mack had a result from boring 203.        You see 203.    You see

 17   where 203 is there?

 18               MR. BOWMAN:   Go down further a little bit.

 19   BY MR. BOWMAN:

 20   Q   Is 203 near where you recall the former parts

 21   washing/painting area to be?

 22   A   That area is -- that area is -- looks like it's closer to

 23   the former plating area.

 24   Q   And was the parts washing just a little bit north of

 25   there, closer to 205?     I have a map from Mundell that I should
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                                   10842
                            FERREE - CROSS/BOWMAN               Vol. 2 - 446


  1   have gone to, if you have that.        I can tell you're looking at

  2   it.

  3                  MR. BOWMAN:   Go back to 1107.   I apologize.    I'm

  4   going to go back to 1107.        Start scrolling up.    Scroll up.

  5   There's a map in there -- there we go.          Zoom in on that.

  6   BY MR. BOWMAN:

  7   Q     Will you look at the screen?      We finally gave you what you

  8   were looking for.

  9                So there was a former painting and plating area.         Then

 10   they have plating and finishing area above that.          Does that

 11   confirm with what you recall were the areas that were

 12   identified?

 13   A     Correct.

 14   Q     And former parts washers at the top right there?

 15   A     Yes.

 16   Q     Thank you.     We'll take that down.

 17                So back to the August Mack report, so we've got -- the

 18   dialogue box or the -- dialogue box -- the data box is off to

 19   the left for soil boring 203.

 20                  MR. BOWMAN:   And if Ms. Hill can zoom into that.

 21   BY MR. BOWMAN:

 22   Q     Do you remember seeing this data?

 23   A     Yes.

 24   Q     Now, in this particular case, they show the soil at 0 to

 25   2 feet in the sampling area under the floor of the former
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 183 of 248 PageID #:
                                   10843
                            FERREE - CROSS/BOWMAN               Vol. 2 - 447


  1   Von Duprin property, correct?

  2   A   Yes.

  3   Q   And in this case, at 0 to 2 feet in 2013, they had PCE at

  4   45.1 PPM, correct?

  5   A   Correct.

  6   Q   That's 45,100 PPB, isn't it?

  7   A   That is correct.

  8   Q   And the TCE was 12.8 PPM, 12,800 PPB, correct?

  9   A   Yes.

 10                MR. BOWMAN:   If I can have the document camera,

 11   please.

 12   BY MR. BOWMAN:

 13   Q   So at PCE we have 45 -- now, we have 45,100 PPB in PCE,

 14   and we have 12,800 PPB in Von Duprin, right?

 15   A   Yes.

 16   Q   Let's finish that column so we can stop annoying the

 17   Court.

 18              When were those soils removed?

 19   A   June of 2019.

 20   Q   Okay.    Thank you.    We'll go back to the --

 21              Now, let's look at Ertel and Zimmer, Exhibit 1130.

 22   This is a Limited Subsurface Investigation Report, northern

 23   portion of the former Ertel.

 24                MR. BOWMAN:   If you'll scroll down, some, please.

 25
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 184 of 248 PageID #:
                                   10844
                            FERREE - CROSS/BOWMAN               Vol. 2 - 448


  1   BY MR. BOWMAN:

  2   Q   It's QEPI from September of 2007.         Do you remember seeing

  3   this?

  4   A   I'm sure I looked at it, yes.

  5   Q   This is part of the abundance I think is the term that's

  6   been used -- abundance of data that we have for these sites?

  7   A       Correct.   Yes.

  8   Q   I would like to look at page 5 of 173, the last paragraph.

  9              As you see there, it says, "Based on the results of

 10   this subsurface investigation and review of previously

 11   collected data, it appears impacted soils represent a

 12   potential source of chemical impacts to groundwater at the

 13   site and surrounding properties.         As a result, excavating

 14   soils throughout the northern and southern portions of Ertel

 15   facility, coupled with excavating a majority of the soil

 16   located within the footprint of the main Zimmer building would

 17   be necessary."

 18              Did I read that relatively successfully?

 19   A   Yes.

 20   Q   Right.    And you're here for data, and I want to be very

 21   clear about that.         But as you were gathering this data and saw

 22   this, your understanding was the soil was taken out to get rid

 23   of source, correct?

 24   A   Yes.

 25   Q   Taking out soils that are impacted takes out source?
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 185 of 248 PageID #:
                                   10845
                            FERREE - CROSS/BOWMAN               Vol. 2 - 449


  1   A   Correct.

  2   Q   That's what was done at Von Duprin.

  3              Okay.   So if we go to page 27 -- page 27 PDF, which is

  4   figure 3, and it's SB274 way at the top.

  5              Now, the Court's already heard this, but it's

  6   important, that this is a boring pre-excavation, correct?

  7   A   Correct.

  8   Q   I think we'll look at some post-excavation samples where

  9   the confirmatory samples actually represent the soils that

 10   remain.    This is one that it's a result from pre-excavation

 11   investigation, correct?

 12   A   Yes.

 13   Q   So SB274, QEPI put a boring in the ground in this area of

 14   Ertel and 2 to 4 feet down.       Now, we're on PPB.     They got

 15   40,000 of PCE tetra at 2 to 4 feet, correct?

 16   A   Correct.

 17   Q   Would you agree with me that 12 to 14 may very well be the

 18   smear zone in that area?

 19   A   I would think so, yes.

 20                MR. BOWMAN:   I'll hold off so I don't have to bother

 21   the Court.

 22                Unfortunately, I need to bother the Court.

 23   BY MR. BOWMAN:

 24   Q   So on Ertel, we have 40,000 PPB in Ertel; and you would

 25   agree with me that that 2 to 4 feet is vadose zone, correct?
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 186 of 248 PageID #:
                                   10846
                            FERREE - CROSS/BOWMAN               Vol. 2 - 450


  1   A   Correct.

  2   Q   And -- thank you -- this is a discovery in 2007, correct?

  3   A   Yes.

  4   Q   Is that your recollection?       It was around 2007 that

  5   additional soil impacts were found at Ertel?

  6   A   Yes, based on that report, yes.

  7   Q   Thank you.     We'll go back to the -- so now we need

  8   Exhibit 1101.

  9              So now we're going to remove the soils.       We remove the

 10   soils.     This is a Soil Remediation Completion Report, Former

 11   Ertel, QEPI -- scroll down -- we've got a date.          May 29 of

 12   2008, correct?

 13   A   Yes.

 14   Q   Do you remember looking at this?

 15   A   Yes.

 16                MR. BOWMAN:   Unfortunately, we need to get into this

 17   a little bit.    We need to look at page 4 of the PDF, the third

 18   paragraph, last sentence.

 19   BY MR. BOWMAN:

 20   Q   The purpose was to remediate impacts previously identified

 21   during the subsurface investigation and remove potential

 22   sources to groundwater impacts.       Do you see that?

 23   A   Yes.

 24   Q   Do you agree that that was what was done?

 25   A   Yes.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 187 of 248 PageID #:
                                   10847
                            FERREE - CROSS/BOWMAN               Vol. 2 - 451


  1   Q   If you then go to page 10 of the PDF and top of the page,

  2   second sentence, what they designed was to remove impacted

  3   soils throughout the nature to a maximum depth of 15 feet

  4   below ground surface.

  5              And then let's go on to the fifth full paragraph.

  6   We've got to read this closely because I'll tell you, we're

  7   figuring out -- I'll just tell you right now.          We're figuring

  8   out where he took his side wall samples.         It's very

  9   unfortunate.    He doesn't say that.

 10              Excavation samples were collected at a rate of one

 11   side wall sample collected at a distance of one-half the depth

 12   of the excavation for every 20 lineal feet of excavation.            And

 13   they took 101 side wall samples and then they took bottom

 14   samples.

 15              So we have them reported that they're going to try to

 16   excavate to 15 feet, right?

 17   A   Yes.

 18   Q   Which you would agree is into the smear zone, groundwater

 19   level?

 20   A   Yes.

 21   Q   And then about halfway down, they took their side wall

 22   samples?

 23   A   That's what it appears, yes.

 24   Q   Have you ever engaged in this activity?         I believe the

 25   QEPI side wall samples were at 7 feet.         Have you ever engaged
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 188 of 248 PageID #:
                                   10848
                            FERREE - CROSS/BOWMAN               Vol. 2 - 452


  1   in this exercise before?

  2   A   Yes, I have.

  3   Q   Did I do it right?

  4   A   Yes, you did.

  5   Q   All right.     And I went to Indiana University.

  6              So let's go to page -- page 28 is our results.        And at

  7   the very top of the figure, we have ESW19; ESW19.           That is a

  8   side wall sample that -- he doesn't say it, but I think it's

  9   about 7 to 8 feet down; and there's still PCE on the former

 10   Ertel at that site at 28,700, correct?

 11   A   Yes.

 12   Q   Okay.    Now, we'll get more of that.

 13              So then let's go to page 31.     And off to the right, we

 14   have side wall samples D, SW18 and 15.         18 way at the top

 15   right, right here.     We've got trichlor, TCE at 5,270, right,

 16   PPB, right there?     Do I need to zoom it more?

 17   A   No, I can see it, at 18.

 18   Q   And 15 was at 4,900.      See that?

 19   A   Yes.

 20   Q   So again, in '07, side wall samples, excavations occurred.

 21   We still have impacts in this area of TCE above industrial

 22   default cleanup levels by significant numbers, correct?

 23   A   Correct.

 24                MR. BOWMAN:   I'll need the camera then.

 25
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  1   BY MR. BOWMAN:

  2   Q   So yeah, this gives us the TCE numbers.         We've got -- we

  3   had -- ESW19 had 28,700 PPB, right?

  4   A   Yes.

  5   Q   So this is 28,700 PPB, and our TCE numbers for Ertel were

  6   5,270 and 4,900.     And these soils are removed in 2007,

  7   correct?

  8   A   I think so.     2008?

  9   Q   Okay.     Let's put '8, and then we'll go back to the soil

 10   report.     Let's go back to that soil report.      1101.    1101.

 11              First page -- well, the side wall samples were

 12   September 2007.     I'll leave it at '8.

 13   A   Sorry about that.

 14   Q   That's all right.

 15              Now, let's look at Zimmer, Exhibit 1100.

 16              This is a Limited Subsurface Investigation, QEPI, from

 17   August 2007 for the former Zimmer Paper parcel.          Do you

 18   remember seeing this?

 19   A   Yes.

 20   Q   Are you aware of the fact that --

 21                MR. BOWMAN:    Well, let's look at page 12.      We're

 22   here.     Let's do this.    Page 12 of the PDF, the bottom.

 23   BY MR. BOWMAN:

 24   Q   Again, QEPI is recommending soil excavation to remove

 25   impacted soils to eliminate a potential source of impacts to
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 190 of 248 PageID #:
                                   10850
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  1   groundwater, right?

  2   A   Correct.

  3   Q   If you go to 42 of the PDF, we have soil boring 115.            It's

  4   near the bottom of the table, 2 to 4 feet.         We'll zoom this as

  5   best as we can.

  6               MR. BOWMAN:   Zoom into 115.

  7   BY MR. BOWMAN:

  8   Q   If you look at this, do you remember seeing at -- an

  9   82,900 PPB for TCE on that property?

 10   A   Yes.

 11   Q   Do you recall that?

 12   A   Yes.

 13   Q   Okay.   It's 12,000 -- if you go over a little bit, it's

 14   12,000 for PCE.    PCE is reported first -- or excuse me.          Yeah,

 15   PCE is reported first, the 12,000.        And then 82,900 TCE;

 16   12,000 PCE, correct?

 17   A   Correct.

 18   Q   At 114 -- soil boring 114, there's actually 66,200 of PPB

 19   for -- in PPB for TCE, correct?

 20   A   Correct.

 21               MR. BOWMAN:   Let's open up Exhibit 1094.

 22   BY MR. BOWMAN:

 23   Q   This is a QEPI underground storage tank report from

 24   December of 2007.     Do you remember seeing that?

 25   A   Yes.
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                                   10851
                            FERREE - CROSS/BOWMAN               Vol. 2 - 455


  1   Q   Do you remember that as part of the removal of the

  2   underground storage tank, they actually removed soils in

  3   addition to that?

  4   A   Apparently, yes.

  5   Q   Apparently, yes.       It's not the greatest report.      They

  6   removed some soils.

  7              So we get these figures on our board then.

  8              So we're on Zimmer.    We actually had 82,900 PPB for

  9   TCE there.     We also had a 66,200 hit, correct?

 10   A   Correct.

 11   Q   And then we had a 14 -- we had a 14,400 of PCE, correct?

 12   A   Yes.

 13   Q   And we have discovery in around 2007?

 14   A   Correct.

 15   Q   And removal in 2007, correct?

 16   A   Correct.

 17                MR. BOWMAN:    All right.   Now, let's look at Moran.

 18   We need 1093, 1093.        This is a Soil Remediation Completion

 19   Report.    If you'll give us the full picture so he can see it.

 20   BY MR. BOWMAN:

 21   Q   At this time, it's Heartland.        QEPI transitioned to

 22   Heartland, correct?

 23   A   I believe so.

 24   Q   It's January of 2012?

 25   A   Yes.
Case 1:16-cv-01942-TWP-DML Document 249 Filed 08/16/19 Page 192 of 248 PageID #:
                                   10852
                            FERREE - CROSS/BOWMAN               Vol. 2 - 456


  1   Q   And do you remember seeing this report and using this

  2   data?

  3   A   Yes.

  4   Q   On page 6 of this PDF, Mr. Vijay -- I'm sorry.

  5                MR. BOWMAN:   We need to go to page 5.      Page 5 of the

  6   PDF, third full paragraph.

  7   BY MR. BOWMAN:

  8   Q   He says subsurface investigations occurred in December of

  9   2010 and May of 2011 that confirmed these impacts and the

 10   need -- and the need for excavation, correct?          He says --

 11   A   Correct.

 12   Q   "Subsurface investigations discovered December 2020 [sic]

 13   and May 2011 resulted in advance" -- oh, I'm sorry.

 14   "Assessment activities conducted by Heartland December 2010 to

 15   May 2011, it was confirmed that" --

 16   A   I see that.

 17   Q   So that's our date of discovery, 2010, agree?

 18   A   Sure.

 19   Q   Well, do you agree?

 20   A   Yes.    I'm sorry.

 21   Q   So let's go to 22 --

 22              Well, before we do that, I believe that Mr. Vijay and

 23   Heartland followed the same sampling protocols on side wall

 24   and bottom in this report, that they're around 7 to 8 feet.

 25   Do you want to see that language?        I have it.
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                                   10853
                            FERREE - CROSS/BOWMAN               Vol. 2 - 457


  1   A     If you have it, I would like to see that, Glenn.         Excuse

  2   me.   Mr. Bowman.

  3   Q     Page 6 of 27.     Six of 27 at the top, he talks about the

  4   bottom samples at 15 feet?

  5   A     Um-hum.     Yes, I see that.

  6   Q     And then 10 of 27 -- page 10 of 27, second full paragraph.

  7   That's that language where he talks about 20 lineal feet

  8   collected halfway down?

  9   A     So the math still works.

 10   Q     We think these are samples 7 to 8 feet in the vadose zone.

 11   They're comparable to what we've brought out so far?

 12   A     Correct.

 13   Q     Let's look at 22 of 27 for our results.       You know there

 14   was an excavation area on Moran?

 15   A     Yes.

 16   Q     And you've looked at that before.      And we have bottom

 17   samples, but we have side wall samples; and what I did looking

 18   on figures 22 and then 26 --

 19                MR. BOWMAN:    Scroll to the next page.     Scroll to the

 20   next page.       Yeah, we've got different numbers, but scroll back

 21   to 22 and zoom in.

 22   BY MR. BOWMAN:

 23   Q     I tried to find the highest side wall sample that I could.

 24   On this page, I see trichlor at 146 over -- the SW side wall

 25   24.
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                                   10854
                            FERREE - CROSS/BOWMAN               Vol. 2 - 458


  1   A   146, yes.

  2   Q   Yes, 146.

  3              That's not PPM.     That's PPB, right?

  4   A   If I could see the legend.

  5   Q   Parts per billion?

  6   A   Thank you.     Yes.

  7   Q   So it's 146 when they excavated at Moran, correct, in PCE,

  8   right?

  9   A   TCE.    That's 146 parts per billion.

 10   Q   In TCE.     There's my chart.

 11                MR. BOWMAN:     Go to page 26.

 12   BY MR. BOWMAN:

 13   Q   I'm trying to find the highest number.          So that's the

 14   actual table.     SW1 -- that's kind of hard to read.        SW1, side

 15   wall 1, if you look at that, I found a PCE number of 16

 16   point -- or tri number of -- tetra of 16.8.         Do you see that?

 17   Do we need to zoom in more?

 18   A   I can see that.

 19   Q   Trying to find the worst number in shallow soil on each

 20   site, I actually found a 23.9 of PCE in 2 to 4 feet.           Let's

 21   get rid of that.    I found 146 side wall.       I found a 23.9 PCE.

 22   The problem with the PCE numbers, they're low enough, he

 23   reports them on a table rather than a figure.

 24              We've got discovery in 2010 and removal in 2011,

 25   correct?
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                                   10855
                            FERREE - CROSS/BOWMAN               Vol. 2 - 459


  1   A   Yes.

  2   Q   Are these numbers consistent with your investigation

  3   results of highest levels of PCE and TCE in vadose zone across

  4   these four sites?

  5   A   Across the four sites, but I'm not sure you wrote down the

  6   highest number for TCE on the Moran property.

  7   Q   In vadose zone?

  8   A   In vadose zone.

  9   Q   What sample are you thinking about that would be 10 feet

 10   or above?

 11   A   There was a side wall sample.        I need to go back to your

 12   one figure.

 13   Q   Okay.     We need -- do you have the figure?       It's soil

 14   removal, 1112 -- no, I'm sorry.       So it's 1093, page 22 -- oh,

 15   we need the -- so we need Exhibit 1093.

 16              So the numbers that are highlighted are bottom

 17   samples, correct?

 18   A   That is correct.

 19   Q   So again, you would agree with me that if you look at the

 20   shallow soil samples in Moran, you're looking at two -- at

 21   least two times order of magnitude higher shallow soil

 22   impacts, whether you're looking at Zimmer or Ertel or

 23   Von Duprin, correct?

 24   A   Comparative, yes.

 25                MR. BOWMAN:   Exhibit 1120.
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                                   10856
                            FERREE - CROSS/BOWMAN               Vol. 2 - 460


  1   BY MR. BOWMAN:

  2   Q   This is your report --

  3               MR. BOWMAN:   Go to the first page, please.

  4   BY MR. BOWMAN:

  5   Q   This is the Geosyntec Technical Memorandum Groundwater and

  6   Soil Gas Investigation Report from June 18, 2015?

  7   A   Yes.

  8   Q   This is your report?

  9   A   Yes.

 10   Q   If you go to figure 6, which is 27, I believe you talked

 11   about this.     This is profiling of the water column, correct?

 12   A   Correct.

 13   Q   Okay.     So HPTO6 is right at the southern boundary of the

 14   former Von Duprin property; correct?

 15   A   Correct.

 16   Q   And at 17 feet -- this is in 2017 -- or 2015, correct?

 17   A   Yes.

 18   Q   2015.     There is TCE 17 feet below ground there at 5,450

 19   parts per billion?

 20   A   Yes.

 21   Q   There is still PCE at 2,340 at 22 feet down, correct?

 22   A   Correct.

 23   Q   If you scroll up then, I would note that if you look at

 24   HPT08 at 16 feet, there's nondetect for PCE and TCE.           Would

 25   you agree that that was your result?
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  1   A   Yes.

  2   Q   That's direct.     So now I'm going to get through cross, and

  3   I'm going to get done.

  4              We need some clarification on damages.       Residential VI

  5   is $465,000 from your calculation?

  6   A   Yes.

  7   Q   Off-site investigation is a total of 1.7 million?

  8   A   Yes.

  9   Q   That includes bench and pilot tests of 365,000?

 10   A   Correct.

 11   Q   120,000 for VI for JTV Hill?

 12   A   Correct.

 13   Q   And then other off-site was 1,315,000?

 14   A   No, those were lumped together.        770 was the off-site --

 15   I'm sorry -- excuse me.      750 -- $750,000.     And then

 16   residential was 465,000 for residential VI.

 17   Q   And then JTV Hill at 120?

 18   A   120,000, yes.

 19   Q   Well, I don't do great math because I did go to IU, but I

 20   get about 1.2, 1.3 for that.       When I add 750 -- it's not 1.7.

 21              Anyway, those are your numbers.      750, 465 and 120?

 22   A   But --

 23                MR. GRIGGS:   Objection, Your Honor.      He specifically

 24   mentioned a moment ago the 365, and then he left it out of the

 25   computation.
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                                   10858
                            FERREE - CROSS/BOWMAN               Vol. 2 - 462


  1                THE COURT:   Could you check your computation?

  2   BY MR. BOWMAN:

  3   Q   Bench test of 365 -- or 120; and then you're saying of the

  4   1.3 million, that is actually broken into --

  5   A   Off-site, 770.

  6   Q   I see.    Okay.   Now, I do understand.

  7              In your work as an environmental consultant in the

  8   state of Indiana, you do acknowledge that reports relating to

  9   the Von Duprin site as well as any of these sites that are

 10   filed with IDEM are available -- the reports and the data are

 11   available through IDEM's Virtual File Cabinet, correct?

 12   A   Yes.

 13   Q   Including the Mundell and August Mack report, correct?

 14   A   Yes.

 15   Q   Did Von Duprin write down any invoice that was submitted

 16   by Geosyntec to Von Duprin?

 17   A   Excuse me?

 18   Q   Did they write it down?       That's a bad term.

 19              Did they dispute any invoice that was submitted to

 20   Von Duprin?

 21   A   Not that I'm aware of.

 22   Q   You talked about the benefit of the Mundell and August

 23   Mack wells, but I just want to be clear.         You have no idea

 24   what was charged for installation of those wells, correct?

 25   A   Yes.
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                                   10859
                           FERREE - CROSS/KRAHULIK              Vol. 2 - 463


  1   Q   I noticed in some of the invoices your rate -- your

  2   individual rate for -- that you charged Von Duprin is $213 an

  3   hour?

  4   A   Yes.

  5   Q   Is that your current rate?

  6   A   No.

  7   Q   What's your current rate?

  8   A   I believe it's 218.

  9   Q   And what are you charging to be here today?

 10   A   While I'm sitting here, it's double that rate.

 11   Q   Double.    So 450 because I'm so mean.         It's 450 per hour

 12   for today?

 13   A   Thank you.

 14   Q   Is it?

 15   A   436.

 16                MR. BOWMAN:     Thank you very much.     Appreciate your

 17   time.

 18                THE WITNESS:     Thank you.

 19                THE COURT:     All right.     Ms. Krahulik.

 20                               CROSS-EXAMINATION

 21   BY MS. KRAHULIK:

 22   Q   You're really going to like me because I'm going to be

 23   very brief.

 24                MS. KRAHULIK:     Can you pull back up Exhibit 1002 and

 25   in particular, that page that had the contour lines?           I didn't
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                           FERREE - CROSS/KRAHULIK              Vol. 2 - 464


  1   write down the page number, sorry.

  2              THE COURT:    Does someone remember the page number?

  3              MS. KRAHULIK:     Try 128, please.

  4   BY MS. KRAHULIK:

  5   Q   Mr. Ferree, we were talking earlier about this figure that

  6   represents the, quote-unquote, plume area, right?

  7   A   Correct.

  8   Q   It's not a representation of groundwater impacts.           Rather,

  9   it is a representation of the line of risk for vapor intrusion

 10   to structures, right?

 11   A   From groundwater.

 12   Q   From groundwater.      So it's actually depicting the area

 13   that it's believed soil gas impacts would be detected?

 14   A   Correct.

 15   Q   You also talked a little bit earlier about how this was

 16   created.   You talked about a program called Surfer that you

 17   use; and of course, Surfer and it's -- the lines that it draws

 18   here are dependent on the input.       So it's intuitive, but it

 19   depends on the quality of the data that's inserted?

 20   A   The amount of data, yes.

 21   Q   We also talked about the vapor intrusion testing

 22   mitigation and other activities that Geosyntec has performed

 23   on behalf of Von Duprin at JTV Hill and at the residences,

 24   right?

 25   A   Yes.
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                                   10861
                           FERREE - REDIRECT/GRIGGS             Vol. 2 - 465


  1   Q   You mentioned there was no cost to the homeowners to do

  2   that and that Von Duprin funded that work, correct?

  3   A   Correct.

  4   Q   And you know that Major Tool and Machine has agreed to

  5   fund some of that work as well recently?

  6   A   Yes.

  7   Q   Von Duprin didn't agree to fund that work just out of

  8   charity or goodness.       It's because it was required to do so

  9   under an agreement with IDEM, right?

 10   A   Yes.

 11                MS. KRAHULIK:    That's all I have.         Thank you.

 12                THE COURT:    That was brief.

 13                Do you have any redirect or recross on the direct?

 14                MR. GRIGGS:     I think I can be even briefer than

 15   Ms. Krahulik.

 16                Exhibit 1093, please.        And page 22.

 17                THE COURT:    Mr. Griggs, go get your microphone.

 18   Thank you.

 19                MR. GRIGGS:     Are we still on the document viewer?

 20                              REDIRECT EXAMINATION

 21   BY MR. GRIGGS:

 22   Q   Mr. Ferree, my question here is related to the data

 23   reflected on this figure.

 24                THE COURT:    What number is that, counsel?

 25                MR. GRIGGS:     Figure 5B.
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                                   10862
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  1               THE COURT:    On Exhibit 1093?

  2               MR. GRIGGS:    On 1093, correct.

  3   BY MR. GRIGGS:

  4   Q   And there are results for BOT2, BOT4 and BOT6; and those

  5   are what are in this part considered bottom samples, correct?

  6   A   Correct.

  7   Q   And the depth at which those samples were taken is

  8   indicated in the text of the report as 14 or 15 feet?

  9   A   Correct.

 10   Q   Are these soil samples or are these water samples?

 11   A   Those are soil samples.

 12   Q   Is there any indication that you remember in this report

 13   of those samples being saturated?

 14   A   There was no discussion of that in the report.

 15   Q   Would there have been discussion if these samples had been

 16   taken out of a saturated soil condition?

 17               MR. BOWMAN:    Objection.    Calls for speculation.

 18   BY MR. GRIGGS:

 19   Q   In your experience.

 20               THE COURT:    Okay.   You were going to rephrase it.

 21   Go ahead.

 22   BY MR. GRIGGS:

 23   Q   In your experience, if you encounter saturated conditions,

 24   do you include that in the report?

 25   A   Yes.    If I had excavated this and encountered the water
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                                   10863
                           FERREE - RECROSS/BOWMAN              Vol. 2 - 467


  1   table, I would have indicated somewhere on the figure that

  2   surface of the groundwater had been exposed; and I would not

  3   have collected a soil sample from that area.

  4               MR. GRIGGS:     Thank you.

  5               THE COURT:     Mr. Bowman, do you have any questions on

  6   those?

  7               MR. BOWMAN:     Yes, if we can go to that same report.

  8   page 6 of the PDF.       Very top.

  9                             RECROSS-EXAMINATION

 10   BY MR. BOWMAN:

 11   Q   It says, "Furthermore, soil bottom confirmation samples

 12   were collected from a depth of 15 feet below ground surface

 13   located at the groundwater saturated zone," correct?

 14   A   That's what it says.

 15   Q   So that's what happened here.         The bottom samples are in

 16   the saturated zone.       That's what it says?

 17   A   That's what it says.

 18               MR. BOWMAN:     Thank you.

 19               THE COURT:     Ms. Krahulik, do you have any questions

 20   on those?

 21               MS. KRAHULIK:     I do not.    Thank you.

 22               THE COURT:     Thank you very much.    You may be

 23   excused.

 24               THE WITNESS:    Thank you, ma'am.

 25       (Witness excused.)
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  1              THE COURT:     Mr. Griggs, can you call another

  2   witness?

  3              MS. FRENCH:     Yes, Your Honor.     Von Duprin calls Ryan

  4   Fimmen.

  5              Mr. Fimmen, if you would come right up here.           You're

  6   Dr. Fimmen, right?

  7              THE WITNESS:     Ryan's fine.

  8              THE COURT:     I see a Ph.D. on there.

  9       (Witness sworn.)
 10              THE COURT:     You may have a seat.

 11              MS. FRENCH:     Good afternoon.

 12                RYAN FIMMEN, PLAINTIFF'S WITNESS, SWORN

 13                             DIRECT EXAMINATION

 14   BY MS. FRENCH:

 15   Q   Please state your full name for the record.

 16   A   Ryan Lee Fimmen.

 17   Q   Who is your current employer?

 18   A   Geosyntec Consultants.

 19   Q   What's your current position or title with Geosyntec?

 20   A   I'm principal scientist and department manager.

 21   Q   What job responsibilities do you have in those roles?

 22   A   I help conduct site investigation work, feasibility

 23   studies, remedial investigations --

 24              COURT REPORTER:     Excuse me.     Please slow down.

 25              THE WITNESS:     Feasibility studies, investigations
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                                   10865
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  1   into remedial technologies for the remediation of contaminated

  2   soils and groundwater, implementing bench scale and field

  3   scale studies for the implementation and evaluation of those

  4   technologies.

  5   BY MS. FRENCH:

  6   Q   What professional licenses do you hold?

  7   A   In the state of Ohio, I'm a certified professional, which

  8   allows me to conduct voluntary remediation programs through

  9   their voluntary program, which requires a license in the state

 10   of Ohio.

 11   Q   Does that require a license in the state of Indiana?

 12   A   No, it does not.

 13   Q   How long have you been working in the environmental

 14   consulting field?

 15   A   I've been consulting for a little over eleven years now.

 16   Before that, I was a post-doctoral research fellow at The Ohio

 17   State University.

 18   Q   What's your educational background?

 19   A   I have a bachelor in arts from Carleton College in

 20   chemistry.   I have a master of science in chemistry from the

 21   University of Wisconsin Madison, and I have a Ph.D. in

 22   geochemistry from Duke University.

 23   Q   I'm going to remind you again for the benefit of the court

 24   reporter to make sure you slow down just a tick.

 25   A   Thank you very much.
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  1   Q   Are you familiar with the plume area in which the

  2   Von Duprin property is situated?

  3   A   I am.

  4               MS. FRENCH:   Could we pull up Exhibit 1001, please.

  5   BY MS. FRENCH:

  6   Q   Have you been involved in environmental consulting work in

  7   that plume area that's displayed on Exhibit 1001?

  8   A   Yes, I have.

  9   Q   And what work have you been involved in?

 10   A   Several phases and aspects of the work broadly

 11   encompassing vapor intrusion screening and solution of

 12   mitigation systems where appropriate, and investigation

 13   delineation of soil and groundwater impacts.

 14   Q   Have you engaged in investigative work at all of the

 15   properties which are highlighted on 1001?

 16   A   Yes, I have.

 17   Q   How long have you been working at this particular site?

 18   A   We began our work in late July of 2014.

 19   Q   And does this particular site consume a lot of your time?

 20   A   It has, yes.

 21   Q   What are the contaminants of concern at the plume area?

 22   A   The contaminants of concern in the plume area fall into

 23   the category of chlorinated volatile organics or CVOCs and

 24   specifically, perchloroethylene or PCE; trichloroethylene,

 25   TCE; cis-1,2-dichloroethylene or cis-DCE and vinyl chloride.
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  1   Q   What documentation have you prepared concerning the work

  2   you performed in the plume area?

  3   A   We've prepared technical reports and submitted them to

  4   IDEM, describing each phase and progression of the

  5   investigative work that we've done.

  6   Q   How often did you submit these technical reports to IDEM?

  7   A   Fairly regularly.     We submitted technical reports at the

  8   conclusion of each investigative round of work, either the

  9   vapor intrusion work, the groundwater or soil investigative

 10   work; and through that process, we're also submitting more

 11   informal e-mail updates specifically about the vapor intrusion

 12   work.

 13   Q   What were some of the key reports from your perspective

 14   that were submitted to IDEM?

 15   A   The first scope of work was to do the residential vapor

 16   intrusion screening and installation of systems along Yandes

 17   that began late -- like I said, late July of 2014.           We

 18   submitted a summary report in November of 2014 describing that

 19   work and describing the community outreach efforts that we

 20   made and the installation of four vapor intrusion mitigation

 21   systems.

 22              Following that, in I think it was January of 2015 or

 23   February of 2015, we submitted a preferential pathways

 24   investigation; and then in October of 2015, November of 2015,

 25   we submitted a report describing the results of the upgradient
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  1   investigation as well as interim measures for vapor intrusion

  2   mitigation that we conducted at the former Von Duprin

  3   property.

  4              Then in 2016, we submitted an additional downgradient

  5   delineation report that covered a vapor intrusion assessment

  6   downgradient of the former Von Duprin property.

  7                MS. FRENCH:    Just for the benefit of the Court, so

  8   it's a little bit easier to identify some of these reports in

  9   our voluminous joint exhibits, Dave, could you bring up

 10   Exhibit 1077, please.

 11   BY MS. FRENCH:

 12   Q   I believe you mentioned the preferential pathway work may

 13   have been done in January.       It looks like this is a work plan,

 14   Exhibit 1077, from February 2015.        Is that timing consistent

 15   with your recollection?

 16                THE COURT:    Can you make it bigger for him?

 17   A   Yes.    The work plan for that was submitted in February of

 18   2015.   That's correct.

 19                MS. FRENCH:    We'll pull up Exhibit 1120.      Dave,

 20   could you enlarge the memo block there?         Thank you.

 21   BY MS. FRENCH:

 22   Q   Is this technical memorandum, Exhibit 1120, the report

 23   regarding the preferential pathways investigation that

 24   Geosyntec performed?

 25   A   Yes, that's correct.
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  1   Q   Could you briefly kind of explain what work went into that

  2   particular piece of the work?

  3   A   Yes, absolutely.

  4            So on the heels of our initial round of vapor

  5   intrusion investigation at not just the residences along

  6   Yandes but also the former Von Duprin property, IDEM raised

  7   the question --

  8              COURT REPORTER:     I'm sorry.    Could you please slow

  9   down?

 10              THE WITNESS:     I apologize.

 11              Following the vapor intrusion investigation work

 12   along Yandes, as well as on the property -- the former

 13   Von Duprin property, IDEM suggested that the subsurface

 14   utility corridors could be behaving as preferential pathways,

 15   essentially facilitating the upward migration of vapors

 16   through the subsurface and into anterior spaces where they

 17   could represent an inhalation hazard.        We undertook this

 18   investigation to see if the subsurface utility corridors were

 19   indeed facilitating vapor transport.

 20   BY MS. FRENCH:

 21   Q   And did you find that they were?

 22   A   No, they were not.

 23              MS. FRENCH:    Next we'll go to Exhibit 1073.

 24   BY MS. FRENCH:

 25   Q   I believe this is the Upgradient Delineation Investigation
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                                   10870
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  1   Report from the fall of 2015.       Could you briefly explain the

  2   upgradient delineation work in which you were personally

  3   involved?

  4   A   Yes.    We undertook an effort to investigate the presence

  5   or absence of CVOCs in the parcels upgradient or to the east

  6   of Dr. AJ Brown.

  7   Q   And what were the key findings from that investigation?

  8   A   We identified the presence of chlorinated volatile organic

  9   compounds in the soils and groundwater and the parcels

 10   upgradient of the former Von Duprin property.

 11               MS. FRENCH:   Next we'll go to Exhibit 1207.

 12   BY MS. FRENCH:

 13   Q   This is dated November 2015, I believe; and it is an

 14   interim vapor intrusion measures report.         Could you briefly

 15   explain the work that was associated with this particular

 16   report to IDEM?

 17   A   Yes.    We evaluated -- I mean we screened for vapor

 18   intrusion pathway completeness at the former Von Duprin

 19   property in a winter and heating season, sampling events; and

 20   we identified one location where the concentration of TCE was

 21   above the commercial industrial standard; and we also

 22   identified there were potential weaknesses when the slab that

 23   couldn't protect the interior spaces from upward migration of

 24   vapors.

 25              Our interim measures were an effort to seal cracks in
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  1   the floor and eliminate other weaknesses in the slab that can

  2   represent preferential pathways into the interior space of the

  3   building, and this report documents those efforts.

  4                MS. FRENCH:   Exhibit 1009.

  5   BY MS. FRENCH:

  6   Q   This, I think, is a second report on interim measures

  7   taken at the Von Duprin property; but could you briefly

  8   explain the investigative work that was a part of this?

  9   A   Yes, building on the first round of interim measures,

 10   implementation where we identified what could have been

 11   additional let's just say features in the slab that were

 12   present that wouldn't prevent the vapors from migrating from

 13   beneath the slab into the interior structures, such as

 14   improperly sealed monitoring well casings and floating blocks

 15   for vibration dampeners for pieces of machinery that were no

 16   longer present, but clearly had at one point in time been

 17   there.

 18   Q   I think I skipped over some work that was happening in the

 19   same time as you were doing those interim vapor intrusion

 20   measures.    Exhibit 1024.

 21   A   Okay.

 22   Q   I believe these are sampling results you may have

 23   referenced related to JTV Hill.       Could you briefly explain

 24   that work?

 25   A   Yes.     In between the former Von Duprin property and the
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  1   affected residences on Yandes is JTV Hill Park, and within JTV

  2   Hill Park is a recreational facility.        Being -- overlying part

  3   of the commingled plume, we decided that it would be prudent

  4   to evaluate the completeness of the vapor intrusion pathway

  5   within the structure as well.       I believe this letter to

  6   Ms. Elaine Dillahunt, the interim director of Indy Parks,

  7   documents our efforts at evaluating that pathway completeness.

  8              MS. FRENCH:    Exhibit 1074.

  9   BY MR. BOWMAN:

 10   Q   I think this is as far as you had gotten in your answer,

 11   but this is the additional downgradient investigation report.

 12   Could you explain what areas you were investigating and what

 13   went into this report?

 14   A   Absolutely.    This work was predicated upon our

 15   residential -- our efforts to screen residences along Yandes

 16   downgradient of the former Von Duprin property for the

 17   completeness of the vapor intrusion pathway.

 18            Unfortunately, we weren't able to get access to all of

 19   the homes in what we identified as the potential affected area

 20   in order to evaluate if there might be vapor intrusion.

 21            Since we couldn't get access to the indoor spaces, we

 22   conducted a groundwater study in the most shallow part of the

 23   groundwater as well as soil gas probes downgradient of the

 24   former Von Duprin property and along these residences on the

 25   public right-of-ways where we could get access.
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  1              So essentially, this was a delineation of the nature

  2   and extent of shallow groundwater impacts and soil vapor

  3   downgradient of the former Von Duprin property.

  4   Q   Was there an additional addendum associated with this

  5   report, which is represented in Exhibit 1121?

  6   A   Yes, that's correct.

  7   Q   And these homes that you're referencing in Exhibit 1074

  8   and 1121 are in addition to homes that you worked on when you

  9   first arrived at the Von Duprin site in 2014, correct?

 10   A   That's correct.

 11                MS. FRENCH:   We'll show Exhibit 1026.

 12   BY MS. FRENCH:

 13   Q   I believe we've covered the JTV Hill work in some detail

 14   today, so could you just briefly explain your personal

 15   involvement in the installation of a subslab depressurization

 16   system as reported in Exhibit 1026?

 17   A   Yes.    In my role as project manager, I oversaw the design

 18   and implementation and subsequent sampling -- confirmatory

 19   sampling for the subslab depressurization system, which

 20   represents an engineered control on the vapor intrusion

 21   pathway at the recreational center.

 22   Q   Are you familiar with Von Duprin's Final Investigation

 23   Report?

 24   A   Yes, I am.

 25   Q   And what was your involvement in the preparation of that
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                                   10874
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  1   report?

  2   A   As the project manager, I was the primary author of that

  3   report.

  4                MS. FRENCH:   Mr. Bartholomew, if you could bring up

  5   Exhibit 1002.

  6   BY MS. FRENCH:

  7   Q   Is this exhibit a copy of the Final Investigation Report,

  8   exclusive of figures and tables?

  9   A   Yes.

 10   Q   When did you prepare the Final Investigation Report?

 11   A   We began preparation of the Final Investigation Report

 12   shortly after the VRA -- the Voluntary Remediation Agreement

 13   was signed, which I believe was approximately December of

 14   2016; and we submitted the final version, which appears here

 15   in this exhibit, July of 2017.

 16   Q   And how is the timing of the Voluntary Remediation

 17   Agreement relevant to the creation of the Final Investigation

 18   Report?

 19   A   The Final Investigation Report is required as part of

 20   scope B under Section A of the Voluntary Remediation

 21   Agreement.

 22                MS. FRENCH:   Could we show Exhibit 1012 at page 12.

 23   And if you could enlarge task B.

 24   BY MS. FRENCH:

 25   Q   Is this the Final Investigation Report requirement you
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                                   10875
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  1   just referenced?

  2   A   Yes, that's correct.

  3   Q   Did Von Duprin submit the Final Investigation Report to

  4   IDEM pursuant to its Voluntary Remediation Agreement?

  5   A   Yes.

  6   Q   And what information generally is reported in

  7   Exhibit 1002, the Final Investigation Report?

  8   A   The nature and extent of impacts to affected media, in

  9   this case, soil, groundwater, soil gas, and the vapor

 10   intrusion screening assessments.

 11   Q   What data is included in that Final Investigation Report?

 12   A   The data of the concentration of CVOCs in soil, CVOCs in

 13   groundwater, CVOCs in soil gas, CVOCs in residential spaces,

 14   including subslab samples from beneath basements -- inside

 15   basements, homes.

 16   Q   When you say CVOCs, we use that interchangeably with

 17   chlorinated solvents, correct?

 18   A   That's correct.

 19   Q   When you discuss the different types of data just now that

 20   are included in the Final Investigation Report, are the types

 21   of data only Geosyntec's data or are you using additional data

 22   to compile the report?

 23   A   Additional data.

 24   Q   What particular sections of the Final Investigation Report

 25   were you most involved in?
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                                   10876
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  1   A   Sections 4 through 7.

  2   Q   What's reported in Section 4 of the Final Investigation

  3   Report?   We'll bring up Exhibit 1002, page 23.

  4   A   Section 4 describes the approach that we took, the

  5   methods, essentially, for how we obtained the data.

  6   Q   And what did your investigation activities as reported in

  7   Section 4 reveal, in broad terms?

  8   A   What's revealed in Section 4 is the approaches that we

  9   took for obtaining the data, the approaches that we used for

 10   obtaining soil samples, groundwater samples, soil gas samples,

 11   et cetera.

 12   Q   Does Section 4 also report concentrations of chlorinated

 13   solvents in certain media?

 14   A   I don't believe so.

 15                MS. FRENCH:    We'll advance to the next page of

 16   Section 4.     Next page.

 17   BY MS. FRENCH:

 18   Q   Are your results reported in Section 5 of the report?

 19   A   Yes, that's correct.

 20   Q   We'll go to Section 5.

 21             And what specific information do you report in

 22   Section 5?

 23   A   The data that were collected from the activities that are

 24   described in Section 4.

 25   Q   And are there sort of categories of that data or is it
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                                   10877
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  1   just a dump of lots of data?

  2   A   No.    We try to organize it to facilitate review and

  3   understanding of the work that we did.

  4   Q   Could you describe what those categories are?

  5   A   Yes.     So we organize it first by affected media.        So the

  6   soil, I believe, is what we describe first; and once we

  7   describe the data that were collected for the soil, then we

  8   describe the groundwater; and then after the groundwater, we

  9   describe the vapor intrusion data.

 10   Q   And is the soil and what the site looks like in terms of

 11   media something you always investigate as part of this type of

 12   report?

 13   A   Generally speaking, yes.

 14   Q   What geological data in the plume area was important to

 15   report to IDEM in this Final Investigation Report?

 16   A   The geologic data had a lot to do with the soil type,

 17   texture.     The depth to water is a very important one, just the

 18   fundamental geologic features such as that.

 19   Q   What is the depth to groundwater in the plume area,

 20   generally?

 21   A   Generally, 10 to 14 feet below ground surface.

 22   Q   Is there a particular direction of the flow that you see

 23   in the data?

 24   A   Yes.     Groundwater flow in this area flows from the

 25   northeast to the southwest.
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                                   10878
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  1   Q   What concentrations of chlorinated solvents did you report

  2   in Section 5 of the Final Investigation Report?

  3   A   We reported concentrations in the affected media;

  4   specifically, the soils and the groundwater and the vapor

  5   intrusion data.

  6   Q   And is that data reported in figure 22 of the Final

  7   Investigation Report?

  8                MS. FRENCH:   We'll go to 1002, 137.

  9   BY MS. FRENCH:

 10   Q   Is that the figure in the report which reports the

 11   upgradient data related to chlorinated solvent concentrations

 12   in groundwater?

 13   A   Groundwater, yes.

 14   Q   How did these concentrations relate to the IDEM screening

 15   levels for TCE?

 16   A   They exceed, I believe, all IDEM screening levels.

 17   Q   Did Geosyntec undertake any further investigations

 18   following the Final Investigation Report?

 19   A   Yes, we have.

 20   Q   And what are those investigations?

 21   A   We continued our investigations with respect to

 22   residential vapor intrusion.       They continue today.      They're

 23   ongoing.

 24              Furthermore, we conducted a soil -- soil vapor as well

 25   as groundwater investigation along Alvord in early 2018.
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  1   Q   You've mentioned sort of interchangeably vapor intrusion

  2   and soil gas investigation.       How did those two data points

  3   relate to one another in your work?

  4   A   That's a great question.       In order to understand if vapor

  5   intrusion is a complete pathway, we take a look at the

  6   affected media, the source of the vapor intrusion, which is

  7   the shallow groundwater and the concentration of the soil

  8   vapor above the groundwater, which is in the soil gas.

  9              And then the next step is then the -- the vapors

 10   entering into breathing spaces, whether it be basements or

 11   crawl spaces or homes.      And so soil gas is just one link in

 12   the chain that forms the vapor intrusion pathway.

 13   Q   And is that investigation of the links in the chain

 14   something that's reported in the Final Investigation Report?

 15   A   Yes.

 16   Q   Is that done through a conceptual site model?

 17   A   Yes, that's correct.

 18   Q   What is a conceptual site model or CSM?

 19   A   A conceptual site model is a description of the

 20   characteristics of a site that inform the audience of the

 21   document the presence of impacted media -- that would be soil

 22   or groundwater -- the nature and extent of that impact, and

 23   potential transport pathways by which sensitive receptors

 24   could come in contact with that impacted media.

 25              Broadly speaking, sensitive receptors can be
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  1   ecological or human.       In this case, we're talking about human

  2   receptors.

  3   Q   Does IDEM define what goes into a conceptual site model?

  4   A   Yes, they do.

  5   Q   Is the conceptual site model required as a component of

  6   the Voluntary Remediation Agreement?

  7   A   Yes, it is.

  8   Q   Has IDEM approved Geosyntec's conceptual site model that

  9   was developed in the Final Investigation Report?

 10   A   Yes, they have.

 11   Q   What work did you do to prepare the conceptual site model

 12   for the plume area at the site?

 13   A   We synthesized the data that are described in the various

 14   reports we have seen here today into a depiction of the

 15   overall site that encompasses the upgradient properties, the

 16   former Von Duprin properties, and the downgradient area of the

 17   global groundwater plume.

 18   Q   And what's the goal of that depiction?

 19   A   To understand the complete pathways where exposure is

 20   likely.

 21                MS. FRENCH:   Could we show Exhibit 1002, page 137.

 22                Actually, sorry.    Could you go to 172?     My

 23   apologies.

 24   BY MS. FRENCH:

 25   Q   Is this figure shown on Exhibit 1002, page 172, a
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                                   10881
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  1   component of the conceptual site model you prepared for this

  2   site?

  3   A   Yes, it is.

  4   Q   And what particular component is depicted here?

  5   A   This appears to be -- yes, please enlarge it for me.            This

  6   is a downgradient portion of the downgradient leading edge of

  7   the plume.

  8   Q   And for the Court's benefit, what do you mean by that?

  9   A   I'll start from the top.       You can see some features at the

 10   top that indicate a geographical context.         For example, we see

 11   the presence of College Avenue, O'Bannon Soccer Park bounded

 12   by College Avenue and East 18th Street.         So this gives a

 13   reference point to understand where geographically this is

 14   located.

 15              Then beneath that, you see an area that's called

 16   "unsaturated silty sands and gravel."        This is the soils that

 17   lie beneath the ground surface but above the groundwater, so

 18   therefore, unsaturated.

 19              You see a blue triangle -- inverted blue triangle

 20   sitting atop a light blue line.       That indicates the water

 21   table.     So below that, it's saturated media.       That's the

 22   aquifer.     The area that's depicted here in light blue is

 23   unimpacted groundwater.      On the right side where you see a

 24   reddish hue on the right side there, that's an area of shallow

 25   groundwater impacts.
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  1   Q   And those shallow groundwater impacts appear to be coming

  2   on from the right-hand side of the page.

  3                MS. FRENCH:   Could we go to page 171?

  4   BY MS. FRENCH:

  5   Q   Is this an additional component of the conceptual site

  6   model you provided in the Final Investigation Report?

  7   A   Yes, it is.

  8   Q   Could you describe what's going on in this particular

  9   portion of the model?

 10   A   Absolutely.     Similarly -- I'll start at the beginning --

 11   at the top of the figure to give us a geographical reference

 12   point.

 13              Most significantly, I think, to help us understand

 14   this today is the Yandes Street right-of-way; and adjacent to

 15   it on the right side is JTV Hill Park building with the SSDS

 16   systems.

 17              The same site features exist where we have unsaturated

 18   soils that sit above a water table.        In this case, the

 19   groundwater that lies beneath the area that we see here at

 20   present, JTV Hill, Yandes, is impacted with chlorinated

 21   solvents.    That's depicted in the reddish color.

 22              Another feature of this figure is the reddish arrows

 23   going vertically from the groundwater table up through the

 24   unsaturated soils and into basements, crawl spaces, et cetera.

 25   Those arrows are meant to indicate the presence of vapor
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                                   10883
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  1   intrusion.

  2   Q   And could you explain -- it looks like there's a

  3   reddish-bluish band and then a red band and they're separated.

  4   Could you explain that a little bit?

  5   A   Absolutely.     Our soil borings in this area indicate the

  6   presence --

  7                MR. BOWMAN:    I'm going to object.    He is eliciting

  8   now an expert opinion as a fact witness.

  9                Our witness -- expert witness has opined upon

 10   whether there is a continuous clay layer.          I have waited to

 11   get in as much facts as we can, but I want to make clear that

 12   if there's going to be testimony today about whether that

 13   continuous clay -- that clay layer -- that intermediate layer

 14   is continuous or discontinuous, we have opinion that it's

 15   discontinuous; and there's been no opinion expressed prior to

 16   this trial by any expert for Von Duprin establishing that that

 17   clay layer is continuous.       This would be a new opinion and

 18   trial by ambush.

 19                THE COURT:    You may respond.

 20                MS. FRENCH:    Respectfully, Your Honor, I think the

 21   objection is anticipatory.       I don't believe my question went

 22   to that particular issue.       I'm merely asking a fact witness to

 23   report on the work he performed and the conceptual site model

 24   he prepared and submitted to IDEM, which was ultimately

 25   approved.
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  1               MR. BOWMAN:   If I can respond, I really am trying to

  2   be as good as I can.      I saw this figure.     I realize he's drawn

  3   that clay layer.    As long as he doesn't testify regarding

  4   whether he thinks that is continuous or discontinuous, then

  5   we're fine, in my opinion.

  6               THE COURT:    All right.     And that was not her

  7   question.

  8               MR. BOWMAN:   Okay.

  9               THE COURT:    I'll overrule the objection.       It is

 10   anticipatory, and you understand what his objection will be.

 11               MS. FRENCH:    Yes, ma'am.

 12               THE COURT:    Why don't you reask your question?

 13   BY MS. FRENCH:

 14   Q   Could you briefly explain the groundwater portion of the

 15   conceptual site model on this page?

 16   A   Yes.    The depiction here, sometimes called a

 17   cross-section, shows the vertical stratification depicting the

 18   geology we observed during soil boring -- the collection of

 19   soil borings.

 20   Q   And I don't want to interrupt you or step on you; but just

 21   for the clarity of the Court and for everyone, this is a

 22   model -- conceptual site model.        This is not an actual drawing

 23   of the exact contours.      That's not what we're showing here,

 24   right?

 25   A   That's a great point of clarification.         Thank you.
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  1            Yes.   For example, you will notice that there is a

  2   slope from right to left indicating a downward trajectory; and

  3   that exaggeration in the vertical scale is intentional in

  4   order to illustrate the direction of groundwater flow.           In

  5   reality, the groundwater elevations are fairly subtle.           Water

  6   still flows downhill, but it would look rather flat on this

  7   scale.   So we exaggerate the vertical only to emphasize the

  8   direction of groundwater flow.

  9   Q   And consistent with the goals of the conceptual site model

 10   of identifying exposure pathways, this level of illustrative

 11   detail helps to demonstrate how that's going to work?

 12   A   That's exactly right.

 13   Q   And I don't know that -- you've explained that the data

 14   that you gathered from soil borings is what goes into sort of

 15   creating that drawing, but is there data that supports the

 16   drawing that you've created here?

 17   A   Yes, that's correct.

 18   Q   And could you briefly explain the data and why you drew it

 19   this way?

 20   A   Yes, I can.    In -- the water table is depicted at

 21   approximate elevations of where we encountered the water

 22   table.   Beneath the water table in the upper portion -- the

 23   upper red shaded portion, beneath that is an area of low

 24   permeability clay material that really isn't part of the water

 25   table; and then there's additional water beneath that.
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  1   Q   Does the conceptual site model confirm areas of impact all

  2   through the plume area?

  3   A   I'm sorry.     Could you please repeat the question?

  4   Q   Yes.     I'll rephrase.

  5              The conceptual site model you've described shows, as

  6   you noted, exposure pathways.       Does it also show impacts along

  7   the plume area?

  8   A   Yes.

  9   Q   And what are sort of those impacts in broad terms?

 10   A   As we see in this one, the impacts are to the groundwater;

 11   and in the previous figure, we saw where the extent of those

 12   impacts reach, which was approximately to the O'Bannon Soccer

 13   Park.   That's a good example of how the conceptual site model

 14   can be used to illustrate our understanding of the overall

 15   site impacts and exposure pathways.

 16   Q   And the exposure pathway in this case is not to drinking

 17   water, correct?

 18   A   That's correct.

 19   Q   What is the exposure pathway?

 20   A   Inhalation due to vapor intrusion.

 21   Q   Has Geosyntec performed work to address vapor intrusion in

 22   the plume area?

 23   A   Yes, we have.

 24   Q   Is that work the vapor intrusion mitigation work that you

 25   discussed?
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  1   A   That's correct.

  2   Q   Is that a permanent solution to address the exposure

  3   pathway concerns for this plume?

  4   A   No, it is not.

  5   Q   Has IDEM approved remedial work at the Von Duprin

  6   property?

  7   A   Yes, they have.

  8   Q   What remedial work has IDEM approved at the Von Duprin

  9   property?

 10   A   Soil excavation.

 11   Q   Has that remedial work been completed?

 12   A   Yes, it has.

 13   Q   When was that work completed?

 14   A   March of 2019.

 15   Q   Will the data from that remedial work be submitted to

 16   IDEM?

 17   A   Yes, it will.

 18   Q   How much soil was removed in that soil investigation?

 19   A   296 tons.

 20   Q   Did you test the boundaries of the excavation?

 21   A   Yes, we did.

 22   Q   What were the results?

 23   A   The concentrations of CVOCs in the side wall, the

 24   boundaries and the bottom boundary were below residential

 25   direct contact criteria.
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  1   Q   Could you put that into layman's terms for us?

  2   A   There were no significant impacts.

  3   Q   Will this soil excavation be a final remedy for the

  4   Von Duprin property?

  5   A   No, it won't.

  6   Q   If the installation of vapor intrusion isn't a permanent

  7   solution and excavation isn't a permanent solution, what would

  8   be a permanent solution for the groundwater at the site?

  9   A   Groundwater remediation.

 10   Q   Have you discussed groundwater remediation with IDEM?

 11   A   Yes, we have.

 12   Q   Have you discussed the possibility of having a groundwater

 13   remedy at just the Von Duprin property but not upgradient?

 14   A   We have.

 15   Q   What were those discussions?

 16   A   We discussed approaches that we might take to treat

 17   groundwater in areas where we had access.

 18   Q   And what was IDEM's response?

 19   A   They prefer a global groundwater remedy.

 20   Q   And do you have an understanding as to why that's IDEM's

 21   position?

 22   A   I believe I do; that the ultimate remediation of

 23   groundwater at the former Von Duprin property is not

 24   technically feasible, given the concentrations of chlorinated

 25   solvents that are continuing to migrate onto the property.
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  1   Q   Did Von Duprin develop goals for a potential global

  2   groundwater remedial solution in the plume area?

  3   A   We have.

  4   Q   What are those goals?

  5   A   Concentrations of TCE that are below the groundwater to

  6   vapor intrusion limit.

  7   Q   What's that limit?

  8   A   We came up with a site specific value of 18 micrograms per

  9   liter.

 10   Q   And we've been talking a lot in PPB and PPM.          Which of

 11   those is that particular measurement?

 12   A   I can clarify.     It's parts per billion, or PPB, also

 13   micrograms per liter.

 14   Q   Has Von Duprin evaluated a particular global groundwater

 15   remedial solution for the plume area that would meet those

 16   goals?

 17   A   Yes, we have.

 18   Q   What is that solution that you evaluated?

 19   A   Enhanced in situ biological reduction, or ISBR, if I may.

 20   Q   And what -- could you explain what ISBR is?

 21   A   I would love to, thanks.

 22            I'll start by saying that in this particular case, the

 23   chlorinated solvents are naturally undergoing dechlorination

 24   from PCE to TCE to cis and to vinyl chloride.          Mostly to cis

 25   is where the dechlorination process stops naturally.
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  1            So using the natural processes already at work,

  2   enhanced in situ biological reduction specifically means the

  3   addition of a consortia of microbes or bacterial culture that

  4   actually use chlorinated solvents for food would accelerate

  5   the naturally occurring process or enhance it.

  6   Q   And how exactly -- so we understand the bacteria are using

  7   this stuff as food.     How does that move the degradation

  8   process along?

  9   A   The degradation process occurs sequentially from PCE to

 10   TCE to cis-1,2-DCE to vinyl chloride, and from vinyl chloride

 11   to ethene, which is the ultimate innocuous end product.

 12   Q   Have you discussed ISBR and other approaches to the

 13   groundwater remediation with IDEM?

 14   A   We have.

 15   Q   And what were those discussions?

 16   A   We discussed our observations of the natural degradation

 17   occurring and why we felt that this would be a feasible

 18   approach.

 19   Q   Has the ISBR remedy been formally approved by IDEM?

 20   A   No, it has not.

 21   Q   Why not?

 22   A   We haven't submitted a work plan for that.

 23   Q   Has Geosyntec on behalf of Von Duprin conducted studies to

 24   determine whether ISBR will work at the site?

 25   A   Yes, we have.
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  1   Q   What are those studies?

  2                MR. BOWMAN:     Objection.   Getting into area of expert

  3   opinion for a fact witness.        To this point, we've been talking

  4   about science and communications with IDEM.         We have not

  5   received any expert opinion regarding the efficacy or cost of

  6   future remedial work, and that would be an expert opinion

  7   relative to options to meet the goals that they've discussed.

  8   We've seen none of that kind of an expert opinion from what

  9   now is a fact witness.

 10                MS. KRAHULIK:     The Major defendants join in that

 11   objection.

 12                MS. FRENCH:     Your Honor, I will rephrase; but for

 13   the good of the Court, we have two joint trial exhibits which

 14   address these studies, and I'm asking the fact witness who

 15   conducted these studies to discuss the studies in the joint

 16   trial exhibits.

 17                MR. BOWMAN:   Okay.

 18                THE COURT:    I'll overrule, and you may ask the

 19   question; and you may answer the question.

 20   BY MS. FRENCH:

 21   Q   What studies has Geosyntec performed on behalf of

 22   Von Duprin with respect to ISBR?

 23   A   We have conducted a laboratory bench scale feasibility

 24   study as well as a pilot scale field implementation study.

 25   Q   Is Exhibit 1071 a copy of the draft work plan for the
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  1   bench scale study?

  2   A   Yes, it is.

  3   Q   What was the goal of the bench scale study?

  4   A   The bench scale study, the goal is to understand the

  5   overall effectiveness of this approach before actually going

  6   out into the field.

  7   Q   What do you do to conduct a bench scale study?

  8   A   We collect site-specific samples.        So in this case,

  9   samples specifically from affected areas -- known affected

 10   areas at the former Von Duprin property; specifically, the

 11   soils and the groundwater, and send them to a laboratory

 12   where -- some are held aside as control samples; and others

 13   are inoculated with the bacterial cultures in order to

 14   understand if this technology will indeed accelerate the

 15   natural degradation processes.

 16   Q   Has the work described in this plan been conducted?

 17   A   Yes, it has.

 18   Q   Describe the work that you conducted pursuant to this

 19   plan.

 20   A   As I just said, we collected the samples of geologic

 21   media, the soils and the groundwater.        Some were kept as

 22   control.   Some were inoculated with the bacterial cultures

 23   known to degrade chlorinated solvents, and we measured the

 24   concentrations of the chlorinated solvents in the water of

 25   these microcosm samples over time to understand the rate by
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  1   which the bacterial cultures accelerate the natural

  2   degradation processes.

  3   Q   What observation did you make during the bench scale

  4   study?

  5   A   That the addition of the bacterial cultures did indeed

  6   accelerate the natural degradation processes.

  7   Q   What did you do after completing the bench scale study?

  8   A   We planned the pilot scale field scale implementation.

  9   Q   Did you discuss the results of the bench scale study with

 10   anyone?

 11   A   Yes, we did.    We discussed them with IDEM.

 12   Q   Is Exhibit 1072 a copy of the draft work plan for the ISBR

 13   pilot study that you just referenced?

 14   A   Yes, it is.

 15   Q   What was the goal of the pilot study?

 16   A   The goal of the pilot study is to now evaluate the

 17   effectiveness of this approach and implementability of this

 18   approach in the field under the specific geological conditions

 19   in which we would need to implement the global full-scale

 20   remedy.

 21   Q   Do you have to get any sort of approvals before you start

 22   putting this type of thing into the field?

 23   A   Yes, this is true.      That's correct.

 24   Q   What approvals did you obtain in order to implement the

 25   pilot study?
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  1   A   We discussed them with IDEM, and we also obtained

  2   underground injection control waiver for the injection of

  3   these materials into the subsurface.

  4   Q   Could you describe the pilot study performed pursuant to

  5   this work plan?

  6   A   Yes.     We injected a bacterial culture, along with some

  7   media that it uses to accelerate its growth to allow it to

  8   degrade a greater area of the chlorinated solvents.

  9   Q   What were your observations in the pilot study?

 10   A   That the materials indeed were able to be injected in the

 11   affected areas and that in contrast to one control point which

 12   we used to evaluate the groundwater in an upgradient location

 13   unaffected by the injections.       In contrast to that, the

 14   injected area saw enhanced degradation of these chlorinated

 15   solvents.

 16   Q   Have your bench scale or pilot studies been submitted to

 17   IDEM yet?

 18   A   No, they have not.

 19   Q   Have you discussed the results of the pilot scale study

 20   with IDEM?

 21   A   Yes, we have.

 22   Q   Have you presented any of the study information to anyone

 23   other than IDEM?

 24   A   Yes, we have.

 25   Q   Who are those people?
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  1   A   We've presented some of the data to the folks from Major

  2   Tool and Moran.

  3   Q   Will the bench and pilot scale study data ultimately be

  4   made available to IDEM?

  5   A   Yes.

  6   Q   Have you looked into the scope and cost to implement ISBR

  7   in this area?

  8   A   Yes, we have.

  9   Q   What have you found in that research?

 10              MR. BOWMAN:     Objection.    Expert opinion from a fact

 11   witness.   This is the issue that we -- that I addressed before

 12   and I thought we would get into.        We have not seen any sort of

 13   an expert report analyzing what would be an appropriate

 14   groundwater remedy or not and what the cost would be.           That

 15   would be an expert report.

 16              MS. KRAHULIK:     Major defendants join in that.

 17              THE COURT:    Is that what you were asking counsel?

 18              MS. FRENCH:     Your Honor, I'm asking based on his

 19   knowledge of the remedy and his observations in the pilot

 20   scale study whether he -- sorry -- what his thoughts are on

 21   the cost and scope of a global groundwater remedy.

 22              THE COURT:    Your question was just what are those

 23   studies?   You asked has Geosyntec -- let me make sure I'm at

 24   the right spot.

 25              You asked, "Have you looked into the scope and cost
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  1   to implement ISBR in this area?"       And he says, "Yes we have."

  2   And then you asked, "What have you found in that research?"

  3              MR. BOWMAN:     And what would then be before this

  4   Court are costs of their ideas for remedial strategies, future

  5   costs for groundwater; and that's not before this Court.

  6   That's an expert opinion.        This would be the first time that I

  7   would be dealing with this expert over what the groundwater

  8   remedy is, where it occurs, what the costs are.          Those are

  9   future costs that in these kinds of cases, that's an expert

 10   opinion regarding what should be done because people have

 11   different opinions.

 12              THE COURT:    And you join?

 13              MS. KRAHULIK:     Yes.

 14              THE COURT:    All right.    I'm going to sustain the

 15   objection to that question.

 16              MS. FRENCH:     Nothing further, Your Honor.

 17              THE COURT:    Okay.

 18              You may cross.

 19              MR. BOWMAN:     I'm bringing one piece of paper.

 20                             CROSS-EXAMINATION

 21   BY MR. BOWMAN:

 22   Q   Mr. Fimmen --

 23              MR. BOWMAN:     If we can pull up 1002.      We have to

 24   switch over to -- it bounces around.

 25
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  1   BY MR. BOWMAN:

  2   Q   While she's doing that, part of what you did was determine

  3   subsurface groundwater flow at this study area, correct?

  4   A   That's correct.

  5   Q   And you've dug more holes than I have; but my

  6   understanding is when you dig a hole, the ground-penetrating

  7   backhoe as I call it, you get to see what the subsurface is

  8   really like; and depending on the state you're in and the

  9   area, as you said, it can be pretty uniform or it can be

 10   pretty different subsurface geology, right?

 11   A   I don't understand your question.

 12   Q   You can have lots of different subsurface geologies when

 13   you really get down and look at it?

 14   A   Across the United States?

 15   Q   Across the United States?

 16   A   Yes, there are different geologies.

 17   Q   Different geologies in Indiana?

 18   A   Yes, there are.

 19   Q   You can even have different geologies in this study area,

 20   correct?   Within these four sites, the subsurface varies by

 21   what the soil columns might look like, correct?

 22   A   Um-hum.    Correct.

 23   Q   While we want an idea -- and I don't want the Court --

 24   this idea that the groundwater flow is from northeast to

 25   southwest, it -- like you said, it's not this uniform pancake
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  1   if you go down there.     The subsurface varies, right?

  2   A   Correct.

  3   Q   And the other challenge with groundwater flow subsurface

  4   is it changes with seasons, right?

  5   A   Correct.

  6   Q   Changes with the amount of rain that we have?

  7   A   Correct.

  8   Q   Right now, our groundwater levels are pretty high, aren't

  9   they?

 10   A   Yes, sir.

 11   Q   And you can have subsurface situations that cause the

 12   groundwater flow to vary a little bit within 100 feet,

 13   correct?

 14   A   Correct.

 15   Q   So what you do to get good data is to get your monitoring

 16   wells in and you take groundwater depth samples at various

 17   times -- and in this case, I think you did it quarterly,

 18   right?

 19   A   I don't think it was done quarterly.

 20   Q   Not done quarterly?      But periodically?

 21   A   Yes.

 22   Q   So let's look at figure 117 -- this is your Final

 23   Investigation Report, right?

 24   A   Yes, it is.

 25   Q   So let's look at 117.      And this --
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  1                MR. BOWMAN:   If you'll scroll to the bottom,

  2   Ms. Hill.

  3   BY MR. BOWMAN:

  4   Q   -- this is a 2017 potentiometric map, shallow aquifer,

  5   correct?

  6   A   That's correct.

  7   Q   I think you said you were the author of this report

  8   really?

  9   A   It's a team effort, but I'll take both responsibility and

 10   credit.

 11   Q   If you zoom in on the top right there, on that particular

 12   moment, the groundwater flow, this is the former Ertel

 13   property, correct, that I circled?

 14   A   Correct.

 15   Q   And then monitoring well 205, that's the Moran property

 16   there that I'm doing a really poor job of circling, correct?

 17   A   I think so.

 18   Q   Well -- any doubt?      Can you zoom in more?

 19   A   You circled several of them.       I just wasn't sure which one

 20   you were reporting to.

 21              Yes, that's correct, Glenn.

 22   Q   And this is Ertel?

 23   A   Yes, correct.

 24   Q   So on this particular day, the groundwater flow was nearly

 25   north to south from the Ertel property to Moran property,
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  1   correct?   It certainly wasn't southwest?        It's more south than

  2   west, isn't it?

  3   A   Between the two points you're specifically talking about?

  4   Q   Yes, at that point, you get a 709 and then a 708 that as

  5   between those two properties, you've got a potentiometric line

  6   there that's suggesting groundwater flow in that area that's

  7   more southerly than westerly?

  8   A   With all due respect, I'm not sure which two points you're

  9   calling into question.

 10   Q   Here from Ertel?

 11   A   709?

 12   Q   To Moran?

 13   A   I see now.

 14   Q   That's more southerly than westerly, right?

 15   A   Between those two points, yes.

 16   Q   So on that particular day, groundwater subsurface on Ertel

 17   within the area of, say -- well, in the middle of the facility

 18   where I've put a line, it's nearly traveling directly south to

 19   Moran on that day subsurface?

 20   A   Between those two points.

 21   Q   Correct?

 22   A   Correct.

 23              MR. BOWMAN:    Thank you very much.      I appreciate it.

 24              THE WITNESS:     You're welcome.

 25              THE COURT:     Ms. Krahulik?
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  1              MS. KRAHULIK:     We have no questions for this

  2   witness.

  3              THE COURT:    Any redirect?

  4              MS. FRENCH:     No, Your Honor; but we do have one

  5   administrative sort of housekeeping issue to address, but I

  6   don't know that we need the witness on the stand for it.

  7              THE COURT:    So then we can excuse the witness?

  8              MS. FRENCH:     Yes, ma'am.

  9              THE COURT:    Doctor, you're excused.       Thank you very

 10   much.

 11       (Witness excused.)

 12              THE COURT:    Do you have a thirty-minute witness?

 13              MS. FRENCH:     Unfortunately, no, Your Honor.       Our

 14   final witness is an expert witness from California who is in

 15   transit here, but he will certainly take more than a half hour

 16   and is not presently in the state.

 17              THE COURT:    Okay.

 18              MS. FRENCH:     But he will be here bright and earlier

 19   tomorrow morning.

 20              THE COURT:    Wonderful.

 21              MS. FRENCH:     We did want to quickly address

 22   Exhibits 107 and 108.      Those are the two invoice summaries

 23   that the Court has seen I think with two separate witnesses

 24   and has heard evidence on the accuracy of those two

 25   spreadsheets as summaries of the overall invoice exhibits.
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  1                THE COURT:    And those are Von Duprin's exhibits?

  2                MS. FRENCH:     Yes, correct.     We simply move to admit

  3   those as summaries to prove content under Federal Rule of

  4   Evidence 1006.

  5                THE COURT:    On behalf of Moran, Mr. Bowman, do you

  6   have an objection to 107 and 108?

  7                MR. BOWMAN:     No, Your Honor.

  8                MS. KRAHULIK:     No objection.

  9                THE COURT:    Exhibits 107 and 108 are admitted into

 10   evidence without objection.

 11       (Plaintiff's Exhibits 107 and 108 were received in

 12   evidence.)

 13                MS. FRENCH:     Thank you, Your Honor.

 14                THE COURT:    All right.   So anything else for this

 15   evening?     Timewise, Von Duprin's going to have their final

 16   witness in the morning.        Do you think that witness will just

 17   be half a day or -- is that your expert?          Who is it?

 18                MS. FRENCH:     That's our expert on NCP compliance,

 19   Your Honor.     Dr. -- Mr. Williams, sorry.

 20                THE COURT:    So Mr. Bowman, will you have a witness

 21   ready tomorrow?

 22                MR. BOWMAN:     We will.

 23                THE COURT:    Great.   Who will that witness be?

 24                MR. BOWMAN:     Well, we have three fact

 25   witnesses:    Kim Vedder with the Indiana Department of
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  1   Environmental Management will come over.         We have confirmation

  2   from Ms. Lashbrook, who you met.

  3                There's a former employee of Moran by the name of

  4   Michael Sharkey.     He's retired.    We've spoken with him.

  5                And then there's a gentleman by the name of Michael

  6   Fye.   I'll never get it right.      He's going to come off the

  7   bench and hit me every time I say it wrong.

  8                He's a former Von Duprin employee from Kokomo.

  9   We've spoken to him.      I'm hopeful.

 10                The issue for us then is we have those three

 11   witnesses, and our expert is also in California and is

 12   planning to be here bright and early and ready to go on

 13   Wednesday.

 14                So in order to use Thursday -- we have worked

 15   cooperatively, Your Honor.      If you don't mind, we may take

 16   some Major witnesses so we can keep going because they also

 17   have an expert from California that's not going to bounce up.

 18                So while it would be great to finish this week,

 19   although I don't think we would get it in, what happens is I

 20   think we get our fact witnesses done; and then on the 30th and

 21   the 1st, we have experts.      The hope would be that would be

 22   done and then closing on the 2nd.

 23                THE COURT:   That'll work.    That will work.

 24                It's fine with the Court as long as the parties have

 25   discussed it.    It's fine if you call some witnesses out of
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  1   order so we don't have dead time.

  2                MR. BOWMAN:     I'm sorry.   We all have the same

  3   situation.

  4                THE COURT:    You all overestimated, all of you.

  5   Lawyers always do that.        Criminal lawyers say it's going to be

  6   six to eight weeks, Judge; and we do it in two weeks.

  7                MR. BOWMAN:     After a long day, I hope you'll

  8   appreciate the humor.        He started it.

  9                MS. KRAHULIK:     Although I will say, I don't think

 10   the only thing -- we may still have some witness testimony

 11   Friday morning of next week, but I certainly think we could

 12   get done.

 13                MR. BOWMAN:     The other part and the benefit is this

 14   week, we really will get through most fact witnesses.            It just

 15   turns out some very important witnesses for you for whatever

 16   reason are in California.        The bad news is no lawyer ever flew

 17   to California to depose them.        We had to bring them here.

 18   We're bringing them again, and they have their plane flights.

 19   So if it works for the Court, that's what we were thinking of

 20   doing.   So it would be tomorrow morning for Williams.           He's

 21   coming in.

 22                MS. FRENCH:     Williams would be here tomorrow.

 23                One other -- I think closings have come up once now.

 24   We wanted to understand what the Court's expectations are with

 25   respect to closing arguments and also remind the Court that we
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  1   have not filed findings of fact and conclusions of law.            I

  2   believe we had an order from when we thought this would go in

  3   February postponing those until after trial, and we wanted to

  4   confirm when you expect those.

  5              THE COURT:    After trial.     Proposed findings of fact

  6   and conclusions of law after trial.        And we'll give you

  7   deadlines and some dates for that.        Start thinking about how

  8   long you're going to need.      I don't know if you're going to

  9   need transcripts from the court reporters because I think

 10   we're going to switch court reporters next week.

 11              Cathy is just so kind to help us out while my court

 12   reporter is on vacation this week, but I think next week we'll

 13   have the other court reporter.       So you all will have to get

 14   your transcripts from two reporters.

 15              You all can talk with the court reporters about how

 16   long they will need to get your transcripts.          Then we can

 17   figure out a date for your proposed findings of fact and

 18   conclusions of law.

 19              MR. BOWMAN:    The PowerPoint will be able to plug in

 20   and use the system.      This young gentleman is going to do the

 21   closing, and so I know he's been asking me three times to ask

 22   you, assuming that the whole day's available or it's a half a

 23   day, do you have an idea how long you would like each side?

 24              THE COURT:    What's the date -- what do we have on

 25   Friday?
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  1                So August 1 we're going to stop at three o'clock.

  2   And then Tanesa said I have two criminal matters Friday

  3   morning on the 2nd.        So we'll start at, like, 11.

  4                You guys can have as long as you want.       We'll figure

  5   it out.    If you want to spend your Friday in this courtroom in

  6   the courthouse making your closing arguments, you can, but

  7   we'll probably start -- we won't continue those criminal

  8   matters.    I'll go ahead and get them out of the way, and then

  9   we'll probably start around 11:30.

 10                We'll probably start at 11 -- at 11:30 because

 11   they're both facing life Tanesa just told me.          They went to

 12   trial.     They might take a little bit of time.

 13                We'll just work through.     So eat your lunch early;

 14   and then we'll start at, like, 11:30; and we can go through

 15   until we get everything concluded on Friday, the 2nd.

 16                And that's wonderful because we would have to wait

 17   for maybe two or three weeks if we had to go past Friday

 18   because we have a lot of trials coming up.         Judge McKinney

 19   [sic] retired and I had to get more cases.         So we're swamped

 20   again.

 21                I do appreciate the somewhat efficiency.        You guys

 22   are moving much quicker than you had anticipated.           So we'll

 23   start at 8:30 in the morning with your witness from

 24   California.

 25                MS. FRENCH:     Yes, Your Honor.
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  1               THE COURT:   We're adjourned.      Have a good evening

  2   everyone.

  3               COURTROOM DEPUTY:    All rise.

  4               (The proceedings were adjourned at 4:45 p.m.)
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  1                      CERTIFICATE OF COURT REPORTER
  2

  3        I, Cathy Jones, hereby certify that the foregoing is a
  4   true and correct transcript from reported proceedings in the
  5   above-entitled matter.
  6

  7

  8    /s/ Cathy Jones                                August 14, 2019
    ______________________________
  9   CATHY JONES, RDR, FCRR
      Official Court Reporter
 10   Southern District of Indiana
      Indianapolis Division
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